UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN
Green Bay Division

 

MICA SUNDAY DEERFIELD,
19918 Hoppers Creek Drive
Katy, TX 77449,

Plaintiff,
v.

MODS INTERNATIONAL, INC., Case No.: 2019-CV-
5523 Integrity Way
Appleton, WI 54913.

and

DOUGLAS A. LARSON,
3687 Lost Dauphin Road
De Pere, WI 54115,

Defendants.

 

COMPLAINT

 

Plaintiff, Mica Sunday Deerfield, (“Deerfield” or “Plaintiff”), by her attorneys Epiphany

Law, LLC, states the following allegations in support of her Complaint against defendants,

MODS lnternational, Inc. (“MODS”) and Douglas A. Larson (“Larson”) (collectively,
“Defendants”).

NATURE OF THE ACTION

1. Deerfield brings this action against Defendants for rescission/fraudulent inducement (or

in the altemative, breach of contract), theft, theft by contractor and violation of the

Wisconsin and Texas deceptive trade practices/unfair competition statutes, arising from

Defendants’ unauthorized and intentional misappropriation of funds and intent to defraud

Deerfield of the down payment she made for four new container residences (“Container

Residences”) Which Were to be constructed and delivered to 14-3734 Government Beach

1
Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 1 of 122 Document 1

Road, Keaau, Hawaii (hereinafter the “Project”). Deerfield intended to utilize the
Container Residences for a Bed and Breakfast concept. MODS, through its president
Douglas Larson, fraudulently induced Deerfield to enter into a purchase contract for the
construction and installation of the Container Residences (the “Contract”) by virtue of
numerous material misrepresentations regarding its qualifications and ability t0 timely
deliver, which MODS knew to be untrue at the time they were made.
. In reasonable reliance upon MODS’ representations, and pursuant to the Contract
between the Parties, Deerfield deposited a down payment of fifty percent of the total
contract price, or $106,780, on or around February 16, 2018. Consistent with MODS’
misrepresentation, the Contract further provided that the work Would be complete within
120 days of the Commencement Date. Even allowing for some unforeseen slippage on
time, the Project should have been completed and installed no later than July 6, 2018. To
date, more than 6 months later, no work has been done at the site, nor has Deerfield been
able to directly get any useful information from MODS with respect to the status of the
Project. It is indisputable that the Project was not completed within the time required
under the parties’ Contract. MODS’ unlawful misappropriation of funds constitutes theft
by contractor pursuant to Wis. Stats. §§ 779.02(5) and 779.16.
. Deerfield seeks actual and exemplary damages in recompense for the harm Defendants`
unlawful actions have caused.

PARTIES
. Plaintiff, Mica Sunday Deerfield, is an adult resident of the State of Texas and is

domiciled in Harris County, Texas.

2
Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 2 of 122 Document 1

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Defendant, MODS lnternational, Inc., is a Wisconsin corporation with a principal place
of business at 5523 W. Integrity Way, Appleton, Wisconsin 54913.
MODS’ registered agent is Douglas A. Larson, with a registered agent office at 5523 W.
Integrity Way, Appleton, Wisconsin 54913.
Upon information and belief, MODS’ sole member is Douglas A. Larson.
Defendant, Douglas A. Larson, is an adult resident of the state of Wisconsin and is
domiciled in Brown County, Wisconsin.

lIURISDICTION AND VENUE
This Court has subject matter jurisdiction of this action under 28 U.S.C. § 1332(a)(l).
There is complete diversity between the parties
Plaintiff Deerfield is a citizen of the State of Texas. 28 U.S.C. § 1332 (a)( 1).
Defendant MODS is a citizen of the State of Wisconsin. 28 U.S.C. § 1332 (c)(1).
Upon information and belief, Defendant Larson is a citizen of the state of Wisconsin. 28
U.S.C. § 1332 (a)(l).
The amount in controversy exceeds $75,000.00.
This Court has general personal jurisdiction over MODS pursth to Wis. Stat. §
801.05(1)(d) because MODS is engaged in substantial and not isolated activities within
this state, including its business relationship with Deerfield,
This Court also has specific personal jurisdiction over MODS pursuant to Wis. Stats. §§
801.05 (3), 801.05(4), 801.05 (5).
This Court has general personal jurisdiction of Larson pursuant to Wis. Stats. §§ 801.05

(3), 801.05(4), 801.05 (5).

Case 1:19-cv-OOO79-WCG Filed O£/14/19 Page 3 of 122 Document 1

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Venue is proper in this district because MODS’ principal place of business is located in
the Eastern District of Wisconsin. 28 U.S.C. § 1391(b).

BACKGROUND FACTS

. MODS Fraudulently Induced Deerfield To Enter Into Contract

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Deerfield first learned of MODS through its website and an Amazon listing for its
container homes.

Deerfield contacted MODS for additional information regarding its container homes and
spoke to Larson who provided Deerfield with sample floor plans and photographs

Laron assured Deerfield that MODS was an international company Who built modular
homes, offices, restaurants, etc. all over the world.

Larson assured Deerfield that it would be easy to set up the Container Residences in
Hawaii.

Deerfield expressed that she wanted the Bed and Breakfast to be open for business by
July 1, 2018, to which Larson assured Deerfield would be no problem.

Larson assured Deerfield if she wanted to expand the property in the future that it would
be easy to add a commercial kitchen, more rental units, etc.

Larson assured Deerfield that MODS could quickly construct the Container Residences
for approximately $45,000 per unit.

During the telephone conferences with Deerfield, Larson made express representations
regarding the construction of the Container Residences, including how quickly MODS
could complete the Project, despite knowing the timeframes being promised could not be

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Case 1:19-cv-OOO79-WCG Fl|ed 01/14/19 Page 4 of 122 Document 1

26. Larson also made written representations to Deerfield that indicated timeframes he knew
MODS could not satisfy.

27. Upon information and belief, Larson made intentional misrepresentations to Deerfield
regarding MODS’ ability to construct the Container Residences in a timely fashion,
solely in order to induce her to execute a contract and send a sizeable down payment to
MODS.

28. Larson and MODS also falsely represented to Deerfield that MODS was appropriately

licensed as a contractor in the necessary jurisdictions

. Terms Of The Contract

29. Deerfield and MODS executed a DBIA Standard Form of Agreement Between Owner
and Design-Builder - Lump Sum (the “Contract”) on or about February 10, 2018. A copy
of the Contract is attached hereto as Exhibit A.

30. The Contract Was for the purchase and installation of 4 new Container Residences on the
property located at 14-3734 Government Beach Road Keaau, Hawaii (the “Project Site”).
(Ex. A at p.1).

31. The cost of the Contract was outlined as follows: $45,000 for each unit with stealth
panels; $4,390 for transportation of each unit; and $4,000 per unit for a single wind
turbine, for a total Contract cost of $213,560. (Ex. A at pp. 2-3).

32. Pursuant to the Contact a down payment of fifty percent (50%), or $106,780 (the “Down
Payment”), Was due at the time the Contract was executed, twenty-five percent (25%), or
$53,390, was due when building components are ready to ship from the factory, and the
final twenty-five percent (25%), or $53,390, was due at completion (i.e., when all the

Container Residences were ready for occupancy). (Ex. A. at p. 3).

Case 1:19-cv-OOO79-WCG Filed O'_F/14/19 Page 5 of 122 Document 1

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On or about February 12, 2018, Larson emailed Deerfield MODS’ Invoice No. 13-1050
for $106,780, along With wire instructions

Deerfield wired the required Down Payment to MODS on or around February 16, 2018.
The Contract provides that “The Work shall commence within five (5) days of [MODS’]
receipt of [Deerfield’s] Notice to Proceed. . .unless the parties mutually agree otherwise in
writing” (the “Date of Commencement”). (Ex. A at § 5.1).

The Contract incorporated by reference the DBlA Standard Form of General Conditions
of Contract Between Owner and Design-Builder, DBIA Document No. 535 (2010
Edition) (the “General Conditions”). (Ex. A. at § 2.1.1).

MODS never provided Deerfield with a copy of the General Conditions A copy of the
General Conditions has been obtained and is attached hereto as Exhibit B.

The General Conditions define “Work” as comprising all of “Design-Builder’s design,
construction and other services required by the Contract Documents, including procuring
and furnishing all materials, equipment, services and labor reasonably inferable from the
Contract Documents.” (Ex. B. at § 1.2.20).

Deerfield was never provided with a formal “Notice to Proceed” document, nor does the
Contract define what constitutes a “Notice to Proceed.” MODS never requested a
specific form “Notice to Proceed” from Deerfield.

Based upon payment of the Down Payment, as well as contemporaneous correspondence
and telephone conversations between Deerfield and MODS/Larson, it is clear that
Deerfield had authorized, and MODS was aware of that authorization, MODS to proceed

with construction and installation of the Container Residences.

Case 1:19-cv-OOO79-WCG Filed Of/14/19 Page 6 of 122 Document 1

41. The Contract provides a Substantial Completion date of the entire Project no later than
one-hundred-twenty (120) calendar days after Date of Commencement. (Ex. A at §
5.2.1).

42. As early as March 8, 2018, MODS was providing Deerfield with specific design plans for
the Container Residences and a list of individuals who were responsible for completing
the Project.

43. Upon information and belief, the Container Residences were to be constructed at a
factory in California and then shipped to the Project Site for installation

44. The Substantial Completion date for the Project, pursuant to the Contract, was, at a
minimum, on or about July 6, 2018,

. MODS Fails To Act Or Respond.

41. Based upon correspondence and telephone conversations Deerfield believed that MODS
was continuing to work on the Project throughout the months of March, April and May
2018,

42. Throughout May 2018, Deerfield and representatives of MODS exchanged several emails
regarding finalizing design plans and selection of materials, fixtures and appliances for
the Container Residences.

43. On or about May 3, 2018, the Kilauea volcano on the Big Island of Hawaii began to
erupt.

44. Although located in the vicinity of the Project Site, the Kilauea volcano eruption did not
directly impact the Project Site.

45.Deerf1eld spoke to Larson approximately three times during May and June 2018, each

time Larson reassured Deerfield that the volcano would not affect the build in any way.

Case 1:19-cv-OOO79-WCG Filed 017/14/19 Page 7 of 122 Document 1

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In May 2018 Deerfield expressed her concerns to the Project Manager that MODS may
have difficultly transporting the Container Residences to the Property Site because the
roads from Hilo, Hawaii were at that time being controlled by the State of Hawaii, and
that many of the accommodations for the building crew were no longer available due to
the volcano. The Project Manager stated to Deerfield that he would speak to Larson about
her concerns, but no response was ever received by Deerfield.

In or around mid-June 2018 Deerfield asked the Project Manager if the Container
Residences were ready to ship to Hawaii, and he said no, they have not been started.

On or about May 31, 2018 Deerfield emailed Larson stating that she “had been trying to
reach you to discuss putting the project on hold until September and then checking to see
where we are with the volcano. Please advise this is acceptable to MODS without any
financial penalty to me.” A copy of Deerfield’s May 31, 2018 email is attached hereto as
Exhibit C.

Neither Larson nor anyone else from MODS responded to Deerfield’s May 31, 2018
email.

On or about June 24, 2018 Deerfield emailed Larson stating, “I am feeling more and
more discouraged about he Hawaii project. I am wondering if you are interested in
canceling the project?” (emphasis added). A copy of Deerfield’s June 24, 2018 email is
attached hereto as Exhibit D.

Neither Larson nor anyone else from MODS responded to Deerfield’s June 24, 2018
email.

As of June 29, 2018, the Project Site had not even been surveyed MODS informed

Deerfield around this time that the surveyor had confirmed the survey could be

8
Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 8 of 122 Document 1

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completed upon receipt of payment in full, which MODS stated it would provide to the
surveyor promptly.

During the months of July through early August 2018 Deerfield left numerous voicemail
messages (6-7) for Larson, but Larson never returned any of the messages

Upon information and belief, not only did MODS never send payment to the surveyor as
promised, but no surveying of the Project Site has ever been completed.

Upon information and belief, no Project Site preparation has been completed by MODS.
On or about August 10, 2018, Deerfield had a telephone conference With the Project
manager, in which they discussed moving forward with the Project and identified a new
completion date of December 1, 2018.

The same day, Deerfield emailed Larson a proposed revision to the original Contract,
requesting confirmation that the Project could be completed by December 1, 2018 (the
“Revised Contract”). A copy of Deerfield’s August 10, 2018 email With attachments is

attached hereto as Exhibit E.

Neither Larson nor anyone else from MODS responded to Deerfield’s August 10, 2018
email.
On or about August 21, 2018, Deerfield email Larson, “In accordance with our current

contract, I’m hereby stating that I would like to proceed with the contract.” She further
indicated that while she would have preferred a completion date of December 1, 2018,
she would concede to a completion date of January 1, 2019, and directed, “Please begin
Work and keep me informed as to our status.” A copy of Deerfield’s August 21, 2018

email is attached hereto as Exhibit F.

Case 1:19-cv-OOO79-WCG Filed 019/14/19 Page 9 of 122 Document 1

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Neither Larson nor anyone else from MODS responded to Deerfield’s August 21, 2018
email.

On or about August 27, 2018, the Project manager informed Deerfield during a telephone
conversation that he “had not heard from Doug Larson about restarting the Project.”

On or about August 27, 2018, Deerfield emailed Larson and again inquired about the
status of the Project, A copy of Deerfield’s August 27, 2018 email is attached hereto as
Exhibit G.

The same day, Larson finally responded to Deerfield in an email and acknowledged her
request to restart the Project with a completion of December 1, 2018, but conditioned
completion of the Project on (i) the volcano’s activity and (ii) Deerfield’s withdrawal of a
Complaint she had filed with the State of Wisconsin Department of Agriculture, Trade
and Consumer Protection (hereinafter the “DATCP Complaint”). A copy of Larson’s
August 27, 2018 email is attached hereto as Exhibit H.

Larson threatened Deerfield that if she did not withdraw the DATCP Complaint, he
would direct MODS’ lawyer to sue her.

On or about August 28, 2018, Deerfield emailed Larson that she would withdraw the
DATCP Complaint, “assuming we get this project started and you send me back the
contract with the new completion date.” A copy of Deerfield’s August 28, 2018 email is
attached hereto as Exhibit I.

The same day, Larson responded affirmatively to Deerfield in an email, stating, “Will
do.” A copy of Larson’s August 28, 2018 email is attached hereto as Exhibit J.

Larson never sent Deerfield an executed copy of the Revised Contract, despite his

agreement to do so.

Case 1:19-cv-OOO79-WCG Filed 011724/19 Page 10 of 122 Document 1

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MODS never restarted work on the Proj ect. Consequently, Deerfield did not withdraw the
DATCP Complaint.

On or about September 5, 2018, the Kilauea volcano on the Big Island of Hawaii stopped
erupting.

On or about September 6, 2018, Deerfield emailed Larson again requesting that he return
an executed copy of the Revised Contract. A copy of Deerfield’s September 6, 2018
email is attached hereto as Exhibit K.

Neither Larson nor anyone else from MODS responded to Deerfield’s September 6, 2018
email.

On or about September 15, 2018, Deerfield again emailed Larson requesting that he,
“please send the signed contract to me forthwith so that we can move forward and make
our agreed to date of Dec. 1, 2018. The volcano has calmed down and should not cause
us any trouble.” A copy of Deerfield’s September 15, 2018 email is attached hereto as
Exhibit L.

Neither Larson nor anyone else from MODS responded to Deerfield’s September 15,
2018 email.

On or about October 2, 2018, Deerfield sent Larson another email, stating that she had
not heard from anyone at MODS regarding the Contract, the Project, the surveyor, or the
permit application for the Project. Deerfield again inquired as to the current status of the
Project. A copy of Deerfield’s October 2, 2018, 2018 email is attached hereto as Exhibit
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Neither Larson nor anyone from MODS responded to Deerfield’s October 2, 2018 email.

Case 1:19-cv-OOO79-WCG Filed Of/]14/19 Page 11 of 122 Document 1

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On or about October 12, 2018, Deerfield continued her efforts to contact MODS about
the Project. She emailed Larson, stating she had not received the Revised Contract and
again asking that he please send it to her. A copy of Deerfield’s October 12, 2018 email
is attached hereto as Exhibit N.

Neither Larson nor anyone from MODS responded to Deerfield’s October 12, 2018
email.

On or about October 23, 2018, Deerfield sent Larson another email, in which she stated,
“you have agreed to a December 1 substantial completion date, yet I am not aware of
anything going on there. What is the status? And you promised me a contract, which I
never received. Please advise!” A copy of Deerfield’s October 23, 2018 email is attached
hereto as Exhibit O.

Neither Larson nor anyone from MODS responded to Deerfield’s October 23, 2018
email.

Having been all but ignored by MODS and Larson for months, Deerfield sent MODS a
letter, via Certified Mail - Retum Receipt Requested, on or about October 27, 2018 (the
“Certified Letter”). A copy of the Certified Letter is attached hereto as Exhibit P.

The Certified Letter has since been returned to Deerfield as “unclaimed.”

On or about December 10, 2018, Deerfield’s counsel sent correspondence to MODS’
Corporate Counsel, Jeffrey Wilson, requesting a full refund of the Down Payment, given
MODS’ repeated material breaches of the Contract and failure to complete the Project. A
copy of Heather J. Macklin’s December 10, 2018 letter is attached hereto as Exhibit Q.
On or about December 17, 2018, Mr. Wilson responded on behalf of MODS, via letter,

denying the demand for return of the Down Payment, stating that, “I had a chance to

Case 1:19-cv-OOO79-WCG Filed 011/_2L4/19 Page 12 of 122 Document 1

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review your concern letter with our president [Larson] . . .After my discussion with him, I
understand that Ms. Deerfield terminated the project for convenience per Article 8 of the
contract signed by her...Accordingly, MODS would not be liable to return any of the
amount of the down payment.” A copy of Mr. Wilson’s December 17, 2018 letter is
attached hereto as Exhibit R.

Deerfield never terminated the Contract for convenience or any other reason, prior to
asking, through counsel on December 10, 2018, for a refund of her Down Payment due to
MODS’ material breaches of the Contract.

Upon information and belief, Defendants never secured the necessary permits required
for the Project.

Upon information and belief, Defendants never completed any required Work at the
Proj ect Site.

Upon information and belief, MODS never commenced construction or fabrication of the

Container Homes.

. Fraudulent Business Practices And Piercing The Corporate Veil

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Upon information and belief, Larson has been in the construction industry for several
years, doing business as several companies including Constructionone, Inc., Midstate
Corp. of Appleton, Wind Technology Constructors, Inc., Wind Technology Group, Inc.,
Orion Builds, Inc., MODS International, Inc., and MODS Client Services, Inc.
(collectively, the “Larson Companies”). Incorporation of the Larson Companies date
back to May 1999.

Upon information and belief, currently only Orion Builds, Inc., MODS Intemational,

Inc., and MODS Client Services, Inc. are active entities

Case 1:19-cv-OOO79-WCG Filed 011/14/19 Page 13 of 122 Document 1

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At all times material, Larson Was and has been an officer, director, and/or agent of
MODS, with responsibility for directing and managing MODS’ activities.

Upon information and belief, neither Larson nor MODS currently hold valid contractor
licenses in Hawaii (where the Container Residences were to be installed), Califomia
(where the Container Residences Were to be fabricated prior to being shipped to Hawaii),
or Wisconsin (where MODS and Larson are located).

MODS’ Wisconsin Dwelling Contractor license expired 10/14/2017. and its Wisconsin
Dwelling Contractor Qualifier license expired 7/10/2018.

Upon information and belief, MODS is not adequately capitalized

Upon information and belief, MODS and Larson comrningle funds

Upon information and belief, Larson exercises dominant control over MODS and uses
MODS’ assets for his personal benefit

Larson, as a consequence of his current and past business practices, has used the Larson
Companies, including MODS, to defraud countless individuals and entities, including
Deerfield.

Hundreds of lawsuits have been filed against Larson and the Larson Companies,
including MODS, alleging, among other claims, breach of contract, fraud and theft.
Larson is currently being criminally prosecuted in the State of Connecticut for first
degree larceny, first degree telephone fraud, and violation of Connecticut’s New Home
Construction Requirements, due to MODS’ acceptance and retention of $95,000 in
October 2017 from a Connecticut resident for the purpose of building a new home, which

MODS has failed to deliver.

14
Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 14 of 122 Document 1

99. Larson personally filed for relief under Chapter 11 of the United States Bankruptcy Code
on September 7, 2017.

100. On December 8, 2017, the United States Trustee moved to convert the case to chapter 7
as a result of: Larson’s failure to provide proof of insurance on his real estate, vehicles
and other assets; Larson’s failure to provide amendments and financial documents; and
Larson’s continued intermingling of his personal finances with his businesses finances

101.Days prior to a January 5, 2018 hearing on the motion to convert, the United States
Trustee learned Larson had an off-shore account at Cayman National Bank Ltd, with a
reported balance of $l6,123,980.19 as of April 16, 2016.

102.At the hearing, Larson admitted the Cayman National account was open at the time he
filed for bankruptcy, but he plead the Fifth Amendment when questioned about the
status of the funds in the account.

103.0n November 6, 2018, the United States Trustee filed a Complaint To Deny Douglas
Larson’s Discharge for, among other reasons, failing to disclose assets, lawsuits and
creditors and failing to explain dissipation of assets

COUNT 1 - RECISSION/FRAUDULENT INDUCENIENT
gAGAINST MODS[

104.Deerfield repeats, realleges, and incorporates by reference, her allegations stated in
paragraphs 1 - 103 above as though fully set forth herein.

105 . MODS, through Larson, intentionally and fraudulently made material misrepresentations
to Deerfield during negotiations that MODS had the capability of delivering the
Container Residences before the Substantial Completion Date set forth in the Contract.

106. Online reviews, at Yelp, Google, the Better Business Bureau and elsewhere reveal that

numerous customers who gave money to MODS during the last several months of 2017

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Case 1:19-cv-OOO79-WCG Fl|ed 01/14/19 Page 15 of 122 Document 1

and the first couple of months of 2018 never received the container buildings they
contracted for and never received their money back.

107. During this same timeframe, When MODS and Deerfield were negotiating the Contract,
MODS (and Larson) knew the tirneframe completion representations were false and that
they could not deliver and had no intention of delivering the Container Residences on or
before the Substantial Completion Date.

108.MODS, through Larson, also fraudulently misrepresented the status and/or existence of
its contractor licenses

109. Defendants’ actions were willful in that MODS and Larson deliberately and
intentionally made various material misrepresentations to Deerfield in order to induce
her to enter into the Contract and make the Down Payment of $106,780 to MODS.

110. Upon information and belief, Defendants always intended to use the Down Payment for
purposes not related to the Project.

111.From February through August 2018 (at which time the Defendants ceased responding
to any of Deerfield’s communication attempts), MODS and Larson continued making
intentionally false representations to Deerfield regarding the status of the Project and
MODS’ ability to complete it pursuant to the terms of the Contract,

112. The misrepresentations made by MODS, via Larson, to Deerfield were malicious in that
Larson knowingly acted contrary to the commonly accepted duties of a licensed
contractor.

113.Lars0n made material misrepresentations of fact to Deerfield regarding completing the
Project in a timely manner as well as MODS’ alleged ability, skill, expertise, manpower

and access to materials necessary to complete the Project on time.

Case 1:19-cv-OOO79-WCG Filed Ol]l_(f4/19 Page 16 of 122 Document 1

114. Defendants’ representations of fact Were untrue at the time they were made.

115.Deerfield justifiably relied to her detriment on Defendants’ intentional
misrepresentations

116.Deerfield has suffered damage and loss in an amount to be determined at trial, as a
direct consequence of MODS’ fraudulent misrepresentations

COUNT 2 - (IN TI-IE ALTERNATIVE) BREACH OF CONTRACT
gAGAINST MODS[

117. Deerfield repeats realleges, and incorporates by reference, her allegations stated in
paragraphs 1 - 103 above as though fully set forth herein.

118. Deerfield entered into a valid Contract with MODS.

119. Deerfield has substantially performed her obligations under the Contract.

120. MODS has materially breached the Contract by its failure to complete the Project by the
Substantial Completion Date.

121. MODS has materially breached the Contract by its failure to do any Proj ect Site
preparation or fabrication of the Container Residences

122. MODS has materially breached the Contract by its failure to refund Deerfield her Down
Payment.

123.Deerfield has suffered significant damages as a direct consequence of MODS’ breaches
of the Contract.

COUNT 3 - THEFT BY CONTRACTOR - WIS. STAT. § 779.02(5)
§AGAINST MODSL

124.Deerfield repeats realleges, and incorporates by reference her allegations stated in
paragraphs 1 - 103 above as though fully set forth herein.

125. MODS was the prime contractor on the Project.

Case 1:19-cv-OOO79-WCG Filed 011/14/19 Page 17 of 122 Document 1

126. Deerfield paid MODS the Down Payment for improvements to be made to her property
by virtue of the Project, as specified in the Contract.

127.Pursuant to Wis. Stat. § 779.02(5), the Down Payment MODS received from Deerfield
was to be held by MODS as a trust fund for the Project, to the extent of the amount of
claims due or to become due from MODS or any subcontractors for labor, services
materials plans and specifications used for the Project.

128.MODS did not hold the Down Payment in trust, but instead misappropriated the trust
funds for other purposes

129.MODS’ wrongful misappropriation of the Down Payment constitutes theft by
contractor.

130.Deerfield is an interested party who has been damaged by MODS’ wronghrl
misappropriation of the Down Payment.

COUNT 4 - THEFT BY CONTRACTOR - WIS. STAT. § 779.02(5)
§AGAINST LARSON[

131.Deerfield repeats realleges, and incorporates by reference her allegations stated in
paragraphs 1 - 103 above as though fully set forth herein.

132. MODS is a corporation

133. Larson is an officer, director and/or agent of MODS, responsible for the misappropriation
of the Down Payment.

134.By directing MODS to convert the Down Payment for uses other than the Project and by
virtue of his position at MODS, Larson is subject to personal liability pursuant to Wis.
Stat. § 779.02(5).

135.Pursuant to Wis. Stats. § 779.02(5), Larson is liable to Deerfield in the amount of the

converted trust funds

Case 1:19-cv-OOO79-WCG Filed 011/§4/19 Page 18 of 122 Document 1

CCUNT 5 - THEFT - WIS. STATS. §§ 895.446(a) AND 943.20
jAGAINST MODS!

136. Deerfield repeats realleges, and incorporates by reference her allegations stated in
paragraphs 1 - 103 above as though fully set forth herein.

137. MODS, by virtue of its business is a trustee having possession of the Down Payment that
belongs to Deerfield.

138. MODS has misappropriated the Down Payment for uses other than work on or
completion of the Project.;

139. MODS has retained the Down Payment without Deerfield’s consent

140. MODS has intentionally refused to return the Down Payment to Deerfield, despite
Deerfield’s demand that it do so.

141. MODS does not have authority to retain the Down Payment.

142. MODS has converted or intends to convert to its own use the Down Payment.

143.MODS’ conduct is in violation of Wis. Stat. § 943.20.

144. Deerfield has suffered damage or loss by reason of MODS’ intentional conduct

145.Pursuant to Wis. Stat. § 895.446(3)(a-c), Deerfield is entitled to recover actual damages
costs of investigation and litigation of this matter and exemplary damages of not more

than 3 times the amount of actual damages awarded from MODS.

COUNT 6 - THEFT - WIS. STATS. §§ 895.446(a) AND 943.20
gAGAINST LARSON[

146.Deerfield repeats realleges, and incorporates by reference her allegations stated in
paragraphs 1 - 103 above as though fully set forth herein.
147 .Larson, by virtue of his employment with and complete dominance over MODS, is

responsible for MODS’ intentional refusal to refund the Down Payment to Deerfield,

Case 1:19-cv-OOO79-WCG Filed 011134/19 Page 19 of 122 Document 1

148.Larson, by virtue of his employment with and complete dominance over MODS, is
responsible for MODS’ intentional conversion of or intent to convert the Down Payment
to MODS’ or Larson’s own use.

149. Larson’s conduct is in violation of Wis. Stat. § 943.20.

150. Deerfield has suffered damage or loss by reason of Larson’s intentional conduct.

151.Pursuant to Wis. Stat. § 895.446(3)(a-c), Deerfield is entitled to recover actual damages
costs of investigation and litigation of this matter and exemplary damages of not more

than 3 times the amount of actual damages awarded from Larson.

COUNT 7 - PIERCING TI'HI CORPORATE VEIL / ALTER EG()
§AGAINST LARSON!

152.Deerfie1d repeats realleges and incorporates by reference, her allegations stated in
paragraphs 1 - 103 above as though fully set forth herein.

153.Larson has at all times relevant hereto, maintained and exercised complete dominance
and control over MODS’ finances policies and practices with respect to all aspects of
MODS’ business including the Contract and the Proj ect.

154.MODS, at all times relevant hereto, has had no separate mind, will or existence of its
own, apart from that of Larson.

155.Larson used his dominance and control over MODS to commit fraud or wrong, to
perpetrate the violation of a statutory or other positive legal duty and to commit dishonest
and unjust acts in contravention of Deerfield’s rights

156.Larson’s dominance and control over MODS with respect to all aspects of its business
including its participation in the Contract and the Proj ect, proximately caused Deerfield’s

injuries

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Case 1:19-cv-OOO79-WCG Fl|ed 012/14/19 Page 20 of 122 Document 1

COUNT 8 - WISCONSIN CONSUMER PROTECTION LAW
WIS. STAT. § 100.18 - FRAUDULENT REPRESENTATIONS

jAGAINST MODS[

157.Deerfield repeats realleges, and incorporates by reference, her allegations stated in
paragraphs 1 - 116 above as though fully set forth herein.

158.MODS, With the intention of selling product (e.g., container buildings) to the public,
including Deerfield, and With the intention of causing the public, including Deerfield, to
enter into contracts With MODS for the purchase of such product (e.g. container
buildings), knowingly and intentionally published, disseminated and placed before the
public advertisements relating to such purchase of product, which advertisements
contained representations and statements of fact that are untrue, deceptive and
misleading

159.Upon information and belief, at the time MODS disseminated these advertisements for
the sale of product (e.g. container buildings) to the public, it did so as part of a plan to
induce the public to pay it money while it simultaneously intending not to sell the
advertised product.

160.As a result of its conduct, MODS has acted in violation of Wis. Stat. § 100.18.

161.Deerfield has been injured and suffered pecuniary loss as a result of MODS’ violation of
Wis. Stat. § 100.18.

COUNT 9 - TEXAS DECEPTIVE TRADE PRACTICES ACT
TX. BUS. & COM. § 17.50 - RELIEF FOR CONSUMERS

§AGAINST MODS!

162.Deerfield repeats realleges, and incorporates by reference, her allegations stated in

paragraphs 1 - 116 above as though fully set forth herein.

Case 1:19-cv-OOO79-WCG Filed 012/14/19 Page 21 of 122 Document 1

163.Deerfield is a consumer by virtue of having sought to acquire, by purchase, goods and
services from MODS.

164. MODS engaged in false, misleading and/or deceptive acts/practices

165.Deerfield relied to her detriment on MODS’ false, misleading and/or deceptive
acts/practices and has suffered damages and pecuniary losses

166.MODS’ false, misleading and/or deceptive acts/practices were a producing cause of
Deerfield’s damages

167.MODS’ actions with respect to Deerfield, the Contract and the Project are
unconscionable

WHEREFORE, the Plaintiff, Mica Sunday Deerfield, hereby prays for judgment in her favor

and against Defendants MODS Intemational, Inc. and Douglas A. Larson, and respectfully
requests this Court enter an order1

A. Rescinding the Contract and requiring MODS to return Deerfield’s Down Payment of
$106,780;

B. Alternatively, awarding Deerfield actual and consequential damages in an amount to be
determined at trial;

C. Piercing the corporate veil and holding Larson personally liable for any judgment
rendered against MODS in this action;

D. Awarding Deerfield double or treble compensatory damages in an amount to be proven,
but not less than $106,780, that will fairly and adequately compensate Deerfield for the
losses she suffered;

E. Awarding Deerfield punitive damages

Case 1:19-cv-OOO79-WCG Filed 01%4/19 Page 22 of 122 Document 1

F. Awarding Deerfield all reasonable costs, disbursements and attorneys’ fees incurred in
connection With this action, to the extent legally allowed; and

G. Granting such other relief as this Court deems just and appropriate

URY DEMAND

Plaintiff demands trial by jury on all issues triable to a jury.

Dated this 14th day of January 2019.

s/ Heather J. Macklin

Heather J. Macklin, SBN: 1113335
Attomey for Plaintiff

EPIPHANY LAW, LLC

2800 E. Enterprise Avenue
Appleton, WI 54913
920-996-0000 - Phone
920-996-0001 - Fax

hmacklin@epiphanylaw.com

Case 1:19-cv-OOO79-WCG Filed Of/314/19 Page 23 of 122 Document 1

DB|A

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STANDARD FORM 0F AGREEMENT
BETWEEN OWNER AND DES|GN-
BU|LDER - LUMP SUM

 

Document No. 525

Second Edition, 2010
© Design-Bui|d |nstitute of America
Washington, DC

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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 24 of 122 Docu ent1

 

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Design-Bui|d institute of America - Contract Documents
L|CENSE AGREEMENT

By using the DBlA Contract Documents, you agree to and are bound by the terms of this License Agreement.

1. License. The Design-Build institute of America (“DB|A") provides DB|A Contract Documents and licenses their use
worldwide. You acknowledge that DB|A Contract Documents are protected by the copyright laws of the United States
You have a limited nonexclusive license to: (a) Use DB|A Contract Documents on any number of machines owned,
leased or rented by your company or organization; (b) Use DBlA Contract Documents in printed form for bona fide
contract purposes; and (c) Copy DB|A Contract Documents into any machine-readable or printed form for backup or
modification purposes in support of your permitted use,

2. User Responsibi|ity. You assume sole responsibility for the selection of specific documents or portions thereof to
achieve your intended results and for the installation, use, and results obtained from the DB|A Contract Documents
You acknowledge that you understand that the text of the DB|A Contract Documents has important legal
consequences and that consultation with an attorney is recommended with respect to use or modification of the text.
You will not represent that any of the contract documents you generate from DB|A Contract Documents are DB|A
documents unless (a) the document text is used without alteration or (b) all additions and changes to, and deletions
froml the text are clearly shown.

3. Copies. You may not use, copy, modify, or transfer DB|A Contract Documents or any copy, modification or merged
portion, in whole or in part, except as expressly provided for in this |icense. Reproduction of DB|A Contract Documents
in printed or machine-readable format for resale or educational purposes is expressly prohibited. You will reproduce
and include DB|A's copyright notice on any printed or machine-readable copy, modification, or portion merged into
another document or program.

4. Transfers. You may not transfer possession of any copy, modification or merged portion of DB|A Contract Documents
to another party, except that a party with whom you are contracting may receive and use such transferred material
solely for purposes of its contract with you. You may not sublicense, assign, or transfer this license except as expressly
provided in this Agreement, and any attempt to do so is void.

5. Term. The license is effective for one year from the date of purchase. DB|A may elect to terminate it earlier, by written
notice to you, if you fail to comply with any term or condition of this Agreement.

6. Limited Warranty. DB|A warrants the electronic files or other media by which DB|A Contract Documents are furnished
to be free from defects in materials and workmanship under normal use during the Term. There is no other warranty of
any kind, expressed or implied, including, but not limited to the implied warranties of merchantability and fitness for a
particular purpose. Some states do not allow the exclusion of implied warranties so the above exclusion may not apply
to you. This warranty gives you specific legal rights and you may also have other rights which varyfrom state to state.
DB|A does not warrant that the DB|A Contract Documents will meet your requirements or that the operation of DB|A
Contract Documents will be uninterrupted or error free.

7. Limitations of Remedies. DB|A’s entire liability and your exclusive remedy shall be: the replacement of any document
not meeting DB|A’s “Limited Warranty" which is returned to DB|A with a copy of your receipt, or at DB|A’s election, your
money will be refunded. ln no event will DB|A be liable to you for any damages including any lost profits lost savings
or other incidental or consequential damages arising out of the use or inability to use DB|A Contract Documents even if
DBIA has been advised of the possibility of such damages or for any claim by any other party. Some states do not
allow the limitation or exclusion of liability for incidental or consequential damages so the above limitation or exclusion
may not apply to you.

8. Acknowledgement. You acknowledge that you have read this agreement, understand it and agree to be bound by its
terms and conditions and that it will be governed by the laws of the District of Columbia. You further agree that it is the
complete and exclusive statement of your agreement with DB|A which supersedes any proposal or prior agreement
oral or written, and any other communications between the parties relating to the subject matter of this agreement

Case 1:19-cv-00079-WCG Filed 01/14/19 Page 25 of 122 Document 1

lNSTRUCTlONS

For DB|A Document No. 525 Standard Form of Agreement Between Owner and Design-Builder - Lump
Sum (2010 Edition)

Checklist

Use this Checklist to ensure that the Agreement is fully completed and all exhibits are attached.

 

 

x Page 1 Owner’s name, address and form of business
x Page 1 Design-Buiider’s name, address and form of business
x Page 1 Project name and address
x Section 2.1.3 identify other exhibits to the Agreement
x Section 4.2 Note the optional provisions that are provided
x Section 4.3.2 Complete blanks for additional sum for use of Work Product
x Section 5.2.1 Complete blanks for calendar days and note the optional language that is provided
Section 5.2.2 insert any interim milestones (optionai)
x Section 5.4 Complete blanks for liquidated damages and note the optional provisions that are
provided
x Section 5.5 if the parties select the option provided they have to insert an amount
x Section 5.6 Complete blanks for early completion bonus and note the optional provision that is
provided
x Section 5.7 Note the optional provisions that are provided
x Section 6.1 Complete blanks for Contract Price
x Section 6.2 insert markups for changes and note optional provisions
x Section 6.3.4 Note the optional provision that is provided
x Section 6.4.1 Note optional provision
x Section 7.1.1 Complete blanks for day of month
x Section 7.2.1 Complete blanks for retention percentage and note optional provision
x Section 7.4 Complete blanks for interest rate
x Section 8.1.3 Choose overhead/profit method for termination for convenience
x Section 8.2.1 Complete blanks for percentages
x Section 8.2.2 Complete blanks for percentages
Section 9.1.1 insert Owner’s Senior Representative’s namel etc. (optionai)
Section 9.1.2 insert Owner’s Representative’s name, etc. (optionai)
Section 9.2.1 insert Design-Builder's Senior Representative’s name, etc. (optionai)
Section 9.2.2 insert Design-Buiider’s Representative’s name, etc. (optionai)
Section 10.1 Attach insurance Exhibit
Section 10.2 insert amount and conditions of bonds or other security and note the options that are
provided
Section 11.1 insert any other provisions (optionai)
x Last Page Owner’s and Design-Buiider’s execution of the Agreement
instruction Sheet for DB|A Document No. 525 Page 1

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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 26 of 122 Document 1

Genera| instructions

 

No.

Subject

instruction

 

Standard Forms

Standard form contracts have long served an important function in the United States and
international construction markets The common purpose of these forms is to provide an
economical and convenient way for parties to contract for design and construction services
As standard forms gain acceptance and are used with increased frequency, parties are able
to enter into contracts with greater certainty as to their rights and responsibilities

 

 

DB|A Standard
Form Contract
Documents

Since its formation in 1993, the Design-Buiid institute of America (“DB|A”) has regularly
evaluated the needs of owners design-builders and other parties to the design-build
process in preparation for developing its own contract forms Consistent with DB|A's
mission of promulgating best design-build practices DB|A believes that the design-build
contract should reflect a balanced approach to risk that considers the legitimate interests of
all parties to the design-build process DB|A’s Standard Form Contract Documents reflect a
modern risk allocation approach, allocating each risk to the party best equipped to manage
and minimize that risk, with the goal of promoting best design-build practices

 

Use of Non-DB|A
Documents

To avoid inconsistencies among documents used for the same project, DB|A's Standard
Form Contract Documents should not be used in conjunction with non-DB|A documents
unless the non-DB|A documents are appropriately modified on the advice of legal counsel.
Moreover, care should also be taken when using different editions of the DB|A Standard
Form Documents on the same project to ensure consistency.

 

Legal
Consequences

DB|A Standard Form Contract Documents are legally binding contracts with important legal
consequences Contracting parties are advised and encouraged to seek legal counsel in
completing or modifying these Documents

 

Reproduction

DB|A hereby grants to purchasers a limited license to reproduce its Documents consistent
with the License Agreement accompanying these Documents At least two original versions
of the Agreement should be signed by the parties Any other reproduction of DB|A
Documents is strictly prohibited.

 

Modifrcations

Efiective contracting is accomplished when the parties give specific thought to their
contracting goals and then tailor the contract to meet the unique needs of the project and
the design-build team. For that reason, these Documents may require modification for
various purposes inciuding, for example, to comply with local codes and iaws, or to add
special terms DB|A’s latest revisions to its Documents provide the parties an opportunity to
customize their contractual relationship by selecting various optional contract clauses that
may better reflect the unique needs and risks associated with the project.

Any modifications to these Documents should be initialed by the parties At no time should a
document be re-typed in its entirety. Re-creating the document violates copyright laws and
destroys one of the advantages of standard forms-familiarity with the terms.

 

 

Execution

 

it is good practice to execute two original copies of the Agreement. Only persons authorized
to sign for the contracting parties may execute the Agreement.

 

 

instruction Sheet for DB|A Document No. 525
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Page 2

Case 1:19-cv-00079-WCG Filed 01/14/19 Page 27 of 122 Document 1

 

 

Specific instructions

 

Section

Title

instruction

 

General

Purpose of This
Agreement

DB|A Document No. 525 (“Agreement") should be used only when the parties intend that
Owner pay Design-Builder a lump sum fixed price for the completion of all design and
construction services There will be greater mutual understanding and cooperation if the
lump sum is established based on Owner’s Project Criteria that are well defined.

if there is uncertainty about Owner’s Project Criteria, or it remains to be developed by
Owner and Design-Builder jointly, a cost-plus/guaranteed maximum price (“GMP”)
contracting approach may be more suitable. in such case, the parties should use DB|A
Document No. 530.

 

General

Purpose of These
instructions

These instructions are not part of this Agreement, but are provided to aid the parties in
their understanding of the Agreement and in completing the Agreement.

 

General

Related
Documents

This Agreement shall be used in conjunction With the General Conditions of Contract
Other related Contract Documents are listed in Article 2 of this Agreement.

 

General

Date

On Page 1, enter the date when both parties reach a final understanding. lt is possiblel
due to logistical reasons that the dates when the parties execute the Agreement may be
different Once both parties execute the Agreement, the effective date of the Agreement
will be the date recorded on Page 1. This date does not, however, determine Contract
Timel which is measured according to the terms of Article 5.

 

General

Parties: Owner
and Design-
Builder

On Page, 1 enter the legal name and full address of Owner and Design-Builder, as well as
the legal form of each entity, e.g., corporation, partnership, limited partnership, limited
liability company, or other.

 

Basis of Design
Documents

The Basis of Design Documents are critical in establishing the scope of work. These
documents include the Owner’s Project Criteria, Design-Builder’s Proposai, and the
Deviation List. if any, contained in the Design-Builder’s Proposal. Prior to the execution of
this Agreement, Design-Builder will have submitted its Proposa| based on Owner’s Project
Criteria. To avoid ambiguities or conflicts between Owner’s Project Criteria and Design-
Builder’s Proposai, Design-Builder’s Proposal shall specifically list any deviations from
Owner’s Project Criteria. Design-Builder’s Deviation List shaii, if accepted by Owner,
become a Contract Document and shall have precedence over Owner’s Project Criteria.

 

Construction
Documents

After execution of the Agreement, and consistent with the requirements of Section 2.4 of
the General Conditions of Contract, Design-Builder will prepare Construction Documents
subject to Owner’s review and approvai.

 

3.2

Order of
Precedence

The Contract Documents are listed in Section 2.1 in the order of their precedence This
hierarchy of documents reflects DB|A’s belief that the Basis of Design Documents are
critical documents that take precedence over other Contract Documents existing at the
time the Agreement is executed This section also makes clear that if a Deviation List
exists it takes precedence over the Owner’s Project Criteria. Moreover, Section 2.1.3
recognizes that there may be other exhibits attached to this Agreement. lf this is the case,
the parties should discuss whether these exhibits should be part of the Basis of Design
Documents if these exhibits are not made part of the Basis of Design Documents these
exhibits Will not take priority over the Basis of Design Documents in the event of a conflict

 

3.3

 

Definitions

 

Terms, words and phrases used in the Agreement shall have the same meanings used in
the General Conditions of Contract

 

 

Instruction Sheet for DB|A Document No. 525 Page 3

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,Case 1:19-cv-00079-WCG Filed 01/14/19 Page 28 of 122 Document 1

 

 

 

 

 

 

 

 

 

 

 

 

Section Title instruction

The Owner is cautioned that if it includes design specifications in its Project Criteria, there
Design is case law holding that the Design-Builder is entitled to rely on such informationl and to
3.4 8 ecification the extent such information is not accurate, the Design-Builder will be entitled to an
p adjustment in the Contract Price and/or Contract Time. Accordingiy, the Owner to avoid

such potential liability should consider using performance specifications
This Agreement provides that the Design-Builder shall retain ownership of the Work
4 1 Work Product Product it produces but obligates Design-Builder to grant a limited license to Ownerto use
` the Work Product according to the terms and circumstances described in Sections 4.2, 4.3,

4.4 and 4.5.

Design-Builder shall grant Owner, at Owner’s sole risk, a limited license to use the Work

Owner,S Limited Product at the completion of the Work in connection with Owner’s occupation of the

4 2 License U Project. This Section also provides the parties with the option of transferring ownership of
. pon .

Payment in Fu" some or all of the Work Product to the Owner upon payment in fulll for all Vl/ork performed.
Generally, where the Owner desires ownership of Work Product, it is sufficient to transfer
ownership of unique architectural and design elements
Owner should not use the Termination for Convenience Ciause to obtain Design-Builder's

Owner's Limited valuable design concepts and then seek lower bids from other design-builders Therefore,

License Upon where Owner terminates this Agreement for its conveniencel and then decides to complete
Owner's the Project with its own or third-party forces Design-Builder shall grant Owner the rights
4 3 Termination for set forth in Section 4.2, provided Owner pays Design-Builder all amounts due Design-
' Convenience or Builder as required by the Contract Documents including paying Design-Builder an
Design-Builder’s additional sum per Section 4.3.2 for the use of the Work Product. in the event Design-
Eiection to Builder elects to terminate this Agreement for cause, for reasons set forth in Section 11.4
Terminate of the General Conditions of Contract, these same conditions apply to Owner's use of the
Work Product
To minimize disputes the parties should negotiate prior to execution of the Agreement the
4 3 2 Additional amount Owner shall pay Design-Builder for the use of Design-Builder’s Work Product in
' ' Compensation the event Owner terminates this Agreement for its convenience or Design-Builder elects to
terminate this Agreement for cause. Enter this amount
O|:';/:eegsse|`bnpqg:d if Design-Builder is properly terminated for default Owner is granted a limited license to
4.4 D . . , use the Work Product, to complete the Project, and Owner shall thereafter have the same
esign-Burlder s . . . . .
Defau|t rights and obligations as set forth in Section 4.2.
Owner’s O , . . .
m d e m nification wners use or alteration of the Work Product shall be at its sole risk, and Owner must
4.5 for Use Of Work agree to defend, indemnify and hold harmless Design-Builder and anyone working by or
P through Design-Builder, including Design Consu|tants of any tier.
roduct
5 1 Date of Design-Builder’s obligation to commence work is triggered by its receipt of a Notice to
' Commencement Proceed unless the parties mutually agree otherwise.
Enter the calendar days duration by which Substantial Completion has to be achieved. The
Substantial parties in this Section have the option of modifying the definition of Substantial Completion
5_2_1 Completion of the set forth in the General Conditions of Contract if they want to use a Temporary Certificate
Entire Work of Occupancy as the benchmark. if this option is selected, Substantial Completion will be

 

 

deemed to be achieved no later than the date a Temporary Certificate of Occupancy is
issued if applicable to the Project.

 

 

instruction Sheet for DB|A Document No. 525
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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 29 of 122 Document 1

Page 4

 

 

Section

Title

instruction

 

 

5.2.2

interim
Milestones

lt may be that some portions of the Work must be completed in phases or within a
prescribed period of time to accommodate Owner’s needs. The parties may, at their option,
identify these portions of the Work to be completed prior to Substantial Completion of the
entire Work. Enter the calendar days starting from the Date of Commencement for
achieving Substantial Completion of these identified portions of the Work. if these portions
of the Work are required to be substantially completed by certain milestone dates enter
those dates As presently drafted no remedy is provided to the Owner if an interim
milestone is not met if the Owner has special requirements as it relates to interim
milestones, the Owner may want to consider a remedy for the Design-Builder’s failure to
meet an interim milestone, as well as a bonus to the Design-Builder for satisfying such
interim milestone.

 

5.4

Liquidated
Damages

Owner should make a good faith evaluation of the amount that is reasonably necessaryto
compensate it for delay. Owner should not establish liquidated damages to penalize
Design-Builder.

Section 5.4 establishes a grace period between the Scheduled Substantial Completion
Date and the assessment of liquidated damages in order to prevent disputes as to which
party bears responsibility for only a few days of delay. The parties should enter the
calendar days that may pass following the Scheduled Substantial Completion Date before
liquidated damages will be assessed. The parties are also provided the option of
establishing liquidated damages if the Design-Builder fails to achieve Final Completion
within a specified number of days after Substantial Completion. if this option is selected,
the parties have to negotiate the number of days as weil as the liquidated damages
amount The parties in negotiating liquidated damages should keep in mind that the
amount of liquidated damages for failing to achieve Final Completion should be a
considerably scaled down amount and should reflect the financial harm to the Owner. in no
case should the total amount of liquidated damages for the Project exceed an amount that
is reasonably necessary to compensate Owner for Project delay.

The parties also have the option here of eliminating liquidated damages altogether, in
which case the Owner can recover actual damages for Project delay at an amount that is
capped by the parties The Owner is cautioned that even if this option for actual damages
is selected it still cannot recover consequential damages as these are waived under
Section 10.5.1 of the General Conditions of Contract

 

5.5

Liquidated
Damages Cap

The parties can agree to cap liquidated damages for delay at a negotiated amount

 

5.6

Ear|y Completion
Bonus

if the Project economics justify liquidated damages then it is appropriate to couple these
liquidated damages with an early completion bonus. The parties should enter the number
of calendar days prior to the Scheduled Substantial Completion Date that will set the
Bonus Date. Also, enter the amount of the bonus to be paid per day that will allow Owner
to share with Design-Builder the economic benefits of early completion. The parties also
have the option in Section 5.6 of capping the early completion bonus at a negotiated
amount

 

5.7

Compensation for
Force Majeure
Events

The parties are provided the opportunity of providing the Design-Builder the right to receive
compensation for Force Majeure Events. By selecting this option, the parties agree to
modify Section 8.2.2 of the General Conditions of Contract, in which case the parties have
to negotiate how many cumulative days of Force Majeure delays must occur before the
Design-Builder is entitled to either a negotiated amount per day for delay orthe direct costs
it has incurred as a result of such delay.

 

6.1

 

Contract Price

 

Enter the lump sum price Owner will pay Design-Builder for the Scope of Work. The
Contract Price should compensate Design-Builder for the services it provides and the risk it
assumes in providing single point responsibility to Owner.

 

 

instruction Sheet for DB|A Document No. 525
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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 30 of 122 Document 1

Page 5

 

 

 

Section

Title

instruction

 

6.2

Markups for
Changes

Enter the markups agreed upon by Design-Builder and Owner to be used for pricing
Changes to the Work. Prior to negotiating or agreeing to these markups both parties
should familiarize themselves with Article 9 of the General Conditions of Contract,
Changes to the Contract Price and Time. For additive Change Orders, the parties have to
negotiate the Fee the Design-Builder will receive For deductive Change Orders, parties
have the option by checking the appropriate box of whether there will be no additional
reduction or whether there will be an additional reduction based on a negotiated
percentage

 

6.3.4

Allowance Vaiue

This section recognizes that the parties may agree that certain items of Work should be
treated as an Allowance item and priced based on Allowance Vaiues The Allowance
Vaiue for which the Design-Builder will be entitled to receive compensation includes direct
cost of labor, materials equipment transportation, taxes and insurance associated with the
Allowance ltem. All other costs associated with the Allowance item, such as design fees
general conditions costs and fee, are deemed to be included in the Contract Price
However, the parties agree that in the event the actual cost of the Allowance item is
greater than or less than the Allowance Vaiue by a negotiated percentage then Design-
Builder’s right to Fee and markup shall be determined pursuant to Section 6.2.

 

6.4

Performance
incentives

There may be performance incentives that will influence Project success Such incentives
may include award fees tied to the Design-Builder achieving certain standards relative to
client satisfaction, safety, and personnel retention. The parties are encouraged to discuss
the use of such incentives during negotiation of this Agreement. Any agreement on the use
of incentives should be set forth iri an exhibit attached to this Agreement.

 

Progress
Payments

Enter the day of the month when Design-Builder shall submit its Application for Payment

 

7.2.1

Retainage

Enter the percentage Owner will retain from Progress Payments to Design-Builder until fifty
percent (50%) of the Work is completed. Owner should recognize that it creates undue
hardship to hold retainage on Subcontractors that have completed their work early in the
Project. Owner should accordingly consider releasing retainage on Subcontractors that
complete work early in the Project, providing that these Subcontractors have satisfactorily
performed their portion of the Work.

The parties are provided the option of modifying the retainage provision by checking the
box. This option excludes from retainage the Design-Builder's General Conditions costs
and amounts paid to Design-Builder’s Design Consu|tant. The rationale for selecting this
option is that the Design-Builder is obligated to pay its General Conditions costs in full
each month and that under the design-bid-build delivery method, the Owner typically does
not retain sums from its designer.

 

7.4

interest

The parties should enter the rate at which interest will accrue on Design-Builder`s
payments if unpaid five (5) days after due Late payment creates a hardship for Design-
Builder, its Design Consu|tants and Subcontractors

 

7.5

 

Record Keeping

 

The Owner is provided access to Design-Builder’s accounting information as it relates to
changes of the Work. However, if the parties have agreed to multipliers or markups for
changes the time to challenge and negotiate those percentages is at the time the parties
execute the Agreement and not during the Project or after it has been compieted.
Accordingiy, the Owner can at any time audit these percentages only to confirm that such
percentage has been properly charged and not to challenge the composition of such
percentage

 

 

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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 31 of 122 Document 1

Page 6

 

 

Section

Title

instruction

 

Termination for

Convenience:

Overhead and
Profit

The parties should choose prior to execution of the Agreement the method that will be
used to determine overhead and profit paid to Design-Builder in the event Owner
terminates Design-Builder for its convenience The parties may choose to set percentage
rates for overhead and profit prior to execution of the Agreement, or may choose to
determine reasonable sums to be paid for overhead and profit at the time of the
termination. if the parties choose to set overhead and profit rates prior to execution of the
Agreement, the percentages should be entered in Section 8.1.3.

 

8.2

Termination for
Convenience:
Additional
Payments

Although it is important for Owner to have a process for terminating this Agreement for
convenience the process must consider the interests of Design-Builder. if Owner
terminates this Agreement for its own convenience compensating Design-Builder for its
costs will not be adequate because Design-Builder will have committed its resources for a
small amount of revenue Therefore, in addition to the overhead and profit paid in Section
8.1, Owner shall pay Design-Builder an additional sum, calculated as a percentage of the
remaining balance of the Contract Price Enter the percentages Owner shall pay Design-
Builder if Owner terminates this Agreement for its own convenience prior to or after the
start of construction.

 

8.3

Termination for
Convenience:
Owner’s Use of
Work Product

Owner should not use the Termination for Convenience clause to obtain Design-Builder’s
valuable design concepts and then seek lower bids from another design-builder. if Owner
terminates this Agreement for its own convenience and chooses to proceed with the
Project using Design-Builder’s Work Productl Owner should pay an additional sum forthe
use of Design-Builder’s Work Product pursuant to Section 4.3.

 

Article

Representatives
of the Parties

Enter the name, titlel address and telephone number of Owner’s Senior Representative
and Owner’s Representative at Sections 9.1.1 and 9.1.2, respectively.

Enter the name, title, address and telephone number of Design-Builder's Senior
Representative and Design-Builder’s Representative at Sections 9.2.1 and 9.2.2,
respectively.

The parties can elect to establish Representatives during the performance of the Project
rather than at the time of execution of this Agreement. if Representatives are identified
after execution of the Agreement, an appropriate amendment should be made to the
Agreement at the time these individuals are designated

 

10.1

lnsurance

Attach an insurance Exhibit setting forth in detail the insurance coverages required for the
Project. Parties are advised to familiarize themselves with the terms of Article 5 of the
General Conditions of Contractl insurance and Bonds and to consult their insurance
advisor.

 

10.2

Bonds

Enterthe type and amount of bonds or other performance security required forthe Project.
Where bonding is not required by statute Owner may want to evaluate the project risks
versus the bonding costs in deciding what type of performance security to require

 

 

 

Other Provisions

 

insert any other provisions For example, the parties may elect to have disputes resolved
through litigation rather than arbitration iri which case the optional language in this Section
should be included.

 

 

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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 32 of 122 Document 1

Page 1

 

TABLE CF CONTENTS

Article Name Page
Article 1 Scope of Work ................................................................................................ 4
Article 2 Contract Documents ....................................................................................... 4
Article 3 interpretation and intent .................................................................................. 4
Article 4 Ownership of Work Product ............................................................................ 5
Article 5 Contract Time .................................................................................................. 6
Article 6 Contract Price ................................................................................................. 7
Article 7 Procedure for Payment ................................................................................... 9
Article 8 Termination for Convenience ........................................................................ 10
Article 9 Representative of the Parties ....................................................................... 11
Article 10 Bonds and insurance ................................................................................... 11
Article 11 Other Provisions ........................................................................................... 12

Case 1:19-cv-00079-WCG Filed 01/14/19 Page 33 of 122 Document 1

 

DB|A

 

 

 

Standard Form of Agreement Between
Owner and Design-Builder - Lump Sum

This document has important legal consequences Consultation with
an attorney is recommended With respect to its completion or modification

 

This AGREEMENT is made as of the 10th day of Februagr in the
year 2018, by and between the following parties for services in connection with the Project identified below.

OWNER:

(Name and address)

Mica Deerfield

19115 Mosey Hedge Lane
Katy, Texas 77449
607-329-3660

mdeeriie@iuno.com

DES|GN-BU|LDER:

(Name and address)

MODS lnternational, lnc.

5523 West integrity Way

Appleton, Wi 54913

800-869-1277 Main Office

920-574-0215 Cell phone for Douglas Larson
diarson@modsinternational.com

PROJECT:

(lnclude Project name and location as it will appear in the Contract Documents)

Four New Container Residences located at 143734 Government Beach Road
Keaau, Hawaii
New Building Lot

 

DB|A Document No. 525 Page 1
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 34 of 122 Document 1

in consideration of the mutual covenants and obligations contained herein, Owner and Design-Builder agree
as set forth herein.

Architectural design including engineering with wet stamped plans

Design based on St. Croix unit as previously shown

8 New Shipping containers 20’x8’x9’-6" giving you a clear height of 9’ inside 16’x20’ foot print each unit
Structural steel welded in place as designed by our structural engineer
Concrete foundation using piers with steel plate embedded in top
Excavation for piers and minor site grading

Containers welded to steel plates in piers

Landscape by others

Transportation from factory to your building location

Crane or all terrain forklift for placement on piers

Tapered foam insulated roof panels

White rubber membrane roof system

New Excel 10 wind turbine with tower installed

48"x48” sliding windows on side walls

15’ curtain wall windows on front of units as previously shown with screens and inserted mini-blinds
Stealth metal panels with color choice

1/z” reveal between panels

interior walls framed with 2x4” wood studs

Foam insulation

5/8" type X fire rated drywall with knockdown finish

Primed and painted with two coats of paint colors to be determined

interior metal ceiling to be painted per your choice of colors

9’ clear height ceiling level for maximum height

interior doors pre-hung with solid panel core

Door hardware to be selected

50amp electrical service with electrical design per code

interior wall sconce lights and ceiling lights as needed using low voltage LED
Ceiling fans (3) per unit

Exterior lights

CAT5 cables for TV and internet pre-wired

P|umbing design

Bathroom with Kohler or equal fixtures

Shower module with mixer and hand wand

Mirror, medicine cabinet all towel bars and paper holders (finish to be determined)
Three units have kitchen cabinets upper and lower with sink

Corian counter tops with over 100 color selections

Appliances by owner

On unit has lower cabinets and space for minifridge (furnished by MODS)
Flooring to be Armstrong lux vinyl wood grain or carpet tiles (to be determined)
Hard tiles in bathroom (Ceramic or equal)

HVAC using Mitsubishi Mini-split system with remote control

Project supervision on site by MODS staff

Project manager and interior designer assigned to project

Final cleaning before turn over to owner

Project warranty of one full year from date of turn over

 

DB|A Document No. 525 Page 2
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
© 2010 Design-Build institute of America

Case 1:19-cv-00079-WCG Filed 01/14/19 Page 35 of 122 Document 1

Price Breakdown

Each Unit $45,000 with stealth panels
Transportation 4,390 Each unit
Single Wind Turbine 4,000 Each unit (The Turbine is $16,000/4 Units lowers the overall price)

Totai investment $53,390 Each x 4 units equals $213,560

Payment Scheduie:

50% Due at contract execution $106,780
25% Due when building components are ready to ship from factory to your building site $53,390

25% Due at completion and units are ready to move in to. $53,390

 

DB|A Document No. 525 Page 3
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
© 2010 Design-Build institute of America

Case 1:19-cv-00079-WCG Filed 01/14/19 Page 36 of 122 Document 1

Article 1
Scope of Work

1.1 Design-Builder shall perform all design and construction services and provide all material, equipment
tools and labor, necessary to complete the Work described in and reasonably inferable from the Contract
Documents

Article 2

Contract Documents

2.1 The Contract Documents are comprised of the following:

2.1.1 All written modifications amendments minor changes and Change Orders to this Agreement
issued in accordance with DB|A Document No. 535, Standard Form of General Conditions of
Contract Between Owner and Design-Builder (2010 Edition) (“General Conditions of Contract”);

2.1.2 The Basis of Design Documents including the Owner’s Project Criteria, Design-Builder’s
Proposal and the Deviation List if any, contained in the Design-Builder’s Proposai, which shall
specifically identify any and all deviations from Owner's Project Criteria;

2.1.3 This Agreement, including all exhibits and attachments executed by Owner and Design-
Builder (List for example, performance standard requirements performance incentive requirements
markup exhibits allowances or unit prices);

2.1.4 The General Conditions of Contract; and

2.1.5 Construction Documents prepared and approved in accordance with Section 2.4 of the
General Conditions of Contract

Article 3

interpretation and intent

3.1 Design-Builder and Owner, prior to execution of the Agreement, shall carefully review all the Contract
Documents including the various documents comprising the Basis of Design Documents for any conflicts or
ambiguities Design-Builder and Owner will discuss and resolve any identified conflicts or ambiguities prior to
execution of the Agreement.

3.2 The Contract Documents are intended to permit the parties to complete the Work and all obligations
required by the Contract Documents within the Contract Time(s) for the Contract Price The Contract
Documents are intended to be complementary and interpreted in harmony so as to avoid conflict with words
and phrases interpreted in a manner consistent with construction and design industry standards in the event
inconsistencies conflicts or ambiguities between or among the Contract Documents are discovered after
execution of the Agreement, Design-Builder and Owner shall attempt to resolve any ambiguity, conflict or
inconsistency informally, recognizing that the Contract Documents shall take precedence in the order in which
they are listed in Section 2.1 hereof. Confiicts existing within Section 2.1.2 shall be resolved by giving
precedence first to the Deviation List if anyl then the Owner’s Project Criteria, and then the Design-Builder’s
Proposal.

3.3 Terms, words and phrases used in the Contract Documents including this Agreement, shall have the
meanings given them iri the General Conditions of Contract

3.4 if Owner’s Project Criteria contain design specifications (a) Design-Builder shall be entitled to
reasonably rely on the accuracy of the information represented in such design specifications and their

 

DB|A Document No. 525 Page 4
Standard Form of Agreement Between owner and Design-Builder - Lump Sum
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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 37 of 122 Document 1

compatibility with other information set forth in Owner’s Project Criteria, including any performance
specifications; and (b) Design-Builder shall be entitled to an adjustment in the Contract Price and/or Contract
Time(s) to the extent Design-Builder’s cost and/ortime of performance have been adversely impacted by such
inaccurate design specification.

3.5 The Contract Documents form the entire agreement between Owner and Design-Builder and by
incorporation herein are as fully binding on the parties as if repeated herein. No oral representations or other
agreements have been made by the parties except as specifically stated in the Contract Documents

Article 4

Ownership of Work Product

4.1 Work Product. All drawings specifications and other documents and electronic data, including such
documents identified in the General Conditions of Contract, furnished by Design-Builder to Owner underthis
Agreement (“Work Product”) are deemed to be instruments of service and Design-Builder shall retain the
ownership and property interests therein, including but not limited to any intellectual property rights copyrights
and/or patents subject to the provisions set forth in Sections 4.2 through 4.5 below.

4.2 Owner’s Limited License Upon Project Completion and Payment in Fui| to Design-Builder.
Upon Owner’s payment in full for all Work performed under the Contract Documents Design-Builder shall
grant Owner a limited license to use the Work Product in connection with Owner’s occupancy of the Projectl
conditioned on Owner's express understanding that its alteration of the Work Product without the involvement
of Design-Builder is at Owner's sole risk and without liability or legal exposure to Design-Builder or anyone
working by or through Design-Builder, including Design Consu|tants of any tier (collective|y the “lndemnified
Parties”), and on the Owner’s obligation to provide the indemnity set forth in Section 4.5 below.

[At the parties' option, one of the following may be used in lieu of Section 4.2]:

l:l Upon Owner’s payment in full for all Work performed under the Contract Documents Design-Builder:
(a) grants Owner a limited license to use the Work Product in connection with Owner’s occupancy of the
Project; and (b) transfers all ownership and property interests including but not limited to any intellectual
property rights copyrights and/or patents in that portion of the Work Product that consists of architectural and
other design elements and specifications that are unique to the Project. The parties shall specifically designate
those portions of the Work Product for which ownership in the Work Product shall be transferred Such grant
and transfer are conditioned on Owner’s express understanding that its alteration of the Work Product without
the involvement of Design-Builder is at Owner's sole risk and without liability or legal exposure to Design-
Builder or anyone working by or through Design-Builder, including Design Consu|tants of any tier (collectively
the “lndemnified Parties"), and on the Owner’s obligation to provide the indemnity set forth in Section 4.5
below.

Ol'

ix Upon Owner’s payment in full for all Work performed under the Contract Documents Design-Builder
transfers to Owner all ownership and property interests including but not limited to any intellectual property
rights copyrights and/or patents in the Work Product Such transfer is conditioned on Owner’s express
understanding that its alteration of the Work Product without the involvement of Design-Builder is at Owner’s
sole risk and without liability or legal exposure to Design-Builder or anyone working by or through Design-
Builder, including Design Consu|tants of any tier (collectively the “lndemnified Parties”), and on the Owner’s
obligations to provide the indemnity set forth in Section 4.5 below.

4.3 Owner’s Limited License upon Owner’s Termination for Convenience or Design-Builder’s
E|ection to Terminate. if Owner terminates this Agreement for its convenience as set forth in Article 8 hereof,

 

DB|A Document No. 525 Page 5
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 38 of 122 Document 1

or if Design-Builder elects to terminate this Agreement in accordance with Section 11.4 of the General
Conditions of Contract, Design-Builder shall, upon Owner’s payment in full ofthe amounts due Design-Builder
under the Contract Documentsl grant Owner a limited license to use the Work Product to complete the Project
and subsequently occupy the Project, and Owner shall thereafter have the same rights as set forth in Section
4.2 above, conditioned on the following:

4.3.1 Use of the Work Product is at Owner’s sole risk without liability or legal exposure to any
indemnified Party and on the Owner’s obligation to provide the indemnity set forth in Section 4.5
beiow; and

4.3.2 Owner agrees to pay Design-Builder the additional sum of thirty-five_thousand

Dollars ($ 35,000) as compensation for the right to use the Work Product to complete the Project and
subsequently use the work Product in accordance with Section 4.2 if Owner resumes the Project
through its employees agents or third parties

4.4 Owner’s Limited License upon Design-Builder's Defau|t. if this Agreement is terminated due to
Design-Builder”s default pursuant to Section 11.2 of the General Conditions of Contract then Design-Builder
grants Owner a limited license to use the Work Product to complete the Project and subsequently occupy the
Project, and Owner shall thereafter have the same rights and obligations as set forth in Section 4.2 above
Notwithstanding the preceding sentence if it is ultimately determined that Design-Builder was not in default
Owner shall be deemed to have terminated the Agreement for convenience and Design-Builder shall be
entitled to the rights and remedies set forth in Section 4.3 above

4.5 Owner’s indemnification for Use of Work Product. if Owner is required to indemnify any
indemnified Parties based on the use or alteration of the Work Product under any of the circumstances
identified in this Article 4, Owner shall defend, indemnify and hold harmless such indemnified Parties from and
against any and all claims damages liabilities losses and expenses including attorneys’ fees arising out of
or resulting from the use or alteration of the Work Product

Article 5

Contract Time

5.1 Date of Commencement. The Work shall commence within five (5) days of Design-Builder’s receipt
of Owner’s Notice to Proceed (“Date of Commencement”) unless the parties mutually agree otherwise in
writing.

5.2 Substantial Completion and Final Completion.

5.2.1 Substantial Completion of the entire Work shall be achieved no later than eight
( 120 ) calendar days after the Date of Commencement (“Scheduled Substantial
Completion Date”).

[At the parties’ option, the following supplemental language may be inserted at the end of
Section 5.2.1. if the Project is subject to a Temporary Certificate of Occupancy]

§ The parties agree that the definition for Substantial Completion set forth in Section 1.2.18 of
the General Conditions of Contract is hereby modified to read as follows:

“Substantial Completion is the date on which the Work, or an agreed upon portion of the Work, is
sufficiently complete in accordance with the Contract Documents so that Owner can occupy and use
the Project or a portion thereof for its intended purposes provided, however, that Substantial
Completion shall be deemed to have been achieved no later than the date of issuance of a

 

DBlA Document No. 525 Page 6
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 39 of 122 Document 1

Temporary Certificate of Occupancy issued by the local building official."

5.2.2 interim milestones and/or Substantial Completion of identified portions of the Work

(“Scheduled interim Milestone Dates”) shall be achieved as follows: (Insertanyinten'mmilestonesforporrions
of the Work with different scheduled dates far Substantial Completion)

5.2.3 Final Completion of the Work or identified portions of the Work shall be achieved as
expeditiously as reasonably practicable Final Completion is the date when all Work is complete
pursuant to the definition of Final Completion set forth in Section 1.2.7 of the General Conditions of
Contract

5.2.4 All of the dates set forth in this Article 5 (collectively the “Contract Time(s)") shall be subject to
adjustment in accordance with the General Conditions of Contract

5.3 Time is of the Essence. Owner and Design-Builder mutually agree that time is of the essence with
respect to the dates and times set forth in the Contract Documents

Article 6
Contract Price
6.1 Contract Price. Owner shall pay Design-Builder in accordance with Article 6 of the General
Conditions of Contract the sum of one hundred-fortv thousand

 

Do|lars ($ 140,000_)

(“Contract Price”), subject to adjustments made in accordance with the General Conditions of Contract
Unless otherwise provided in the Contract Documents the Contract Price is deemed to include ali sales use,
consumer and other taxes mandated by applicable Legal Requirements.

6.2 Marku ps for Changes if the Contract Price requires an adjustment due to changes in the Work, and
the cost of such changes is determined under Sections 9.4.1.3 or 9.4.1.4 of the General Conditions of
Contract, the following markups shall be allowed on such changes

6.2.1 For additive Change Orders including additive Change Orders arising from both additive and
deductive items, it is agreed that Design-Builder shall receive a Fee of fifteen

percent ( 15 %) of the additional costs incurred for that Change Order,
plus any other markups set forth at Exhibit hereto.

6.2.2 For deductive Change Orders including deductive Change Orders arising from both
additive and deductive items the deductive amounts shall include:

 

[Check one box only]
|:l No additional reduction to account for Design-Builder’s Fee or any other markup.
or
DBiA Document No. 525 Page 7

Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 40 of 122 Document 1

6.3

6.4

§ An amount equal to the sum of: (a) fifteen
percent ( 15 %) applied to the direct costs of the net reduction (which amount will
account for a reduction associated with Design-Builder’s Fee); plus (b) any other markups set
forth at Exhibit hereto applied to the direct costs of the net reduction.

 

Allowance items and Allowance Vaiues.

6.3.1 Any and all Allowance items as well as their corresponding Allowance Vaiuesl are set forth in
an Exhibit hereto.

6.3.2 Design-Builder and Owner have worked together to review the Allowance items and
Allowance Vaiues based on design information then available to determine that the Allowance Vaiues
constitute reasonable estimates for the Allowance items Design-Builder and Owner will continue
working closely together during the preparation of the design to develop Construction Documents
consistent with the Allowance Vaiues. Nothing herein is intended in any way to constitute a guarantee
by Design-Builder that the Allowance item in question can be performed for the Allowance Vaiue

6.3.3 No work shall be performed on any Allowance item without Design-Builder first obtaining in
writing advanced authorization to proceed from Owner. Owner agrees that if Design-Builder is not
provided written authorization to proceed on an Allowance item by the date set forth in the Project
schedule due to no fault of Design-Builder, Design-Builder may be entitled to an adjustment of the
Contract Time(s) and Contract Price.

6.3.4 The Allowance Vaiue for an Allowance item includes the direct cost of labor, materials
equipment transportationl taxes and insurance associated with the applicable Allowance ltem. All
other costs including design fees Design-Builder’s overall project management and general
conditions costs overhead and fee, are deemed to be included in the original Contract Price, and are
not subject to adjustment regardless of the actual amount of the Allowance ltem.

[In the alternative, the parties may want to delete Section 6.3.4 and add the following
provision.]

I:l in the event the actual direct cost of labor, materials equipment transportation, taxes and
insurance associated with an Allowance item is fifteen percent (1_5%) greater than or less than the
Allowance Vaiue for such Allowance ltem, Design-Builder and Owner agree that Design-Builder’s right
to Fee and markup shall be adjusted in accordance with Section 6.2.

6.3.5 Whenever the actual costs for an Allowance item is more than or less than the stated
Allowance Vaiue, the Contract Price shall be adjusted accordingly by Change Order, subject to
Section 6.3.4. The amount of the Change Order shall reflect the difference between actual costs
incurred by Design-Builder for the particular Allowance item and the Allowance Vaiue

Performance incentives

6.4.1 Owner and Design-Builder have agreed to the performance incentive arrangements set forth

in Exhibit N[A .

[T he parties are encouraged to discuss and agree upon performance incentives that will influence project success These
incentives may consist of Award Fees, incentives for safety, personnel retention, client satisfaction and Slmi'lar items ]

 

DB|A Document No. 525 Page 8
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 41 of 122 Document 1

Article 7

Procedure for Payment
7.1 Progress Payments

See Payment Schedule above

7.2 Retainage on Progress Payments

7.2.1 Owner will retain zero percent( 0 %) of each Application for
Payment providedl however, that when fifty percent (50%) of the Work has been satisfactorily
completed by Design-Builder and Design-Builder is othenivise in compliance with its contractual
obligations Owner will not retain any additional retention amounts from Design-Builder’s subsequent
Applications for Payment Owner will also reasonably consider reducing retainage for Subcontractors
completing their work early in the Project.

[Design-Builder and Owner may want to consider substituting the following retainage
provision.]

I:l Owner will retain zero percent ( 0 %) from Design-Builder's
Applications for Payment, exclusive of general conditions costs and any amounts paid to Design-
Builder’s Design Consu|tant, from each Application for Payment provided, however, that when fifty
percent (50%) of the Work has been satisfactorily completed by Design-Builder and Design-Builder is
otherwise in compliance with its contractual obligations Owner will not retain any additional amounts
from Design-Builder's subsequent Applications for Payment Owner will also reasonably consider
reducing retainage for Subcontractors completing their work early in the Project.

7.2.2 Within fifteen (15) days after Substantial Completion of the entire Work or, if applicable any
portion of the Work, pursuant to Section 6.6 of the General Conditions of Contract, Owner shall
release to Design-Builder all retained amounts relating, as applicable to the entire Work or completed
portion of the Work, less an amount equal to (a) the reasonable value of all remaining or incomplete
items of Work as noted in the Certificate of Substantial Completion and (b) all other amounts Owner
is entitled to withhold pursuant to Section 6.3 of the General Conditions of Contract

7.3 Final Payment. Design-Builder shall submit its Final Application for Payment to Owner in accordance
with Section 6.7 of the General Conditions of Contract Owner shall make payment on Design-Builder’s
properly submitted and accurate Final Application for Payment within thirty (30) days after Owner's receipt of
the Final Application for Payment, provided that Design-Builder has satisfied the requirements for final
payment set forth in Section 6.7.2 of the General Conditions of Contract

7.4 lnterest. Payments due and unpaid by Owner to Design-Builder, whether progress payments or final
payment shall bear interest commencing five (5) days after payment is due at the rate of six
percent ( 6 %) per month until paid

7.5 Record Keeping and Finance Contro|s. With respect to changes in the Work performed on a cost
basis by Design-Builder pursuant to the Contract Documents Design-Builder shall keep full and detailed
accounts and exercise such controls as may be necessary for proper financial management using accounting
and control systems in accordance with generally accepted accounting principles and as may be provided in
the Contract Documents During the performance of the Work and for a period of three (3) years after Final
Payment, Owner and Owner’s accountants shall be afforded access to, and the right to audit from time-to-
timel upon reasonable notice Design-Builder’s records books correspondence receipts subcontracts
purchase orders vouchers memoranda and other data relating to changes in the Work performed on a cost
basis in accordance with the Contract Documents all of which Design-Builder shall preserve for a period of

 

DBlA Document No. 525 Page 9
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
© 2010 Design-Build institute of America

Case 1:19-cv-00079-WCG Filed 01/14/19 Page 42 of 122 Document 1

three (3) years after Final Payment Such inspection shall take place at Design-Builder’s offices during normal
business hours unless another location and time is agreed to by the parties Any multipliers or markups
agreed to by the Owner and Design-Builder as part of this Agreement are only subject to audit to confirm that
such multiplier or markup has been charged in accordance with this Agreement, with the composition of such
multiplier or markup not being subject to audit

Article 8

Termination for Convenience

8.1 Upon ten (10) days’ written notice to Design-Builder, Owner may, for its convenience and without
cause elect to terminate this Agreement. in such event Owner shall pay Design-Builder for the following:

8.1.1 All Work executed and for proven loss, cost or expense in connection with the Work;

8.1.2 The reasonable costs and expenses attributable to such termination, including demobilization
costs and amounts due in settlement of terminated contracts with Subcontractors and Design
Consu|tants; and

8.1.3 (Choose one of the following:)
[l The fair and reasonable sums for overhead and profit on the sum of items 8.1.1 and 8.1.2 above
or

13 Overhead and profit in the amount of twenty percent ( 20 %)onihe
sum of items 8.1.1 and 8.1.2 above

8.2 in addition to the amounts set forth in Section 8.1 above Design-Builder shall be entitled to receive
one of the following as applicable

8.2.1 if Owner terminates this Agreement prior to commencement of construction, Design-Builder
shall be paid twentv five percent ( 25 %) of the remaining
balance of the Contract Price

8.2.2 if Owner terminates this Agreement after commencement of construction, Design-Builder
shall be paid percent ( %) of the remaining balance of
the Contract Price

8.3 if Owner terminates this Agreement pursuant to Section 8.1 above and proceeds to design and
construct the Project through its employees agents or third parties Owner’s rights to use the Work Product
shall be as set forth in Section 4.3 hereof. Such rights may not be transferred or assigned to others without
Design-Builder’s express written consent and such third pariies’ agreement to the terms of Article 4.

[T he following Article 9 should be used only if the Owner and Design-Builder agree to establish
their respective representatives at the time the Agreement is executed rather than during the
performance of the Project.]

 

DB|A Document No. 525 Page 10
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
© 2010 Design-Build institute of America

Case 1:19-cv-00079-WCG Filed 01/14/19 Page 43 of 122 Document 1

9.1

9.2

10.1

Anwa

Representatives of the Parties

0wner’s Representatives

9.1.1 Owner designates the individual listed below as its Senior Representative ("Owner’s Senior
Representative"), which individual has the authority and responsibility for avoiding and resolving

disputes under Section 10.2.3 of the General Conditions of Contract; (/denrifyindivrdua/'s name, tit/e, address
and telephone numbers)

9.1.2 Owner designates the individual listed below as its Owner’s Representative which individual
has the authority and responsibility set forth in Section 3.4 of the General Conditions of Contract;
(ldentify individua/'s name, title address and telephone numbers)

Design-Builder’s Representatives

9.2.1 Design-Builder designates the individual listed below as its Senior Representative ("Design-
Builder’s Senior Representative"), which individual has the authority and responsibility for avoiding

and resolving disputes under Section 10.2.3 of the General Conditions of Contract; (/denrrfy individuals
name, title address and telephone numbers)

Dick Vockl Project Manager above address with mobile number of 314-406-4350

9.2.2 Design-Builder designates the individual listed below as its Design-Builder’s Representative
which individual has the authority and responsibility set forth in Section 2.1.1 of the General
Conditions Of Contract; (ldentifyindividua/’s name, tit/e, address and telephone numbers)

Same as above

Anww10

Bonds and insurance

insurance Design-Builder and Owner shall procure the insurance coverages set forth in the

insurance Exhibit attached hereto and in accordance with Article 5 of the General Conditions of Contract

10.2

Bonds and Other Performance Security. Design-Builder shall provide the following performance

bond and labor and material payment bond or other performance security:

 

DB|A Document No. 525 Page 11
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 44 of 122 Document 1

[Check one box only. lf no box is checked, then no bond is required.]

I:l Required Not Required

Payment Bond.

[Check one box only. lf no box is checked, then no bond is required.]

l:l Required § Not Required

Other Performance Security.

[Check one box only. lf no box is checked, then no other performance security is required.
lf the “Required” box is checked, identify below the specific performance security that is
being required and all salient commercial terms associated with that security.]

I:] Required § Not Required

M|£L

Other Provisions
11.1 Other provisions if any, are as follows: (insen any additiona/provrsions)

[Section 2.3.1 of the General Conditions of Contract sets forth a traditional negligence
standard as it relates to the Design-Builder’s performance of design professional services if
the Basis of Design Documents identify specific performance standards that can be
objectively measured, the parties by including the following language agree that the Design-
Builder is obligated to achieve such standards.]

§ Notwithstanding Section 2.3.1 of the General Conditions of Contract, if the parties agree upon
specific performance standards in the Basis of Design Documents the design professional services
shall be performed to achieve such standards

[In lieu of Sections 10.3.1 through 10.3.3 of the General Conditions of Contract, the parties
may want to delete such sections and include the following alternative dispute resolution
clause ]

 

DB|A Document No. 525 Page 12
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 45 of 122 Document 1

XX Any claims disputes or controversies between the parties arising out of or related to the Agreement
or the breach thereof, which have not been resolved in accordance with the procedures set forth in Section

10.2 of the General Conditions of Contract shall be resolved in mediation or arbitration in the State of
Wisconsin. Both parties agree to non-court settlement

DB|A Document No. 525

Page 13
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum
© 2010 Design-Build institute of America

Case 1:19-cv-00079-WCG Filed 01/14/19 Page 46 of 122 Document 1

in executing this Agreement, Owner and Design-Builder each individually represents that it has the necessary
financial resources to fulfill its obligations under this Agreement, and each has the necessary corporate
approvals to execute this Agreement, and perform the services described herein.

 

 

 

 

OWNER: DES|GN-BU|LDER:
Mica Deerfield MODS internationa|, |nc.
(Name of Owner) (Name of Design-Builder)
775€¢¢ Deerfield !

(Slgnature) %lg%§urei "
Mica Deerfield Douglas Larson

(Printed Name) (Printed Name)

Owner President

(Title) (Title)

Date: Date: Februag¢ 10l 2018

Caution: You should sign an original DB|A document which has this caution printed in blue. An
original assures that changes will not be obscured as may occur when documents are reproduced.

 

DBIA Document No. 525 Page 14
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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DB|A

 

STANDARD FORM OF GENERAL
COND|T|ONS OF CONTRACT
BETWEEN OWNER AND
DES|GN-BU|LDER

 

Document No. 535
Second Edition, 2010

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Washington, DC

Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 48 of 122 Docum

 

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TABLE OF CCNTENTS

Article Name Page
Article 1 General .......................................................................................................... 1
Article 2 Design-Builder’s Services and Responsibi|ities .............................................. 2
Article 3 Owner’s Services and Responsibi|ities ........................................................... 8
Article 4 Hazardous Conditions and Differing Site Conditions .................................... 10
Article 5 insurance ..................................................................................................... 11
Article 6 Payment ....................................................................................................... 12
Article 7 indemnification ............................................................................................. 15
Article 8 Time ............................................................................................................. 16
Article 9 Changes to the Contract Price and Time. .................................................... 17
Article 10 Contract Adjustments and Disputes ............................................................. 18
Article 11 Stop Work and Termination for Cause ......................................................... 21
Article 12 Eiectronic Data ............................................................................................. 24
Article 13 Misceiianeous .............................................................................................. 25

Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 49 of 122 Document 1

Article 1

General
1.1 Mutual Obligations

1.1.1 Owner and Design-Builder commit at ali times to cooperate fully with each other, and
proceed on the basis of trust and good faith, to permit each party to realize the benefits afforded
under the Contract Documents.

1.2 Basic Definitions

1.2.1 Agreement refers to the executed contract between Owner and Design-Builder under
DB|A Document No. 530, Standard Form of Agreement Between Owner and Design-Builder -
Cost Plus Fee with an Option for a Guaranteed Maximum Price (2010 Edition).

1.2.2 Basis of Design Documents are as follows: those documents specifically listed in, as
applicabie, the GMP Exhibit or GMP Proposal as being the “Basis of Design Documents.”

1.2.3 Construction Documents are the documents, consisting of Drawings and Specifications,
to be prepared or assembled by the Design-Builder consistent with the Basis of Design
Documents unless a deviation from the Basis of Design Documents is specifically set forth in a
Change Order executed by both the Owner and Design-Builder, as part of the design review
process contemplated by Section 2.4 of these General Conditions of Contract.

1.2.4 Day or Days shall mean calendar days unless otherwise specifically noted in the Contract
Documents.

1.2.5 Design-Build Team is comprised of the Design-Builder, the Design Consu|tant, and key
Subcontractors identified by the Design-Builder.

1.2.6 Design Consultant is a qualifiedl licensed design professional in the State of
Georgia who is employed or retained by Design-Builder, or employed or retained by anyone
under contract with Design-Builder, to furnish design services required under the Contract
Documents. A Design Sub-Consultant is a qualified, design professional licensed in the State
of Georgia who is not an employee of the Design Consu|tant, but is retained by the Design
Consu|tant or employed or retained by anyone under contract to Design Consu|tant, to furnish
design services required under the Contract Documents.

1.2.7 Final Completion is the date on which ali Work is complete in accordance with the
Contract Documents, including but not limited to, any items identified in the punch list prepared
under Section 6.5 and the submission of ali documents set forth in Section 6.6.2.

1.2.8 Force Majeure Events are those events that are beyond the control of both Design-
Builder and Owner, including the events of fire, fiood, earthquake, hurricane, elements of nature
or acts of God, acts of war, terrorism, riots, civil disorders, rebellions or revolutions or court order
as set forth in Section 8.3.

1.2.9 General Conditions of Contract refer to this DB|A Document No. 535, Standard Form of
General Conditions of Contract Between Owner and Design-Builder (2010 Edition).

1.2.10 GMP Exhibit means that exhibit attached to DB|A Document No. 530, Standard Form of
Agreement Between Owner and Design-Builder - Cost P/us Fee With an Option for a Guaranteed
Maximum Price, which exhibit will have been agreed upon by Owner and Design-Builder prior to
the execution of the Agreement.

 

DBIA Document No. 535 Page 1
Standard Form of General Conditions of Contract Between Owner and Design-Builder
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Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 50 of 122 Document 1

1.2.11 GMP Proposal means that proposal developed by Design-Builder in accordance with
Section 6.8 of DB|A Document No. 530, Standard Form of Agreement Between Owner and
Design-Builder - Cost Plus Fee With an Option for a Guaranteed Maximum Price.

1.2.12 Hazardous Conditions are any materials wastes substances and chemicals deemed to
be hazardous under applicable Legal Requirements or the handiing, storage, remediation, or
disposal of which are regulated by applicable Legal Requirements.

1.2.13 Legal Requirements are ali applicable federall state and local iaws, codes ordinances
rules regulations, orders and decrees of any government or quasi-government entity having
jurisdiction over the Project or Site, the practices involved in the Project or Site, or any Work.

1.2.14 Owner’s Engineer will assist the Owner in the administration of the Design-Buiid Contract
inciuding, but not limited to, the following tasks: preliminary design services; development of the
Request for Qualifications and subsequent short|isting; development of the Request for Proposais
and subsequent proposal evaluation and Design-Builder seiection; design and construction phase
services resident services during construction; and supplemental services Black & Veatch will
serve as the Owner’s Engineer on the current Project.

1.2.15 Owner’s Project Criteria are developed by or for Owner to describe Owner’s program
requirements and objectives for the Project, including use, space, pricel timel site and
expandabiiity requirements, as weil as submittal requirements and other requirements governing
Design-Builder’s performance of the Work. Owner’s Project Criteria may include conceptual
documents design criteria, design performance specifications, design specifications, and LEED®
or other sustainable design criteria and other Project-specific technical materials and
requirements The Owner’s Project Criteria are set forth in Exhibit A to the Agreement.

1.2.16 Site is the land or premises on which the Project is iocated.

1.2.17 Subcontractor is any person or entity retained by Design-Builder as an independent
contractor to perform a portion of the Work and shall include materialmen and suppliers

1.2.18 Sub-Subcontractor is any person or entity retained by a Subcontractor as an independent
contractor to perform any portion of a Subcontractor’s Work and shall include materialmen and
suppliers

1.2.19 Substantial Completion or Substantial/y Complete means the date on which the Work, or
an agreed upon portion of the Workl is sufficiently complete in accordance with the Contract
Documents so that Owner can occupy and use the Project or a portion thereof for its intended
purposes and necessary certificates can be issued such as a temporary or final certificate of
occupancy for the building permits and the Engineers Certification for Georgia EPD.

1.2.20 Work is comprised of ali Design-Builder’s design, construction and other services
required by the Contract Documents including procuring and furnishing all materials equipment,
services and labor reasonably inferable from the Contract Documents

Article 2

Design-Builder’s Services and Responsibi|ities

 

2.1 General Services
2.1.1 The Design-Builder’s services are broken into two phases as follows:
2.1.1.1 Phase One - Generaiiy consists of preliminary engineering, geotechnicai
investigations and design development as may be necessary to produce 80% complete
DB|A Document No. 535 Page 2

Standard Form of General Conditions of Contract Between Owner and Design-Builder
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Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 51 of 122 Document 1

Construction Documents for the Project, as well as preparation, in close collaboration with
the Owner, of a proposed price and schedule to provide a fully complete and operating
Project, meeting Owner’s Project Criteria. The proposed price and schedule includes the
Project’s design (deve|oped to the Owner’s required level of completion), a Guaranteed
Maximum Price, Project schedulel and supporting documentation, such as detailed open-
book costing for the Guaranteed Maximum Price. Phase One services also include the
following:

Deveiop the Project execution pian, including Project schedule;

Perform engineering studies to support design development and cost estimating. Previous
studies should be used where feasible;

Produce the basis-of-design report;

Attend / coordinate Project scoping meetings as needed, and produce report identifying
ali Project regulatory/ permitting agency coordination activities required;

Develop the engineering design documents (including preparing and submitting
intermediate design review packages) and conduct value-engineering activities in
conjunction with Owner for the preparation of a Project final scope, GMP proposal,
and schedule;

Prepare a Project cost model and provide detailed cost estimates as the design and
design alternatives are advanced;

identify Project permitting requirements, initiate certain permitting activities and acquire
permits necessary for performance of Phase One services;

Submit the GMP Proposal in accordance with Section 6.8 of the Agreement.
2.1.1.2 Phase Two - Provided the Owner accepts Design-Builder’s GMP
Proposai, Design Builder’s Phase Two services generally consist of completing the
Project’s final design, permittingl construction, commissioning and performance testing as
follows:

Complete final design of Project and develop 100% Construction Documents;

Procure equipment and Subcontractors

Secure necessary permits;

Construct the Project in accordance with this Agreement;

Conduct startup, commissioning and performance testing;

Provide operator training;

Provide warranty coverage; and

Otherwise provide whatever services or Work as required by the Contract
Documents to provide Owner with a complete and fully operational Project.

2.1.2 Provided the Owner accepts Design-Builder’s GMP Proposai, Design Builder’s Phase
Two construction services will include construction of a new treatment facility with other
improvements required under Owner’s Project Criteria, Construction is to occur in two Parts as
follows:

2.1.2.1 Part l - includes constructing and placing on-iine 1 MGD of wastewater

DB|A Document No. 535 Page 3
Standard Form of General Conditions of Contract Between Owner and Design-Builder
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Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 52 of 122 Document 1

treatment capacity. A firm quotation for the purchase, reiocation, rehabilitation and field
erection of a pre-owned 1 MGD package-type wastewater treatment plant will be

assigned to the Design-Builder (for development of a subcontract). This firm quotation

Design-Builder will provide ali design, permitting, field trades construction, performance
testing, commissioning and start-up services as may be required to complete the Part i

must connect with the plant SCADA / Controls system.

2.1.2.2 Part ll - includes constructing the remaining process units set forth in
Owner’s Project Criteria, including filtration, ultraviolet disinfection, solids digestion,
dewatering equipment, rehabilitation / replacement of Membrane Fiitration Unit No. 3,
and any remaining plant piping. Design-Builder shall achieve Substantial Completion of
Part 2 Within 548 calendar days after the Date of Commencement.

2.1.3 Design-Builder’s Representative shall be reasonably available to Owner and shall have
the necessary expertise and experience required to supervise the Work. Design-Builder’s
Representative shall communicate regularly with Owner and shall be vested with the authority to

 

DBIA Document No. 535 Page 4
Standard Form of General Conditions of Contract Between Owner and Design-Builder
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ease 1:19-cv-00079-wcc Filed 01/14/19 Page 53 Of 122 DOCUm€m 1

2.2

2.3

2.4

act on behalf of Design-Builder. Design-Builder’s Representative may be replaced only with the
mutual agreement of Owner and Design-Builder.

2.1.4 Design-Builder shall provide Owner with a monthly status report detailing the progress of
the Work, including (i) whether the Work is proceeding according to schedule, including an
update of Design-Builder’s schedule prepared in accordance with Section 2.1.3, indicating the
actual progress of the Work against Design-Builder’s plan for execution of the Work, (ii) whether
the Work is proceeding within the parameters of the Guaranteed Maximum Price, including an
update indicating areas of potential overruns and savings (iii) whether discrepancies conflicts
or ambiguities exist in the Contract Documents that require resolution,

(iv) whether health and safety issues exist in connection with the Work; (v) status of the
contingency account to the extent provided for in the Standard Form of Agreement Between
Owner and Design-Builder - Cost Pius Fee with an Option for a Guaranteed Maximum Price; and
(v) other items that require resolution so as not to jeopardize Design-Builder’s ability to complete
the Work for the Contract Price and within the Contract Time(s).

2.1.5 Uniess a schedule for the execution of the Work has been attached to the Agreement as
an exhibit at the time the Agreement is executed, Design-Builder shall prepare and submit, at
least three (3) days prior to the meeting contemplated by Section 2.1.4 hereof, a schedule for the
execution of the Work for Owner's review and response. The schedule shall be in critical path
format, indicate the dates for the start and completion of the various stages of Work, including
the dates when Owner information and approvals are required to enable Design-Builder to
achieve the Contract Time(s) and clearly indicate the critical path and identify the Work activities
on the critical path. The schedule shall be periodically updated as required in Section 2.1.2 and
revised as required by conditions and progress of the Work, but such revisions shall not
relieve Design-Builder of its obligations to complete the Work within the Contract Time(s),
as such dates may be adjusted in accordance with the Contract Documents Owner’s review
of, and response to, the schedule shall not be construed as relieving Design- Builder of its
complete and exclusive control over the means methods sequences and techniques for
executing the Work.

2.1.6 The parties will meet within seven (7) days after execution of the Agreement to discuss
issues affecting the administration of the Work and to implement the necessary procedures
including those relating to submittals and payment, to facilitate the ability of the parties to perform
their obligations under the Contract Documents

Design Professional Services.

2.2.1 Design-Builder shaii, consistent with applicable state licensing iaws, provide through
qualified, design professionals licensed in the State of Georgia employed by Design-
Buiider, or procured from qualified, independent licensed Design Consu|tants the necessary
design services including architectura|, engineering and other design professional services for
the preparation of the required drawings specifications and other design submittais to permit
Design-Builder to complete the Work consistent with the Contract Documents Nothing in the
Contract Documents is intended or deemed to create any legal or contractual relationship
between Owner and any Design Consu|tant.

Standard of Care for Design Professional Services.

2.3.1 The standard of care for all design professional services performed to execute the Work
shall be the highest standard of professional care and skill used by members of the design
profession practicing under similar conditions at the same time and locality of the Project.

Design Development Services.

2.4.1 Design-Builder and Owner shaii, consistent with any applicable provision of the Contract

Documents agree upon any interim design submissions that Owner may wish to review, which
interim design submissions may include design criterial drawings diagrams and specifications

 

DB|A Document No. 535 Page 5
Standard Form of General Conditions of Contract Between Owner and Design-Builder
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Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 54 of 122 Document 1

setting forth the Project requirements and shall be included in Design-Builder’s schedule provided
in accordance with Section 2.1.3. interim design submissions shall be consistent with the Basis
of Design Documents as the Basis of Design Documents may have been changed through the
design process set forth in this Section 2.4.1. On or about the time of the scheduled submissions
Design-Builder and Owner shall meet and confer about the submissions with Design-
Buiider identifying during such meetings among other things the evolution of the design

 

DB|A Document No. 535 Page 6
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 55 of 122 Document 1

2.5

2.6

2.7

and any changes to the Basis of Design Documents orl if applicable, previously submitted design
submissions Changes to the Basis of Design Documents including those that are deemed minor
changes under Section 9.3.1, shall be processed in accordance with Article 9. Minutes of the
meetings including a full listing of ali changes will be maintained by Owner’s Engineer and
provided to ali attendees for review. Fol|owing the design review meeting, Owner shall review and
approve the interim design submissions and meeting minutes in a time that is consistent with the
turnaround times set forth in Design-Builder’s schedule.

2.4.2 Design-Builder shall submit to Owner Construction Documents setting forth in detail
drawings and specifications describing the requirements for construction of the Work. The
Construction Documents shall be consistent with the latest set of interim design submissions as
such submissions may have been modified in a design review meeting and recorded iri the
meetings minutes The parties shall have a design review meeting to discuss and Owner shall
review and approvel the Construction Documents in accordance with the procedures set forth in
Section 2.4.1 above. Design-Builder shall proceed with construction in accordance with the
approved Construction Documents and shall submit one set of approved Construction
Documents to Owner prior to commencement of construction,

2.4.3 Owner’s review and approval of interim design submissions meeting minutes and the
Construction Documents is for the purpose of mutually establishing a conformed set of Contract
Documents compatible with the requirements of the Work. Neither Owner’s review nor approval
of any interim design submissions meeting minutes and Construction Documents shall be
deemed to transfer any design liability from Design-Builder to Owner.

2.4.4 To the extent not prohibited by the Contract Documents or Legal Requirements. Design-
Buiider may prepare interim design submissions and Construction Documents for a portion of the
Work to permit construction to proceed on that portion of the Work prior to completion of the
Construction Documents forthe entire Work.

Legal Requirements.

2.5.1 Design-Builder shall perform the Work in accordance with ali Legal Requirements and
shall provide all notices applicable to the Work as required by the Legal Requirements.

2.5.2 The Contract Price and/or Contract Time(s) shall be adjusted to compensate Design-
Buiider for the effects of any changes in the Legal Requirements enacted after the date of the
Agreement affecting the performance of the Work, or if a Guaranteed Maximum Price is
established after the date of the Agreementl the date the parties agree upon the Guaranteed
Maximum Price. Such effects may inciude, without |imitation, revisions Design-Builder is required
to make to the Construction Documents because of changes in Legal Requirements.

Government Approvals and Permits.

2.6.1 Except as identified in an Owner’s Permit List attached as an exhibit to the Agreement,
Design-Builder shall obtain and pay for ali necessary permits approvals licenses government
charges and inspection fees required for the prosecution of the Work by any government or
quasi-government entity having jurisdiction over the Project.

2.6.2 Design-Builder shall provide reasonable assistance to Owner in obtaining those permits
approvals and licenses that are Owner’s responsibility

Design-Builder’s Construction Phase Services

2.7.1 Uniess othenivise provided in the Contract Documents to be the responsibility of Owner or
a separate contractor, Design-Builder shall provide through itself or Subcontractors the necessary
supervision, labor, inspection, testing, start-up, material, equipment, machinery, temporary
utilities and other temporary facilities to permit Design-Builder to complete construction of the

 

DB|A Document No. 535 Page 7
Standard Form of General Conditions of Contract Between Owner and Design-Builder
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Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 56 of 122 Document 1

Project consistent with the Contract Documents

2.7.2 Design-Builder shall perform ali construction activities efficiently and with the requisite
expertise, skill and competence to satisfy the requirements of the Contract Documents Design-
Buiider shall at ali times exercise complete and exclusive control over the means methods
sequences and techniques of construction.

2.7.3 Design-Builder shall employ only Subcontractors who are duly licensed and qualified to
perform the Work consistent with the Contract Documents Owner may reasonably object to
Design-Builder’s selection of any Subcontractor, provided that the Contract Price and/or Contract
Time(s) shall be adjusted to the extent that Owner's decision impacts Design-Builder’s cost
and/or time of performance.

2.7.4 Design-Builder assumes responsibility to Owner for the proper performance of the Work
of Subcontractors and any acts and omissions in connection with such performance. Nothing in
the Contract Documents is intended or deemed to create any legal or contractual relationship
between Owner and any Subcontractor or Sub-Subcontractor, including but not limited to any
third-party beneficiary rights

2.7.5 Design-Builder shall coordinate the activities of any Work it self-performs and that of ali
Subcontractors if Owner performs other work on the Project or at the Site with separate
contractors under Owner’s controi, Design- Builder agrees to reasonably cooperate and
coordinate its activities with those of such separate contractors so that the Project can be
completed in an orderly and coordinated manner without unreasonable disruption.

2.7.6 Design-Builder shall cause each subcontract agreement to contain a provision calling for
the assignment of the subcontract by Design-Builder to Owner. Each subcontract agreement for
a portion of the Work is assigned by the Design-Builder to Owner provided that:

2.7.6.1 Assignment effective only after termination of the Contract by Owner for cause
and only for those subcontract agreements in which the Owner accepts by notifying the
Subcontractor and Design-Builder in writing; and

2.7.6.2 Assignment is subject to the prior rights of surety, if any, obligated under bond
relating to the Contract.

2.7.7 Design-Builder shall keep the Site reasonably free from debris trash and construction
wastes to permit Design-Builder to perform its construction services efficientiy, safely and without
interfering with the use of adjacent land areas Upon Substantial Completion of the Work, or a
portion of the Workl Design-Builder shall remove ali debris trash, construction wastes materials
equipment, machinery and tools arising from the Work or applicable portions thereof to permit
Owner to occupy the Project or a portion of the Project for its intended use.

2.7.7.1 Painting contractors may not discharge into the municipal storm drain system
(stormwater pipes catch basins drainage ditches and similar conveyances) any
wastewater resulting from the cleaning of painting equipment or the removal of paint from
structures if solvents or other potentially hazardous products are used to clean
painting equipment, the resulting wastewater may be hazardous waste and must be
properly disposed of or recycled.

2.7.8.3 For jobs involving new taps into the sanitary sewer system, contractors must
verify that, in no uncertain terms connections are into the sanitary sewer system and not
the municipal storm drain system (stormwater pipes catch basins drainage ditches and
similar conveyances). Tests using tracing dye or smoke are the preferred verification
methods; however, a combination of site drawings visual observation and/or other
methods may be adequate.

 

DB|A Document No. 535 Page 8
Standard Form of General Conditions of Contract Between Owner and Design-Builder
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Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 57 of 122 Document 1

2.8

2.7.8.4 Concrete contractors must use designated concrete washout areas at worksites.
Pouring ieftover concrete or rinsing concrete residue off of vehicles/equipment where it
may enter the municipal storm drain system (stormwater pipes catch basins drainage
ditches and similar conveyances) is strictly prohibited.

2.7.8.5 Contract companies that provide waste management services must provide
waste bins that help minimize stormwater poiiution. items that must be in place include
iids/covers and drain plugs Additionaiiy, the bins should be as leak-proof as possible
(i.e., no holes from corrosion or damage). At locations where a waste bin is found to not
meet these specifications, the waste management contractor should do their best to
provide a suitable bin when requested by city personnei.

2.7.9 in an effort to raise awareness of sediment and erosion control requirements and issues
it is the requirement of Oconee County Utiiity Department that the Design-Builder’s
Superintendent possess a valid Site inspector Certification (CMCS|) from Oconee County. The
Design- Builder will submit a copy of each required empioyee’s certificate to the Owner. The
Superintendent’s certificate must be on file prior to Notice To Proceed. Ground disturbing
activities will be prohibited until the requirements of this section are fulfilled.

2.7.10 in the event that a governmental or quasi-governmental entity having jurisdiction over
the Project or Site, including any regulatory agency, determines that Design-Builder or any of its
Subcontractors has violated any Legal Requirements imposing environmental standards
requirements or law upon the Work, Design-Builder assumes full liability and responsibility for
such violation, correcting such violation and subsequent enforcement issued by such
governmental or quasi-governmental entity. The Owner reserves the right to terminate the
Agreement if it can be confirmed through reasonable evidence that Design-Builder or any of its
Subcontractors violated any environmental Legal Requirements.

Design-Builder’s Responsibi|ity for Project Safety.

2.8.1 Design-Builder recognizes the importance of performing the Work in a safe manner so as
to prevent damage, injury or loss to (i) ali individuals at the Site, whether working or visiting, (ii)
the Work, including materials and equipment incorporated into the Work or stored on-Site or off-
Site, and (iii) ali other property at the Site or adjacent thereto. Design-Builder assumes
responsibility for implementing and monitoring ali safety precautions and programs related to the
performance of the Work. Design-Builder shalll prior to commencing construction, designate a
Safety Representative with the necessary quaiiHcations and experience to supervise the
implementation and monitoring of ali safety precautions and programs related to the Work.
Uniess otherwise required by the Contract Documents Design-Builder’s Safety Representative
shall be an individual stationed at the Site who may have responsibilities on the Project in
addition to safety. The Safety Representative shall make routine daily inspections of the Site and
shall hold weekly safety meetings with Design-Builder’s personnei, Subcontractors and others as
applicable.

2.8.2 Design-Builder and Subcontractors shall comply with all Legal Requirements relating to
safety, as weil as any Owner-specific safety requirements set forth in the Contract Documents
provided that such Owner-specific requirements do not violate any applicable Legal Requirement.
Notwithstanding any Owner-specific safety requirements set forth in the Contract Documents
Design-Builder remains solely responsible for Project Safety and compliance with ali Legal
Requirements relating to safety. Design-Builder specifically acknowledges that any Owner-specific
requirements set forth in the Contract Documents or othenivise imposed on Design-Builder’s
performance of Work shall not give rise to any duty or obligation on the Owner for Project Safety or
compliance with any Legal Requirements relating to safety. Design-Builder will immediately report
in writing any safety-related injuryl loss damage or accident arising from the Work to Owner’s
Representative and, to the extent mandated by Legal Requirements to ali government or quasi-
government authorities having jurisdiction over safety- related matters involving the Project or the

 

DB|A Document No. 535 Page 9
Standard Form of General Conditions of Contract Between Owner and Design-Builder
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Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 58 of 122 Document 1

2.9

2.10

2.11

Work.

2.8.3 Design-Builder’s responsibility for safety under this Section 2.8 is not intended in any way
to relieve Subcontractors and Sub-Subcontractors of their own contractual and legal obligations
and responsibility for (i) complying with ali Legal Requirements including those related to health
and safety matters and (ii) taking ali necessary measures to implement and monitor all safety
precautions and programs to guard against injuries losses damages or accidents resulting from
their performance of the Work.

Design-Builder’s Warranty.

2.9.1 Design-Builder warrants to Owner that the construction, including ali materials and
equipment furnished as part of the construction, shall be new unless otherwise specified in the
Contract Documents of good qualityl in conformance with the Contract Documents and free of
defects in materials and workmanship. Design-Builder’s warranty obligation excludes defects
caused by abuse, alterations or failure to maintain the Work in a commercially reasonable
manner not caused by Design-Builder. Nothing in this warranty is intended to limit any
manufacturer’s warranty which provides Owner with greater warranty rights than set forth in this
Section 2.9 or the Contract Documents Design-Builder will provide Owner with ali manufacturers’
warranties upon Substantial Completion.

Correction of Defective Work.

2.10.1 Design-Builder agrees to correct any Work that is found to not be in conformance with the
Contract Documents including that part of the Work subject to Section 2.9 hereof, within a period
of two years from the date of Substantial Completion of the Work or within such longer period to
the extent required by any specific warranty included in the Contract Documents Design-Builder
shall be responsible for ali costs including redesign and reconstruction costs incurred by Owner to
correct any of the Work.

2.10.2 Design-Builder shaii, within seven (7) days of receipt of written notice from Owner that
the Work is not iri conformance with the Contract Documents take meaningful steps to
commence correction of such nonconforming Work, including the correction, removal or
replacement of the nonconforming Work and any damage caused to other parts of the Work
affected by the nonconforming Work. if Design-Builder fails to commence the necessary steps
within such seven (7) day period, Owner, in addition to any other remedies provided under the
Contract Documents may provide Design-Builder with written notice that Owner will commence
correction of such nonconforming Work with its own forces if Owner does perform such
corrective Work, Design-Builder shall be responsible for ali costs incurred by Owner iri
performing such correction, including ali fees of attorneys architects engineers and other
professionals incurred by Owner. if the nonconforming Work creates an emergency requiring
an immediate response, the seven (7) day period identified herein shall be deemed inapplicabie.

2.10.3 The two-year period referenced in Section 2.10.1 above applies only to Design-Builder’s
obligation to correct nonconforming Work and is not intended to constitute a period of limitations
for any other rights or remedies Owner may have regarding Design-Builder’s other obligations
under the Contract Documents

Required Manufacturers and Suppliers
2.11.1 Design-Builder agrees to comply with the Owner’s request that Heyward, inc., Atianta, be

considered and evaluated as the supplier of equipment needed to provide 1 MGD of treatment
capacity described in Part 1 of the Work.

Article 3

 

DB|A Document No. 535 Page 10
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 59 of 122 Document 1

3.1

3.2

3.3

Owner’s Services and Responsibi|ities
Duty to Cooperate.

3.1.1 Owner shaii, throughout the performance of the Work, cooperate with Design-Builder and
perform its responsibilities obligations and services in a timely manner to facilitate Design-
Buiider’s timely and efficient performance of the Work and so as not to delay or interfere with
Design-Builder’s performance of its obligations under the Contract Documents

3.1.2 Owner shall provide timely reviews and approvals of interim design submissions and
Construction Documents consistent with the turnaround times set forth in Design-Builder’s
scheduie.

3.1.3 Owner shall give Design-Builder timely notice of any Work that Owner notices to be
defective or not in compliance with the Contract Documents

Furnishing of Services and lnformation.

3.2.1 Uniess expressly stated to the contrary in the Contract Documents Owner shall provide,
at its own cost and expense, for Design-Builder’s information and use the foilowing, ali of which
Design-Builder is entitled to reasonably rely upon in performing the Work:

3.2.1.1 Surveys describing the property, boundaries topography and reference points for
use during construction, including existing service and utility iines;

3.2.1.2 To the extent availabie, existing geotechnicai information describing subsurface
conditions and other surveys describing other latent or concealed physical conditions at
the Site. Notwithstanding any such information that the Owner may provide,
Design-Builder shall be responsible for interpretation of existing records and assumes
responsibility for any geotechnicai or subsurface conditions or uncertainties whether or
not such conditions are disclosed in any geotechnicai information or surveys provided to
Design-Builder by Owner;

3.2.1.3 Temporary and permanent easements zoning and other requirements and
encumbrances affecting land use, or necessary to permit the proper design and
construction of the Project and enable Design-Builder to perform the Work;

3.2.1.4 A legal description of the Site;

3.2.1.5 To the extent availabie, record drawings of any existing structures at the Site;
and

3.2.1.6 To the extent availabie, environmental studies reports and impact statements
describing the environmental conditions including Hazardous Conditions in existence at
the Site,

3.2.2 Owner is responsible for securing and executing all necessary agreements with adjacent
land or property owners that are necessary to enable Design-Builder to perform the Work. Owner
is further responsible for ali costs including attorneys’ fees incurred in securing these necessary
agreements

Owner’s Engineer

3.3.1 Owner’s Engineer will assist the Owner in the administration of the Contract Documents
inciuding, but not limited to, the following tasks: preliminary design services; development of the
Request for Qualifications and subsequent shortiisting; development of the Request for Proposais
and subsequent proposal evaluation and Design-Builder seiection; design and construction phase
services; resident services during construction; and supplemental services The Owner’s
Engineer shall communicate regularly with the Design-Builder and the Owner and Design-Builder

 

DBlA Document No. 535 Page 11
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 60 of 122 Document 1

3.4

3.5

shall endeavor to communicate with each other through the Owner’s Engineer in matters arising
out of or relating to the Contract Documents The Owner’s Engineer shall have authority to act on
behalf of the Owner only to the extent expressly granted in the Agreement and these General
Conditions The Owner's Engineer shall have the authority:
3.3.1.1 to reject Work that does not conform to the Construction Documents;
3.3.1.2 to review and approve, or take other appropriate action upon, Design-
Builder’s shop drawings product data and samples but only for the limited purpose of
checking for conformance with the design concept of the Contract Documents;

3.3.1.3 to make minor revisions to the Work that do not result in a change in the
Contract Time or Guaranteed Maximum Price as set forth in Section 9.3; and

3.3.1.4 to suspend or stop Work in accordance with Section 11.1.
3.3.2 The Owner’s Engineer shall not have authority to:

3.3.2.1 approve or modify the Basis of Design Documents;

3.3.2.2 approve or modify Design-Builder’s interim design submissions

3.3.2.3 approve or modify the Construction Documents except as described in
Section 3.3.1.3;

3.3.2.4 modify the Owner’s Project Criteria;
3.3.2.5 approve or modify the GMP Exhibit or GMP Proposai;
3.3.2.6 agree to or approve any modifications amendments or Work Change

Directives or Change Orders to the Contract Documents except for minor revisions to the
Work as provided for in Section 3.3.1.3.;

3.3.2.7 declare Substantial Completion or final completion of the Project; or

3.3.2.8 Approve payment for Design-Builder’s Applications for Payment.
Government Approvals and Permits.
3.4.1 Owner shall obtain and pay for ali necessary permits approvals licenses government
charges and inspection fees set forth in the Owner's Permit List attached as an exhibit to the

Agreement.

3.4.2 Owner shall provide reasonable assistance to Design-Builder in obtaining those permits
approvals and licenses that are Design-Builder’s responsibility.

Owner’s Separate Contractors.

3.5.1 Owner shall be entitled to seif- perform any work related to the Work through separate
Contractors. Owner is responsible for ali work performed on the Project or at the Site by separate
contractors under Owner’s controi. Owner shall contractually require its separate contractors to
cooperate with, and coordinate their activities so as not to interfere with, Design-Builder in order
to enable Design-Builder to timely complete the Work consistent with the Contract Documents

 

DB|A Document No. 535 Page 12
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 61 of 122 Document 1

4.1

Article 4
Hazardous Conditions and Differing Site Conditions

Hazardous Conditions.

4.1.1 Uniess otherwise expressly provided in the Contract Documents to be part of the Work,
Design-Builder is not responsible for any Hazardous Conditions encountered at the Site. Upon
encountering any Hazardous Conditions Design-Builder will stop Work immediately in the
affected area and duly notify Owner and, if required by Legal Requirements all government or
quasi-government entities with jurisdiction over the Project or Site.

4.1.2 Upon receiving notice of the presence of suspected Hazardous Conditions Owner shall
take the necessary measures required to ensure that the Hazardous Conditions are remediated
or rendered harmless Such necessary measures shall include Owner retaining qualified
independent experts to (i) ascertain whether Hazardous Conditions have actually been
encountered, and, if they have been encountered, (ii) prescribe the remedial measures that
Owner must take either to remove the Hazardous Conditions or render the Hazardous Conditions
harmless

4.1.3 Design-Builder shall be obligated to resume Work at the affected area of the Project only
after Owner’s expert provides it with written certification that (i) the Hazardous Conditions have
been removed or rendered harmless and (ii) ali necessary approvals have been obtained from ali
government and quasi-government entities having jurisdiction over the Project or Site.

4.1.4 Design-Builder will be entitied, in accordance with these General Conditions of Contractl
to an adjustment in the Guaranteed Maximum Price and/or Contract Time(s) to the extent
Design-Builder’s cost and/or time of performance have been adversely impacted by the presence
of Hazardous Conditions

4.1.5 Notwithstanding the preceding provisions of this Section 4.1, Owner is not responsible for
Hazardous Conditions introduced to the Site by Design-Builder, Subcontractors or anyone for
whose acts they may be iiable. To the fullest extent permitted by iaw, Design-Builder shall
indemnify, defend and hold harmless Owner and Owner’s officers directors employees and
agents including Owner's Engineer, from and against ali claims losses damages liabilities and
expenses including attorneys’ fees the fees of consultants and experts and ali costs and
expenses of iitigation, arising out of or resulting from those Hazardous Conditions introduced to
the Site by Design-Builder, Subcontractors or anyone for whose acts they may be iiable.

4.1.6

 

DBIA Document No. 535 Page 13
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 62 of 122 Document 1

5.1

5.2

5.3

5.3.1

insurance

Design-Builder’s insurance Requirements.

5.1.1 Design-Builder is responsible for procuring and maintaining the insurance for the
coverage amounts all as set forth in the insurance Exhibit attached to the Agreement as Exhibit
B. Coverage shall be secured from insurance companies authorized to do business in the state
in which the Project is iocated, and with a minimum rating set forth in the Agreement.

5.1.2 Design-Builder’s insurance shall specifically delete any design-build or similar exclusions
that could compromise coverages because of the design-build delivery of the Project.

5.1.3 Prior to commencing any construction services hereunder, Design-Builder shall provide
Owner with certificates evidencing that (i) ali insurance obligations required by the Contract
Documents are in full force and in effect and will remain in effect until the two-year correction
period in Section 2.10 has expired and final payment is made to Design-Builder and (ii) no
insurance coverage will be canceled, renewal refused, or materially changed unless at least thirty
(30) days prior written notice is given to Owner. if any of the foregoing insurance coverages are
required to remain in force after final payment are reasonably availabie, an additional certificate
evidencing continuation of such coverage shall be submitted with the Final Application for
Payment. if any information concerning reduction of coverage is not furnished by the insurer, it
shall be furnished by the Design-Builder with reasonable promptness according to the Design-
Buiider’s information and beiief.

5.1.4 Owner and Owner’s Engineer shall be named as an additional insured under any liability
insurance poiicy.

Owner’s Liability lnsurance.

5.2.1 Ownerl in its discretion, may procure and maintain from insurance companies authorized
to do business iri the state in which the Project is located such liability insurance necessary to
protect Owner from claims which may arise from the performance of Owner’s obligations under

the Contract Documents or Owner’s conduct during the course of the Project.
5.2.2

Payment and Performance Bonds

Design Builder shall provide payment and performance bonds meeting the requirements of

O.C.G.A. §§ 36-91-70; 36-91-90. Design Builder shall provide such bonds on the forms attached to the
Agreement as Exhibit C.

 

DBiA Document No. 535 Page 15
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 63 of 122 Document 1

6.1

6.2

Article 6
Payment

Schedu|e of Vaiues.

6.1.1 Uniess required by the Owner upon execution of this Agreement, within ten (10) days of
execution of the Agreement, Design-Builder shall submit for Owner’s review and approval a
schedule of values for ali of the Work. The Scheduie of Vaiues will (i) subdivide the Work into its
respective parts, (ii) include values for ali items comprising the Work, (iii) segregate as a
separate category the Design-Builder’s general conditions and include values for ali
items comprising the general conditions; (iv) include a separate category for
Design-Builder’s fee, and (v) serve as the basis for monthly progress payments made to
Design-Builder throughout the Work.

6.1.2 The Owner will timely review and approve the schedule of values so as not to delay the
submission of the Design-Builder’s first application for payment. The Owner and Design-Builder
shall timely resolve any differences so as not to delay the Design-Builder’s submission of its first
application for payment.

Monthly Progress Payments

6.2.1 On or before the date established in the Agreement, Design-Builder shall submit for
Owner’s review and approval an accurate and complete Application for Payment requesting
payment for ali Work performed as of the date of the Application for Payment. The Application for
Payment shall be based upon the Scheduie of Vaiues approved by the Owner and be
accompanied by ali supporting documentation required by the Contract Documents and/or
established at the meeting required by Section 2.1.4 hereof. The Application for Payment shall
include the percentage of completion of the divisions of the Work and Design-Builder’s general
conditions identified in the Scheduie of Vaiues and shall allocate the GMP based on those
percentages together with the Design-Builder’s fee, payment for equipment and materials
less previous payments and retainage.

6.2.1.1 With each Application for Payment submitted by Design-Builder, except for
its Final Application for Payment, Design-Builder shall submit a fully executed Conditional
Claim Waiver and Reiease Upon Progress Payment form, a copy of which is attached to
the Agreement as Exhibit C. Design-Builder’s submittal of a fully executed Conditional
Claim Waiver and Reiease Upon Progress Payment in accordance with this section shall
be an express condition precedent to Owner’s obligation to make payment to Design-
Buiider in response to Design-Builder’s Application for Payment.

6.2.1.2 With each Application for Payment, the Design-Builder shall submit a
manifest billing including documentation supporting ali costs for which Design_Buiider
seeks payment, including but not limited to, payrolls petty cash accounts receipted
invoices or invoices with check vouchers attached, and any other evidence required by
the Owner to demonstrate that cash disbursements already made by the Design-Builder
on account of the Cost of the Work equal or exceed progress payments already received
by the Design-Builder, less that portion of those payments attributable to the Design-
Buiider’s Fee, plus payrolls for the period covered by the present Application for
Payment.

6.2.2 The Application for Payment may request payment for equipment and materials not yet
incorporated into the Project, provided that (i) Owner is satisfied that the equipment and materials

DB|A Document No. 535 Page 16
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 64 of 122 Document 1

are suitably stored at either the Site or another acceptable iocation, (ii) the equipment and
materials are protected by suitable insurance and (iii) upon payment, Owner will receive the
equipment and materials free and clear of all liens and encumbrances

6.2.3 The Application for Payment shall constitute Design-Builder’s representation that the
Work described herein has been performed consistent with the Contract Documents has
progressed to the point indicated in the Application for Payment, and that title to all Work will pass
to Owner free and clear of ali claims liens encumbrances and security interests upon the
incorporation of the Work into the Project, or upon Design-Builder’s receipt of payment, whichever
occurs earlier.

6.3 Withho|ding of Payments.

6.3.1 On or before the date established in the Agreement, Owner shall pay Design-Builder ali
amounts properly due. if Owner determines that Design-Builder is not entitled to ali or part of an
Application for Payment as a result of Design-Builder’s failure to meet its obligations hereunder, it
will notify Design-Builder in writing at least five (5) days prior to the date payment is due. The
notice shall indicate the specific amounts Owner intends to withhoid, the reasons and contractual
basis for the withholding, and the specific measures Design-Builder must take to rectify Owner’s
concerns Design-Builder and Owner will attempt to resolve Owner’s concerns prior to the date
payment is due. if the parties cannot resolve such concerns Design-Builder may pursue its
rights under the Contract Documents including those under Article 10 hereof.

6.3.2 Notwithstanding anything to the contrary in the Contract Documents Owner shall pay
Design-Builder all undisputed amounts in an Application for Payment within the times required by
the Agreement.

6.4 Design-Builder’s Payment Ob|igations.

6.4.1 Design-Builder will pay Design Consu|tants and Subcontractors in accordance with its
contractual obligations to such parties ali the amounts Design-Builder has received from Owner
on account of their Work. Design-Builder will impose similar requirements on Design Consu|tants
and Subcontractors to pay those parties with whom they have contracted Design-Builder will
indemnify and defend Owner against any claims for payment and mechanic’s liens as set forth iri
Section 7.2 hereof.

6.5 Substantial Completion.

6.5.1 Design-Builder shall notify Owner when it believes the Work, or to the extent permitted in the
Contract Documents a portion of the Work, is Substantially Complete. Within five (5) days of Owner’s
receipt of Design-Builder’s notice, Owner and Design-Builder will jointly inspect such Work to verify that
it is Substantially Complete in accordance with the requirements of the Contract Documents if such
Work is Substantially Complete, Owner shall prepare and issue a Certificate of Substantial Completion that
will set forth (i) the date of Substantial Completion of the Work or portion thereof, (ii) the remaining items of
Work that have to be completed before final payment, (iii) provisions (to the extent not already provided in
the Contract Documents) establishing Owner’s and Design-Builder’s responsibility for the Project’s security,
maintenance, utilities and insurance pending final paymentl and (iv) an acknowledgment that warranties
commence to run on the date of Substantial Completion, except as may otherwise be noted in the Certificate
of Substantial Completion.
6.5.2 Upon Substantial Completion of the entire Work or, if applicable, any portion of the Work,
Owner shall release to Design-Builder ali retained amounts reiating, as applicable, to the entire
Work or completed portion of the Work, less an amount equal to 150% of the reasonable value of
ali remaining,incompiete,or defective items of Work as noted in the Certificate of Substantial
Completion, as determined by Owner, plus ali other amounts Owner is entitled to withhold
pursuant to Section 6.3 above. Owner shall make payment of such retained amounts to Design-
Buiider within thirty (30) days of Design-Builder’s submittal of an accurate and complete Application

 

DB|A Document No. 535 Page 17
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 65 of 122 Document 1

for Payment for the retained amounts to be released.

6.5.3 Owner, at its option, may use a portion of the Work which has been determined to be
Substantially Completel providedl however, that (i) a Certificate of Substantial Completion has
been issued for the portion of Work addressing the items set forth in Section 6.5.1 above, (ii)
Design-Builder and Owner have obtained the consent of their sureties and insurers and to the
extent applicable, the appropriate government authorities having jurisdiction over the Project, and
(iii) Owner and Design-Builder agree that Owner’s use or occupancy will not interfere with
Design-Builder’s completion of the remaining Work.

6.6 Final Payment.

6.6.1 After receipt of a Final Application for Payment from Design-Builder, Owner shall make
final payment by the time required in the Agreement, provided that Design-Builder has achieved
Final Completion and its final accounting as required by Section 6.6.2.2 substantiates the Cost of
the Work for which Design-Builder seeks payment.

6.6.2 At the time of submission of its Final Application for Payment, Design-Builder shall
provide the following information, the provision of all of which is an express condition to Owner’s
obligation to make final payment to Design-Builder:

6.6.2.1 ;A fully executed Finai, Unconditionai Claim Waiver and Reiease upon Final
Payment form, a copy of which is attached to the Agreement as Exhibit D;

6.6.2.2 A final accounting for the Cost of the Work in a form and such detail as is
acceptable to the Owner and its auditors

6.6.2.3 Consent of Design-Builder’s surety, if any, to final payment;

6.6.2.4 All operating manuals warranties and other deliverabies required by the Contract
Documents;

6.6.2.5 Certificates of insurance confirming that required coverages will remain in effect
consistent with the requirements of the Contract Documents; and

6.6.2.6 As-buiit drawings

6.6.3 Upon making final payment, Owner waives all claims against Design-Builder except
claims relating to (i) Design-Builder’s failure to satisfy its payment obligations if such failure
affects Owner's interests (ii) Design-Builder’s failure to complete the Work consistent with the
Contract Documents including defects appearing after Substantial Completion and (iii) the terms
of any special warranties required by the Contract Documents Acceptance of payment by the
Design-Builder constitutes a waiver of ali claims by Design-Builder except those claims previously
made in writing by Design-Builder and which are identified by Design-Builder as unsettled.

6.6.4 Deficiencies in the Work discovered after Substantial Completion, whether or not such
deficiencies would have been included on the Punch List if discovered earlier, shall be deemed
warranty Work. Such deficiencies shall be corrected by Design-Builder under Sections 2.9 and

2.10 herein, and shall not be a reason to withhold final payment from Design-Builder, provided,
however, that Owner shall be entitled to withhold from the Final Payment the reasonable value of
completion of such deficient Work until such Work is compieted.

Article 7

indemnification

 

DB|A Document No. 535 Page 18
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 66 of 122 Document 1

7.1

7.2

Patent and Copyright lnfringement.

7.1.1 Design-Builder shall defend any action or proceeding brought against Owner based on
any claim that the Workl or any part thereof, or the operation or use of the Work or any part
thereof, constitutes infringement of any United States patent or copyright, now or hereafter
issued. Owner shall give prompt written notice to Design-Builder of any such action or proceeding
and will reasonably provide authority, information and assistance in the defense of same. Design-
Buiider shall indemnify and hold harmless Owner from and against all damages losses
expenses and costs including but not limited to ali attorneys’ fees the fees of consultants
and experts and costs and expenses of litigation incurred by Owner or awarded against Owner
or Design- Builder in any such action or proceeding Design-Builder agrees to keep Owner
informed of all developments in the defense of such actions

7.1.2 if Owner is enjoined from the operation or use of the Work, or any part thereof, as the
result of any patent or copyright suit, ciaim, or proceeding, Design-Builder shall at its sole
expense take reasonable steps to procure the right to operate or use the Work. if Design-Builder
cannot so procure such right within a reasonable time, Design-Builder shall promptiy, at Design-
Buiider’s option and at Design-Builder’s expense, (i) modify the Work so as to avoid infringement
of any such patent or copyright or (ii) replace said Work with Work that does not infringe or violate
any such patent or copyright

7.1.3 Sections 7.1.1 and 7.1.2 above shall not be applicable to any suit, claim or proceeding
based on infringement or violation of a patent or copyright (i) relating solely to a particular process
or product of a particular manufacturer specified by Owner and not offered or recommended by
Design-Builder to Owner or (ii) arising from modifications to the Work by Owner or its agents after
acceptance of the Work. if the suit, claim or proceeding is based upon events set forth iri the
preceding sentence, Owner shall defend, indemnify and hold harmless Design-Builder to the
same extent Design-Builder is obligated to defend, indemnify and hold harmless Owner in
Section 7.1.1 above.

7.1.4 The obligations set forth in this Section 7.1 shall constitute the sole agreement between
the parties relating to liability for infringement of violation of any patent or copyright.

indemnification

7.2.1 Design Builder’s Performance. To the fullest extent permitted by iaw, Design-Builder shall
indemnify, defend and hold harmless Owner (and other entities identified in the Agreement to be
indemnified by Design-Builder, including Owner’s Engineer), ali of their political subdivisions
affiliates parents subsidiaries elected officials appointed officials members stockholders
officers directors employees representatives agents insurers successors and assigns (ai| of
which are hereinafter collectively referred to as "lndemnitees"), from and against ali claims
damages losses costs and expenses including but not limited to ali attorneys', paralegai,
consultants' and experts' fees legal expenses and dispute resolution costs (collectiveiy “Legai
Expenses”)l arising out of or resulting frorn the performance of Design-Builder’s Work; provided,
any such claim, damage, loss cost or expense: (1) is attributable to bodily injury, sickness
disease, or death, or to injury to or destruction of tangible property (other than direct damage to
Design-Builder 's Work itseif), including the loss of use resulting therefrom, and is caused or
alleged to be caused in whole or in any part by any act or omission of Design-Builder or anyone
directly or indirectly employed by Design-Builder or anyone for whose acts or omissions Design-
Buiider may be iiabie, regardless of whether it is also caused in part by a party indemnified
hereunder; or (2) arises out of or relates to Design-Builder 's performance under this Agreement, or
results from any claimed failure of Design-Builder, or anyone directly or indirectly employed by
Design-Builder or anyone for whose acts or omissions Design-Builder may be liablel to properly
fulfill Design-Builder’s obligations under this Agreement. This indemnity obligation shall not be
construed to negate, or abridge, or otherwise reduce any other right or obligation of indemnity
which would otherwise exist under law except to the extent that it is caused by the sole negligence
of any party indemnified hereunder in which case this obligation shall not apply relative to such
indemnified party.

 

DB|A Document No. 535 Page 19
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Build institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 67 of 122 Document 1

7.2.2 No Limitation Upon Liability. in any and ali claims against lndemnitees by any worker of
Subcontractor, anyone directly or indirectly employed by Subcontractor, or anyone for whose acts
or omissions Subcontractor may be liablel the indemnification obligations under this Section 7.2
shall not be limited in any way by any limitation on the amount or type of damages compensation,
or benefits payable by or for Subcontractor under workers’ compensation acts disability benefit
acts or other employee benefit acts

7.2.3 Comp|iance with Laws. Design-Builder is bound by, and, at its own cost, shall comply with
ali Legal Requirements includingl but not limited to, ali applicable federall state and local codes
laws ordinances and regulations including but not limited to laws pertaining to equal employment
opportunity, social security, unemployment compensation, workers' compensation, immigration
compliance, tax, safety, and building codes Design-Builder shall indemnifyl defend and hold
harmless lndemnitees with respect to ali claims fines penalties damages losses costs and
expenses including Legal Expenses attributable to the failure or claimed failure of Design-Builder,
or its workers agents Payees, to comply with ali Legal Requirements.

7.2.4 Consideration. included in the Contract Price is the sum of one hundred dollars ($100.00)
as specific consideration for the indemnity obligations provided under this Section 7.2.

7.2.1

 

DB|A Document No. 535 Page 20
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 68 of 122 Document 1

A_rfM
Time
8.1 Ob|igation to Achieve the Contract Times.

8.1.1 Design-Builder agrees that it will commence performance of the Work and achieve the
Contract Time(s) in accordance with Article 5 of the Agreement.

8.2 De|ays to the Work.

8.2.1 if Design-Builder is delayed in the performance of the Work due to acts omissions
conditions events or circumstances beyond its control and due to no fault of its own or those for
whom Design-Builder is responsible, the Contract Time(s) for performance shall be reasonably
extended by Change Order. By way of example, events that will entitle Design-Builder to an
extension of the Contract Time(s) include acts or omissions of Owner or anyone under Owner’s
control (including separate contractors), changes in the Work, Hazardous Conditions
unanticipated inclement weather conditions and Force Majeure Events.

8.2.2 in addition to Design-Builder’s right to a time extension for those events set forth in
Section 8.2.1 above, Design-Builder shall also be entitled to an appropriate adjustment of the
Guaranteed Maximum Price provided, however, that the Guaranteed Maximum Price shall not be
adjusted for unanticipated inclement weather conditions or Force Majeure Events unless
otherwise provided in the Agreement.

8.3 Force Majeure

Neither party shall be liable for any failure or delay in the performance of its obligation pursuant to
the Contract Documents and such failure or delay shall not be deemed a default or grounds for
termination hereunder if ali of the following conditions are satisfied:

a. if such failure or delay could not have been anticipated and prevented by reasonable
precautions

b. if such failure or delay cannot reasonably be circumvented by the non-performing party
through the use of alternate sources work-around plans or other means and

c. if and to the extent such failure or delay is caused, directly or indirectiy, by fire, fiood,

earthquake, hurricanel elements of nature or acts of God, acts of war, terrorism, riots
civil disorders rebellions or revolutions or court order.

An event, which satisfies ali of the conditions set forth above, shall be referred to as a “Force
Majeure Event”. Upon the occurrence of a Force Majeure Event, the affected party shall be
excused from any further performance of those of its obligations which are affected by the Force
Majeure Event for as long as (a) such Force Majeure Event continues and (b) the affected party
continues to use reasonable efforts to mitigate the effect of the Force Majeure Event and
recommence performance whenever and to whatever extent possibie.

Upon the occurrence of a Force Majeure Event, the affected party shall promptly notify the other
by telephone (to be confirmed by written notice within five (5) days of the inception of the failure
or delay) of the occurrence of a Force Majeure Event and shall describe in reasonable detail the
nature of the Force Majeure Event.

Notwithstanding anything contained herein to the contrary, strikes slow-downs waikouts
lockouts and industrial disputes affecting the workforce of Design-Builder or its
Subcontractors shall not constitute “Force Majeure Events" and are not excused under this
provision.

 

DB|A Document No. 535 Page 21
Standard Form of General Conditions of Contract Between Owner and Design-Builder
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Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 69 of 122 Document 1

9.1

9.2

9.3

Article 9
Changes to the Contract Price and Time

Change Orders

9.1,1 A Change Order is a written instrument issued after execution of the Agreement signed
by Owner and Design-Builder, stating their agreement upon all of the following:

9.1.1.1 The scope of the change in the Work;
9.1.1.2 The amount of the adjustment to the Guaranteed Maximum Price; and
9.1.1.3 The extent of the adjustment, if any, to the Contract Time(s).

9.1.2 All changes in the Work authorized by applicable Change Order shall be performed under
the applicable conditions of the Contract Documents. Owner and Design-Builder shall negotiate in
good faith and as expeditiously as possible the appropriate adjustments for such changes

9.1.3 An executed Change Order constitutes a full and Hnai settlement and accord and
satisfaction of ali effects of the changes described and included in the Change Order upon any
and ali aspects of the Contract Documents and compensates Design-Builder fully for such
changes Accordingiy, except as specifically described and included in a Change Order 1)
Design-Builder expressly waives and releases any and all right to make a claim or demand or to
take any action or proceeding for any other consequences resulting from, arising out of, or related
to the Change Order, whether the consequences result directly or indirectly from the changes
described and included therein; and 2) Design-Builder expressly waives and releases any claim it
may have against the Owner for a) any adjustment in the schedule, including but not limited to the
Scheduled Substantial Completion Date, Scheduled interim Milestone Dates or final completion
date, or b) any additional compensation or damages resulting from, arising out of, or related tol
the changes described and included herein, inciuding, but not limited to, any claim for impact or
damages due to delay, disruption, hindrance, interferencel inefficiencies or extra work arising out
of, resulting from, or related to, the changes described and included therein, inciuding, but not
limited to, any effect that such changes may have on the unchanged portion of the Work or
scheduie.

Work Change Directives

9.2.1 Owner may, by Work Change Directive, without invalidating the Contract, order changes
in the Work within the general scope of the Contract consisting of additions deletions or other
revisions A Work Change Directive is a written order prepared and signed by Owner directing a
change in the Work prior to agreement on an adjustment, if any, in the Contract Price and/or the
Contract Time(s).

9.2.2 Owner and Design-Builder shall negotiate in good faith and as expeditiously as possible
the appropriate adjustments for the Work Change Directive. Upon reaching an agreement, the
parties shall prepare and execute an appropriate Change Order reflecting the terms of the
agreement Design-Builder will promptly proceed with the change in the Work during those
negotiations

Minor Changes in the Work.

9.3.1 Nlinor changes in the Work do not involve an adjustment in the Guaranteed Maximum
Price and/or Contract Time(s) and do not materially and adversely affect the Work,
including the design, quality, performance and workmanship required by the Contract
Documents Design-Builder may make minor changes in the Work consistent with the intent of

 

DB|A Document No. 535 Page 22
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 70 of 122 Document 1

Article 9
the Contract Documents provided, however, that Design-Builder shall promptly inform Owner,
in writing, of any such changes and record such changes on the documents maintained by
Design-Builder. Owner may also order minor changes in the Work.

9.4 Contract Price Adjustments.

9.4.1 The increase or decrease iri the Guaranteed Maximum Price resulting from a change in
the Work shall be determined by one or more of the following methods

9.4.1.1 Unit prices set forth in the Agreement or as subsequently agreed to between the
parties

9.4.1.2 A mutually accepted lump sum, properly itemized and supported by sufficient
substantiating data to permit evaluation by Owner;

9.4.1.3 Costs fees and any other markups set forth in the Agreement; or

 

DB|A Document No. 535 Page 23
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 71 of 122 Document 1

9.5

10.1

9.4.1.4 if an increase or decrease cannot be agreed to as set forth in items 9.4.1.1
through 9.4.1.3 above and Owner issues a Work Change Directive, the cost of the
change of the Work as demonstrated by invoices payrolls and other like
documentation of Cost of the Work paid by Design-Builder plus the following
percentages of the various portions of the Cost of the Work:

9.4.1.4.1 For payroll costs for employees in the direct employ of Design-Builder
in the performance of the Work and costs of all materials and equipment
furnished and incorporated in the Work, the Design-Builder’s fee shall be fifteen
percent;

9.4.1.4.2 For payments made by the Design-Builder to the Subcontractors for
Work performed or furnished by Subcontractors the Design-Builder’s fee shall be
five percent.

9.4.2 if unit prices are set forth in the Contract Documents or are subsequently agreed to by
the parties but application of such unit prices will cause substantial inequity to Owner or Design-
Buiider because of differences in the character or quantity of such unit items as originally
contemplated, the parties may negotiate an equitable adjustment

9.4.3 if Owner and Design-Builder disagree upon whether Design-Builder is entitled to be paid
for any services required by Ownerl or if there are any other disagreements over the scope of
Work or proposed changes to the Work, Owner and Design-Builder shall resolve the
disagreement pursuant to Article 10 hereof. As part of the negotiation process Design-Builder
shall furnish Owner with a good faith estimate of the costs to perform the disputed services in
accordance with Owner’s interpretations if the parties are unable to agree and Owner expects
Design-Builder to perform the services in accordance with Owner’s interpretations Design-
Buiider shall proceed to perform the disputed services conditioned upon Owner issuing a written
order to Design-Builder (i) directing Design-Builder to proceed and (ii) specifying Owner’s
interpretation of the services that are to be performed.

Emergencies.

9.5.1 in any emergency affecting the safety of persons and/or property, Design-Builder shall
act, at its discretion, to prevent threatened damage, injury or loss Any change in the
Guaranteed Maximum Price and/or Contract Time(s) on account of emergency work shall be
determined as provided in this Article 9.

Article 10

Contract Adjustments and Disputes

Requests for Contract Adjustments and Re|ief.

10.1.1if Design-Builder believes that it is entitled to an adjustment in the Guaranteed
Maximum Price and/or Contract Time(s) from Owner for any event arising out of or related to
the Work or Project, Design Builder shall provide written notice to the Owner stating in
reasonable detail the basis for its claim for reiief. Such notice shaii, if possibie, be made prior to
incurring any cost or expense and in accordance with any specific notice requirements contained
in applicable sections of these General Conditions of Contract. in the absence of any specific
notice requirementl written notice shall be given within a reasonable timel not to exceed
fourteen (14) days after the occurrence giving rise to the claim for relief. Such notice shall
include sufficient information to advise the Owner of the circumstances giving rise to the
claim for relief, the specific contractual adjustment or relief requested and the basis of such
request. No later than thirty (30) days after the event giving rise to Design-Builder’s claim for

 

DB|A Document No. 535 Page 20
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 72 of 122 Document 1

adjustment of the Guaranteed Maximum Price and/or Contract Time(s)l Design-Builder shall
provide Owner with a second notice of its claim for relief setting forth in detail its cost estimate
and/or proposed schedule revision, which shall include such supporting documentation and detail
as Owner may require to facilitate its review and response. The notices required by this section
are express conditions precedent to Design-Builder’s right to file a claim for adjustment of the
Guaranteed Maximum Price and/or Contract Time(s) for events arising out of or related to the
Work or the Project and Design-Builder’s failure to give the written notices required by this section
shall result in Design-Builder’s waiver and release of its claim.

10.1.2 No adjustment iri the Guaranteed Maximum Price or Contract Time(s) shall be
made for any suspension, delay or interruption of the Work resulting from the fault or
negligence of Design-Builder or from any action of the elements or bad weather unless such
weather conditions are abnormal for ciimatic region in which the Project is located and for the
time of year; nor shall an adjustment be made hereunder where it is excluded under any
other provisions of the Contract Documents

10.2 Dispute Avoidance and Resoiution.

10.2.1The parties are fully committed to working with each other throughout the Project and agree
to communicate regularly with each other at ali times so as to avoid or minimize disputes or
disagreements if disputes or disagreements do arise, Design-Builder and Owner each commit to
resolving such disputes or disagreements in an amicabie, professional and expeditious manner so
as to avoid unnecessary losses delays and disruptions to the Work.

10.2.2Design-Buiider and Owner will first attempt to resolve disputes or disagreements at the field
level through discussions between Design-Builder’s Representative and Owner’s Engineer who
shall convene a dispute resolution conference at the Owner's request. in the event of a claim
asserted by Design-Builderl such conference shall be convened within thirty (30) days of Design
Builder’s second written notice required under Section 10.1.1, provided Design-Builder has
provided Owner with information and documentation suchient to meet the requirements of that
section and to otherwise allow the Owner to reasonably review and respond to Design-Builder’s
claim, unless the Owner and Design-Builder mutually agree otherwise.

10.2.3if a dispute or disagreement cannot be resolved through Design-Builder’s Representative
and Owner's Engineer, Design-Builder’s Senior Representative and Owner’s Senior
Representative, upon the request of either party, shall meet as soon as conveniently possibie, but
in no case later than thirty (30) days after such a request is made, to attempt to resolve such
dispute or disagreement Five (5) days prior to any meetings between the Senior Representatives
the parties will exchange relevant information that will assist the parties in resolving their dispute or
disagreement,

10.2.4if after meeting as provided in Section 10.2.3 the Senior Representatives determine that the
dispute or disagreement cannot be resolved on terms satisfactory to both parties within thirty (30)
days of the conclusion of the meeting of Senior Representatives the parties shall submit the
dispute or disagreement to non-binding mediation. The mediation shall be conducted by a mutually
agreeable impartial mediator, or if the parties cannot so agree, a mediator designated by the
American Arbitration Association (“AAA”) pursuant to its Construction industry Mediation Ruies in
effect as of the effective date of this Agreement. The mediation will be governed by and conducted
pursuant to a mediation agreement negotiated by the parties or, if the parties cannot so agree, by
procedures established by the mediator. Uniess otherwise mutually agreed by the Owner and
Design-Builder and consistent with the mediator’s schedulel the mediation shall commence within
ninety (90) days of the submission of the dispute to mediation.

10.2.5|f after engaging in the dispute resolution process set forth in Sections 10.2.1 through 10.2.4,
the parties are unable resolve their dispute or disagreement, each party shall be free to file such
actions and seek such relief as it deems appropriate in the Superior Court of Oconee County. The
parties expressly agree that the Superior Court of Oconee County shall be the sole and exclusive

 

DB|A Document No. 535 Page 21
Standard Form of General Conditions of Contract Between owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 73 of 122 Document 1

venue for any action by either party seeking relief or recovery for any event, ciaim, dispute or
disagreement arising out of the Contract Documents not resolved through negotiations or
mediation as provided for in this Section 10.2. The parties agree that except in the instance where
a party refuses to participate in the dispute resolution process set forth in Sections 10.2.1 through
10.2.4, such dispute resolution process shall be a condition precedent to filing any action or
seeking any relief or remedy in the Superior Court of Oconee County.

 

DB|A Document No. 535 Page 22
Standard Form of General Conditions of Contract Between Owner and Design-Builder

© 2010 Design-Buiid institute of America
Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 74 of 122 Document 1

10.3

11.1

11.2

Duty to Continue Performance.

10.3.1 Design-Builder shall continue to perform the Work pending the final resolution of any
dispute or disagreement between Design- Builder and Owner.

M

Stop Work and Termination for Cause
Owner’s Right to Suspend or Stop Work.

11.1.1The Owner’ shall have the authority to suspend or stop the Work wholly or in part by
written order, without cause and for its conveniencel for such periods as - may be
necessary. The Owner may also suspend or stop Work under this section for cause, including, but
not limited to, to conditions Owner considers unfavorable for the suitable prosecution of the
Work; or for failure on the part of the Design-Builder to correct conditions unsafe for workers or
for the general public; or for Design-Builder’s failure to carry out orders given or to perform
any requirements under the Contract Documents . No provision of the Contract Documents shall
be construed under any circumstances to create any obligation of the Owner to exercise its
authority or right suspend or stop the Work under this section for the benefit of the Design-
Buiider. if Design-Builder believes it is entitled to an adjustment to the Guaranteed Maximum
Price or Contract Time(s) due to any action undertaken by the Owner to suspend or stop Work
under this section, Design-Builder must assert a claim in accordance with Section 10.1.1. Faiiure
by Design-Builder to meet the requirements of Section 10.1.1 in asserting such a claim shall result
in waiver and release of Design-Builder’s ciaim.

11.1.1

Owner's Right to Perform and Terminate for Cause.

11.2.1 if Design-Builder is adjudged bankrupt or insolvent, or if he makes a general
assignment for the benefit of his creditors or if a trustee or receiver is appointed for the
Design-Builder or for any of his property, or if he files a petition to take advantage of any debtor's
act or to reorganize under bankruptcy or persistently fails to (i) provide a sufficient number
of skilled workers (ii) supply the materials and equipment required by the Contract
Documents (iii) comply with applicable Legal Requirements (iv) timely pay Design
Consu|tants or Subcontractors (v) prosecute the Work with promptness and diligence to
ensure that the Work is completed by the Contract Time(s), as such times may be adjusted,
(vi) abide by the authority of the Owner’s Engineer, or otherwise violates any provision of the
Contract Documents or (vii) perform its obligations under the Contract Documents then Owner,
in addition to any other rights and remedies provided in the Contract Documents or by iaw,
shall have the rights set forth in Sections 11.2.2 and 11.2.3 beiow.

11.2.2 Upon the occurrence of an event set forth iri Section 11.2.1 above, Owner may provide
written notice to Design-Builder that it intends to terminate the Agreement unless the problem
cited is cured within seven (7) days of Design-Builder’s receipt of such notice. if Design-Builder
fails to cure such problem, then Owner may give a second written notice to Design-Builder of
its intent to terminate within an additional seven (7) day period. if Design-Builder, within such
second seven (7) day period, fails to cure such problem, then Owner may declare the
Agreement terminated for default by providing written notice to Design-Builder of such deciaration.

11.2.3 Upon declaring the Agreement terminated pursuant to Section 11.2.2 above, Owner may
enter upon the premises and take possession, for the purpose of completing the Work, of all
designs drawings materials equipmentl scaffolds toois, appliances other items and Design-

 

DBiA Document No. 535 Page 24
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Build institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 75 of 122 Document 1

12.1

12.2

Builder’s subcontracts which have been purchased, provided or contracted for the performance
of the Work, ali of which Design-Builder hereby transfers assigns and sets over to Owner for
such purpose, and to employ any person or persons to complete the Work and provide ali of the
required labor, services materials equipment and other items in the event of such termination,
Design-Builder shall not be entitled to receive any further payments under the Contract
Documents until the Work shall be finally completed in accordance with the Contract Documents
At such time, if the unpaid balance of the Contract Price exceeds the cost and expense incurred
by Owner in completing the Work, such excess shall be paid by Owner to Design-Builder.
Notwithstanding the preceding sentence, if the Agreement establishes a Guaranteed Maximum
Price, Design-Builder will only be entitled to be paid for Work performed prior to its default. if
Owner’s cost and expense of completing the Work exceeds the unpaid balance of the Contract
Price, then Design-Builder shall be obligated to pay the difference to Owner. Such costs and
expense shall include not only the cost of completing the Work, but aiso, without limitationl
losses damages costs and expense, including ali attorneys' fees the fees and costs of design
professionals consultants and experts and ali other costs and expenses of iitigation, incurred
by Owner in connection with the re-procurement and the assertion and defense of claims arising
from Design-Builder’s default.

11.2.4 When the Owner terminates the Agreement pursuant to this Section 11.2, said
termination shall not affect any right of the Owner against the Design-Builder then existing or
which may thereafter accrue.

11.2.5 if Owner improperly terminates the Agreement for cause, the termination for cause will be
converted to a termination for convenience in accordance with the provisions of Article 8 of the
Agreement.

11.2.6

Article 12

Eiectronic Data
Eiectronic Data.

12.1.1 The parties recognize that Contract Documents including drawings specifications and
three-dimensional modeling (such as Building information Niodels) and other Work Product may
be transmitted among Owner, Owner’s Engineer, Design-Builder and others in electronic media
as an alternative to paper hard copies (collectiver “Eiectronic Data").

Transmission of Eiectronic Data.

12.2.1 Owner and Design-Builder shall agree upon the software and the format for the
transmission of Eiectronic Data. Design-Builder shall be responsible for securing the legal rights
to access the agreed-upon format, inciuding, if necessary, obtaining appropriately licensed copies
of the applicable software or electronic program to displayl interpret and/or generate the
Eiectronic Data.

12.2.2 Neither party makes any representations or warranties to the other with respect to the
functionality of the software or computer program associated with the electronic transmission of
Work Product. Uniess specifically set forth in the Agreementl ownership of the Eiectronic Data
does not include ownership of the software or computer program with which it is associated,
transmitted, generated or interpreted

12.2.3 By transmitting Work Product in electronic forml the transmitting party does not transfer
or assign its rights in the Work Product. The rights in the Eiectronic Data shall be as set forth in
Article 4 of the Agreement. Under no circumstances shall the transfer of ownership of Eiectronic
Data be deemed to be a sale by the transmitting party of tangible goods

 

DB|A Document No. 535 Page 25
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Build institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 76 of 122 Document 1

12.3 Eiectronic Data Protocol.

12.3.1 The parties acknowledge that Eiectronic Data may be altered or corruptedl intentionally
or otherwise, due to occurrences beyond their reasonable control or knowiedge, including but not
limited to compatibility issues with user software, manipulation by the recipient, errors in
transcription or transmission, machine error, environmental f a c t o r s , and operator error,

 

DB|A Document No. 535 Page 26
Standard Forrn of General Conditions of Contract Between Owner and Design-Builder

© 2010 Design-Buiid institute of America
Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 77 of 122 Document 1

Consequent|y, the parties understand that there is some level of increased risk in the use of
Eiectronic Data for the communication of design and construction information and, in
consideration of this agree, and shall require their independent contractors Subcontractors and
Design Consu|tants to agree, to the following protocois, terms and conditions set forth in this
Section 12.3.

12.3.2 Eiectronic Data will be transmitted in the format agreed upon in Section 12.2.1 above,
including file conventions and document properties unless prior arrangements are made in
advance in writing.

12.3.3 The Eiectronic Data represents the information at a particular point in time and is subject
to change. Therefore, the parties shall agree upon protocois for notification by the author to the
recipient of any changes which may thereafter be made to the Eiectronic Data, which protocol
shall also address the dutyl if any, to update such information, data or other information contained
in the electronic media if such information changes prior to Final Completion of the Project.

12.3.4 The transmitting party specifically disclaims ali warranties expressed or impiied,
inciuding, but not limited to, implied warranties of merchantability and fitness for a particular
purpose, with respect to the media transmitting the Eiectronic Data. However, transmission of the
Eiectronic Data via electronic means shall not invalidate or negate any duties pursuant to the
applicable standard of care with respect to the creation of the Eiectronic Data, unless such data is
materially changed or altered after it is transmitted to the receiving party, and the transmitting
party did not participate in such change or aiteration.

Article 13

Misceilaneous

13.1 Confidential|nformation.

13.1.1 Confidentiai information is defined as information which is determined by the transmitting
party to be of a confidential or proprietary nature and: (i) the transmitting party identifies as either
confidential or proprietary; (ii) the transmitting party takes steps to maintain the confidential or
proprietary nature of the information; and (iii) the document is not otherwise available in or
considered to be in the public domain. The receiving party agrees to maintain the confidentiality
of the Confidentiai information and agrees to use the Confidentiai information solely in connection
with the Project. Design-Builder acknowledges that Owner is a governmental entity and is
subject to the public records and open meetings laws of the state of Georgia. Accordingiy,
Owner’s duty to maintain confidentiality is subject to its duties under those laws

13.1.2 All or substantial portions of the following documents may not be considered to be public
records pursuant to applicable provisions of Georgia iaw: Design-Builder’s and Owner’s
Engineer’s work product under the Contract Documents and ali plans drawings and other
documents containing security plans and arrangements and/or detailed plans and drawings
of any facility of the Owner. Such work product, security arrangements and/or detailed
plans and drawings are herein referenced as Sensitive Document(s). Without limiting the
foregoing, it is expressly understood and agreed that Sensitive Document(s) is not limited to
documents related to this Agreement and includes any and ali documents herein described
concerning any facility of the Owner regardless of the type of facility and regardless of the
manner in which the Design-Builder acquired possession of such documents The Owner
retains sole authority and discretion to determine whether ali or any portion of any Sensitive
Document is a public record pursuant to applicable provisions of Georgia iaw. Under no
circumstances will the Design-Builder provide the original or copy of any portion of any Sensitive
Document (without regard to the status of such Sensitive Document as in preliminaryl draft or
final form) to any person or entity unless directed by the Owner or unless reasonably
necessary to satisfy Design-Builder obligations pursuant to this contract. The Design-

DB|A Document No. 535 Page 25
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 78 of 122 Document 1

 

Builder will maintain and implement such rules and procedures governing the conduct of its
officers employees agents and subcontractors and the maintenancel handling and use of
Sensitive Documents as may be reasonably necessary to prevent the release of any Sensitive
Document in violation of this provision. Such rules and procedures will be subject to review by the
Owner and such changes as the Owner detenhines to be reasonably necessary, including
without limitation maintaining a log identifying any Sensitive Document provided to any person or
entity that includes at a minimum, identification of the Sensitive Document provided, name of
person releasing the Sensitive Document, name of person receiving the Sensitive Document,
reason for releasing Sensitive Document, and date Sensitive Document reieased.

Without exception, every person or entity receiving a Sensitive Document must agree not to copy
or release such Sensitive Document to any other person or entity, unless othenivise approved by
the Owner in writing. Such log need not include the release of any document to an officer or
employee of the Design-Builder or to any employee of the Owner. A violation of any provision of
this section is a material violation of this Agreement and will be the basis for termination of this
Agreement for cause, in accordance with Section 11.2 hereof, notwithstanding any other provision
of this Agreement to the contrary.

13.2 Assignment.

13.2.1 Neither Design-Builder nor Owner shaii, without the written consent of the other assign,
transfer or sublet any portion or part of the Work or the obligations required by the Contract
Documents

13.3 Successorship.

13.3.1 Design-Builder and Owner intend that the provisions of the Contract Documents are
binding upon the parties their employees agents heirs successors and assigns

13.4 Governing Law.

13.4.1 The Agreement and ali Contract Documents shall be governed by the laws of the place of
the Project, without giving effect to its conflict of law principles

13.5 Severabiiity.

13.5.1 if any provision or any part of a provision of the Contract Documents shall be finally
determined to be superseded, invalid, iiiegai, or othenivise unenforceable pursuant to any
applicable Legal Requirements such determination shall not impair or otherwise affect the
validity, iegaiity, or enforceability of the remaining provision or parts of the provision of the
Contract Documents which shall remain in full force and effect as if the unenforceable provision
or part were deleted.

13.6 No Waiver.

13.6.1 The failure of either Design-Builder or Owner to insist, in any one or more instances on
the performance of any of the obligations required by the other under the Contract Documents
shall not be construed as a waiver or relinquishment of such obligation or right with respect to
future performance.

13.7 Headings.

13.7.1 The headings used in these General Conditions of Contract, or any other Contract
Document, are for ease of reference only and shall not in any way be construed to limit or alter
the meaning of any provision.

13.8 Notice.

DB|A Document No. 535 Page 26
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Bui|d institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 79 of 122 Document 1

 

13.9

13.10

13.8.1 Whenever the Contract Documents require that notice be provided to the other party,
notice will be deemed to have been validly given (i) if delivered in person to the individual
intended to receive such notice, (ii) four (4) days after being sent by registered or certified maii,
postage prepaid to the address indicated iri the Agreement, or (iii) if transmitted by facsimi|e, by
the time stated in a machine generated confirmation that notice was received at the facsimile
number of the intended recipient.

Amendments.

13.9.1 The Contract Documents may not be changed, altered, or amended in any way except in
writing signed by a duly authorized representative of each party. Design-Builder specifically
acknowledges that Owner’s Engineer is not authorized to change, alter or amend the Contract
Documents except as may be specifically provided in Section 3.1.1.

Drug-Free Workpiace

The Owner is a drug-free workplace empioyer. Oconee County requires construction
contractors to provide a drug-free workplace in the performance of any Ownercontract.

in order to be eligible to submit a Bid for an Owner construction contract, a prospective
contractor must certify that it wili, if awarded the contract, provide a drug-free workplace during
the performance of the contract, This requirement is met by:

(A) notifying employees that the unlawful manufacture, distribution, dispensationl
possessionl or use of a controlled substance is prohibited in the workplace and specifying
the actions that will be taken for violations of such prohibition;

(B) establishing a drug-free awareness program to inform employees about (i) the dangers of
drug abuse in the workplace, (ii) the contractor's policy of maintaining a drug-free
workplace, (iii) any available drug counseling, rehabilitation, and employee assistance
programs and (iv) the penalties that may be imposed upon employees for drug abuse
violations

(C) notifying each employee that as a condition of empioyment, the employee will (i) abide by
the terms of the prohibition outlined in (a) above, and (ii) notify the contractor of any
criminal drug statute conviction for a violation occurring in the workplace not later than
five days after such conviction;

(D) notifying the Owner within ten days after receiving from an employee a notice of a
criminal drug statute conviction or after otherwise receiving actual notice of such
conviction;

(E) imposing a sanction on, or requiring the satisfactory participation in a drug counseling,
rehabilitation or abuse program by, an employee convicted of drug crime;

(F) making a good faith effort to continue to maintain a drug-free workplace for employees
and

(G) requiring any party to which it subcontracts any portion of the work under the contract to
comply with the provisions of (A)-(F).

if the prospective contractor is an individuai, the drug-free workplace requirement is met by not
engaging in the unlawful manufacture, distribution, dispensation, possession, or use of a controlled

 

DB|A Document No. 535 Page 27
Standard Form of General Conditions of Contract Between Owner and Design-Builder
© 2010 Design-Buiid institute of America

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 80 of 122 Document 1

substance in the performance of the contract

By submitting a bid, a prospective contractor certifies that it will comply with the Owner’s drug-free
workplace requirement A false certification or the failure to comply with the above drug-free
workplace requirements during the performance of a contract shall be grounds for suspension,
termination or debarment.

13.11 Design-Builder’s Safety Representative

The Design-Builder shall be required to designate a qualified and experienced safety representative
for the Project Site. This individual shall be responsible for explaining compliance requirements to
the Design-Builder’s employees maintaining and supervising safety precautions and programs
conducting weekly safety inspections of the Site and providing a copy of the report to the Owner.

The Design-Builder shall at all times perform the Work under the Contract Documents in a safe and
proper manner and in compliance with ali applicable ordinances statutes rules and regulations
concerning safety, including but not limited to, such applicable statutes rules and regulations known
as or issued pursuant to, the Occupationai Safety and Heaith Act ("OSHA") (hereinafter “Safety
Standards"). Without limiting the foregoing in any manner, safety standards concerning trenching
and excavation are particularly important. The Design-Builder shail, at its own expense, strictly
adhere to ali pertinent safety standards rules and OSHA regulations required or recommended by
governmental or quasi- governmental authorities having jurisdiction. The Design-Builder hereby
acknowledges that it has its own safety program for ali Work covered by or performed under the
Contract Documents The Design-Builder agrees to conduct its own frequent and regular inspections
of all Work covered by or performed under the Contract Documents at the Site to verify compliance
with the Design-Builder safety program and ali applicable Safety Standards The Design-Builder
and the Owner acknowledge and agree that the Owner has no controi, responsibility or authority
over the Design-Builder or the Design-Builder’s employees or Subcontractors with regard to the
safety and health conditions or compliance with applicable Safety Standards relating to or arising
out of the Design-Builder’s Work or the performance of any Work covered by the Contract
Documents The Design-Builder has the sole responsibility and authority for ensuring that any and
all hazardous conditions relating to or arising out of the Design-Builder’s Work are corrected and for
complying with ali applicable Safety Standards at ali times

With regard to the Design-Builder’s Work or any Work covered by or performed under the Contract
Documents the Owner is not the controlling employer or controlling entity for the purpose of
identifying violations or applicable Safety Standards detecting hazardous conditions or ensuring that
hazardous conditions or violations of applicable Safety Standards are corrected.

Without limiting the foregoing, the Owner’s Engineer, the Oconee County Utiiity Department Safety
Coordinator or the authorized inspector(s) may, but is not contractually obligated to, bring Design-
Builder violations of the applicable Safety Standards to the attention of the Design-Builder for
correction by the Design- Builder. if the Design-Builder fails to correct violations of applicable Safety
Standards the Owner’s Engineer or Oconee County Utiiity Department Safety Coordinator or its
authorized inspector(s) may, but is not contractually obligated to, take such actions as it deems
appropriate to notify governmental or quasi-governmental authorities having jurisdiction over the
Design-Builder’s compliance with applicable Safety Standards The provisions of this sub-paragraph
shall be in addition to, and not in limitation of, other provisions of this contract for the enforcement of
the terms of this contract.

The Design-Builder shall notify the Owner and Oconee County Utiiity Department Engineer, or

his/her designee, immediately of any serious accident, injury or fataiity.

The Design-Builder shall immediately notify the Owner and Oconee County Utiiity Department
Engineer or his/her designee of any OSHA inspection.

 

DB|A Document No. 535 Page 30
Standard Form of General Conditions of Contract Between Owner and Design-Builder
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Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 81 of 122 Document 1

The Design-Builder shall notify the Owner and Oconee County Utiiity Department Engineer of any
unusual hazards created by the Work or found during construction.

The Design-Builder shall provide to the Owner and Oconee County Utiiity Department Engineer a
copy of all Work permits if requested. Permits issued will include confined space entry, lockout /
tagout, biasting, excavations etc. The Design-Builder shall provide to the Owner a copy of a
written safety program to meet the needs of the job (i.e. hazard communicationl excavationl
trenching, confined spacel etc.). in addition, the Design-Builder will provide the following:

A copy of their drug and alcohol abuse program,
Fire protection and emergency evacuation pian,

Medicai services_regarding worker’s compensation medical services and first aid on the
job sitel

Personai protective equipment (PPE)_determine personal protective equipment needs
and documentation of PPE assessment The Design-Builder shall maintain good
housekeeping (i.e. clean work areas clear access barricaded dangerous areas).

13.12 No Third Party Rights

This Agreement is entered into by and between the parties hereto for their exclusive benefit The
parties do not intend to create or establish by this Agreement any third party beneficiary status or
rights and no such third-party shall be entitled to enforce any right or obligation or enjoy any benefit
created or established by this Agreement.

 

DB|A Document No. 535 Page 31
Standard Form of General Conditions of Contract Between Owner and Design-Builder
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Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 82 of 122 Document 1

From: Mica Deerfield <mica.deerfleld@grnail.com>

Date: Thu, May 31, 2018 at 1:51 PM

Subj ect: Proj ect on Hold

To: Mods Container Homes Doug <dlarson@modsinternational.com>, Briggs Noble
<bnoble@modsinternational.com>

I have been trying to reach you to discuss putting the project on hold until September and then
checking to see Where We are With the volcano. Please advise this acceptable to MODS Without
any financial penalty to me.

Sent from my iPhone

EXH|B|T

 

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 83 of 122 Docu

From: Mica Deerfield <mica.deeriield@gmail.com>

Date: Sun, Jun 24, 2018 at 2:56 PM

Subject: Hawaii Project

To: Mods Container Homes Doug <dlarson@modsinternational.com>

Dear Doug,

I am feeling more and more discouraged about the Hawaii project I am Wondering if you are
interested in canceling the proj ect? If so can We come to some agreement about a refund of part
of the money which I paid you? Please call me on Monday and let me know What you can do for
me. Thank you

Mica Sunday Deerfield
Wild Hawaii
808-339-1958

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Case1:19-cv-OOO79-WCG Fiied 01/14/19 Page 84 of 122 Docum l_D__

From: Mica Deerfield <mica.deertield@gmail.com>

Date: Fri, Aug 10, 2018 at 8:22 PM

Subj ect: New contract for Hawaii project

To: Doug Larson MODS <dlarson@modsintemational.com>

Hi Doug, Attached please find the contract we signed before, with a new completion date of
December l, 2018. I do not want to proceed with this project unless you can assure me that this
date will be met. I need it in writing Since the original contract called for substantial completion
by June 28, and despite my requests a revised contract was not sent to me after we discussed a
delayed date, I based the 12/1 date on a discussion I had with Briggs Noble today. I hope we
can get the project back on track and make it a successl

Thank you, Mica 808-339-1958

ExHiBiT '

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 85 of 122 Docum

 

 

 

STANDARD FORM OF AGREEMENT
BETWEEN OWNER AND DES|GN-
BU|LDER - LUMP SUM

 

Document No. 525

Second Edition, 2010
© Design-Buiid institute of America

Washington, DC

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 86 of 122 Document 1

 

  

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Design-Bui|d institute of America - Contract Documents
L|CENSE AGREEMENT

By using the DBIA Contract Documents you agree to and are bound by the terms of this License Agreement.

License. The Design-Buiid institute of America (“DBiA”) provides DB|A Contract Documents and licenses their use
worldwide. You acknowledge that DBIA Contract Documents are protected by the copyright laws of the United States
You have a limited nonexclusive license to: (a) Use DB|A Contract Documents on any number of machines owned,
leased or rented by your company or organization; (b) Use DB|A Contract Documents in printed form for bona fide
contract purposes and (c) Copy DB|A Contract Documents into any machine-readable or printed form for backup or
modification purposes in support of your permitted use.

User Responsibi|ity. You assume sole responsibility for the selection of specific documents or portions thereof to
achieve your intended results and for the installation, use, and results obtained from the DB|A Contract Documents
You acknowledge that you understand that the text of the DB|A Contract Documents has important legal
consequences and that consultation with an attorney is recommended with respect to use or modification of the text.
You will not represent that any of the contract documents you generate from DB|A Contract Documents are DB|A
documents unless (a) the document text is used without alteration or (b) ali additions and changes to, and deletions
from, the text are clearly shown.

Copies. You may not use, copy, modify, or transfer DB|A Contract Documents or any copyl modification or merged
portion, in whole or in part, except as expressly provided for in this iicense. Reproduction of DB|A Contract Documents
in printed or machine-readable format for resale or educational purposes is expressly prohibited You will reproduce
and include DB|A’s copyright notice on any printed or machine-readable copy, modification, or portion merged into
another document or program.

Transfers You may not transfer possession of any copy, modiHcation or merged portion of DBIA Contract Documents
to another party, except that a party with whom you are contracting may receive and use such transferred material
solely for purposes of its contract with you. You may not sublicense, assign, or transfer this license except as expressly
provided in this Agreement, and any attempt to do so is void.

Term. The license is effective for one year from the date of purchase. DB|A may elect to terminate it earlier, by written
notice to you, if you fail to comply with any term or condition of this Agreement.

Limited Warranty. DB|A warrants the electronic files or other media by which DB|A Contract Documents are furnished
to be free from defects in materials and workmanship under normal use during the Term. There is no other warranty of
any kind, expressed or impiied, inciuding, but not limited to the implied warranties of merchantability and fitness for a
particular purpose. Some states do not allow the exclusion of implied warranties so the above exclusion may not apply
to you. This warranty gives you specific legal rights and you may also have other rights which vary from state to state.
DB|A does not warrant that the DB|A Contract Documents will meet your requirements or that the operation of DB|A
Contract Documents will be uninterrupted or error free.

Limitations of Remedies. DB|A’s entire liability and your exclusive remedy shall be: the replacement of any document
not meeting DB|A’s "Limited Warranty" which is returned to DBIA with a copy of your receipt or at DB|A’s election, your
money will be refunded in no event will DB|A be liable to you for any damages including any lost profits lost savings
or other incidental or consequential damages arising out of the use or inability to use DBIA Contract Documents even if
DBiA has been advised of the possibility of such damages or for any claim by any other party. Some states do not
allow the limitation or exclusion of liability for incidental or consequential damages so the above limitation or exclusion
may not apply to you.

Acknowledgement. You acknowledge that you have read this agreement, understand it and agree to be bound by its
terms and conditions and that it will be governed by the laws of the District of Columbia. You further agree that it is the
complete and exclusive statement of your agreement with DB|A which supersedes any proposal or prior agreement
oral or written, and any other communications between the parties relating to the subject matter of this agreement

Case 1:19-cv-OOO79-WCG Fiied 01/14/19 Page 87 of 122 Document 1

lNSTRUCTlONS

For DB|A Document No. 525 Standard Form of Agreement Between Owner and Design-Builder - Lump
Sum (2010 Edition)

Checklist

Use this Checklist to ensure that the Agreement is fully completed and ali exhibits are attached

 

 

x Page 1 Owner’s name, address and form of business
x Page 1 Design-Builder’s namel address and form of business
x Page 1 Project name and address
x Section 2.1.3 identify other exhibits to the Agreement
x Section 4.2 Note the optional provisions that are provided
x Section 4.3.2 Complete blanks for additional sum for use of Work Product
x Section 5.2.1 Complete blanks for calendar days and note the optional language that is provided
Section 5.2.2 insert any interim milestones (optionai)
x Section 5.4 Complete blanks for liquidated damages and note the optional provisions that are
provided
Section 5.5 if the parties select the option provided they have to insert an amount
Section 5.6 Complete blanks for early completion bonus and note the optional provision that is
provided
x Section 5.7 Note the optional provisions that are provided
x Section 6.1 Complete blanks for Contract Price
x Section 6.2 insert markups for changes and note optional provisions
x Section 6.3.4 Note the optional provision that is provided
x Section 6.4.1 Note optional provision
x Section 7.1.1 Complete blanks for day of month
x Section 7.2.1 Complete blanks for retention percentage and note optional provision
x Section 7.4 Complete blanks for interest rate
x Section 8.1.3 Choose overhead/profit method for termination for convenience
x Section 8.2.1 Complete blanks for percentages
x Section 8.2.2 Complete blanks for percentages
Section 9.1.1 insert Owner’s Senior Representative’s name, etc. (optionai)
Section 9.1.2 insert Owner’s Representative’s name, etc. (optionai)
Section 9.2.1 insert Design-Builder’s Senior Representative’s name, etc. (optionai)
Section 9.2.2 insert Design-Builder’s Representative’s name, etc. (optionai)
Section 10.1 Attach insurance Exhibit
Section 10.2 insert amount and conditions of bonds or other security and note the options that are
provided
Section 11.1 insert any other provisions (optionai)
x Last Page Owner’s and Design-Builder’s execution of the Agreement
instruction Sheet for DB|A Document No. 525 Page 1

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General instructions

 

No.

Subject

instruction

 

Standard Forms

Standard form contracts have long served an important function in the United States and
international construction markets The common purpose of these forms is to provide an
economical and convenient way for parties to contract for design and construction services
As standard forms gain acceptance and are used with increased frequency, parties are able
to enter into contracts with greater certainty as to their rights and responsibilities

 

DB|A Standard
Form Contract
Documents

Since its formation in 1993, the Design-Buiid institute of America (“DBiA”) has regularly
evaluated the needs of owners design-builders and other parties to the design-build
process in preparation for developing its own contract forms Consistentwith DB|A’s mission
of promulgating best design-build practices DB|A believes that the design-build contract
should reflect a balanced approach to risk that considers the legitimate interests of ali
parties to the design-build process DB|A’s Standard Form Contract Documents reflect a
modern risk allocation approach, allocating each risk to the party best equipped to manage
and minimize that risk, with the goal of promoting best design-build practices

 

Use of Non-DB|A
Documents

To avoid inconsistencies among documents used for the same project DB|A’s Standard
Form Contract Documents should not be used in conjunction with non-DB|A documents
unless the non-DB|A documents are appropriately modiHed on the advice of legal counsel.
Moreover, care should also be taken when using different editions of the DB|A Standard
Form Documents on the same project to ensure consistency.

 

 

Legal
Consequences

DBiA Standard Form Contract Documents are legally binding contracts with important legal
consequences Contracting parties are advised and encouraged to seek legal counsel in
completing or modifying these Documents

 

Reproduction

DB|A hereby grants to purchasers a limited license to reproduce its Documents consistent
with the License Agreement accompanying these Documents At least two original versions
of the Agreement should be signed by the parties Any other reproduction of DB|A
Documents is strictly prohibited

 

Modifications

Effective contracting is accomplished when the parties give specific thought to their
contracting goals and then tailor the contract to meet the unique needs of the project and
the design-build team. For that reason, these Documents may require modification for
various purposes inciuding, for example, to comply with local codes and laws or to add
special terms DB|A’s latest revisions to its Documents provide the parties an opportunity to
customize their contractual relationship by selecting various optional contract clauses that
may better reflect the unique needs and risks associated with the project.

Any modifications to these Documents should be initialed by the parties At no time should a
document be re-typed in its entirety. Re-creating the document violates copyright laws and
destroys one of the advantages of standard forms-familiarity with the terms

 

 

Execution

 

it is good practice to execute two original copies of the Agreement. Only persons authorized
to sign for the contracting parties may execute the Agreement.

 

 

instruction Sheet for DBlA Document No. 525

Page 2

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Specific instructions

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Section Title instruction
DB|A Document No. 525 (“Agreement") should be used only when the parties intend that
Owner pay Design-Builder a lump sum fixed price for the completion of all design and
construction services There will be greater mutual understanding and cooperation if the
General Purpose of This lump sum is established based on Owner s Project Criteria that are weil defined
Agreement if there is uncertainty about Owner's Project Criteria, or it remains to be developed by
Owner and Design-Builder jointly, a cost-plus/guaranteed maximum price (“GMP")
contracting approach may be more suitable. in such case, the parties should use DB|A
Document No. 530.
General Purpose of These These instructions are not part of this Agreement, but are provided to aid the parties in
instructions their understanding of the Agreement and in completing the Agreement.
General Related This Agreement shall be used in conjunction with the General Conditions of Contract.
Documents Other related Contract Documents are listed in Article 2 of this Agreement.
On Page 1 , enter the date when both parties reach a final understanding lt is possible, due
to logistical reasons that the dates when the parties execute the Agreement may be
General Date different Once both parties execute the Agreement, the effective date of the Agreement
will be the date recorded on Page 1. This date does not, however, determine Contract
Time, which is measured according to the terms of Article 5.
Parties: Owner On Page, 1 enter the legal name and full address of Owner and Design-Builder, as well as
General and Design- the legal form of each entity, e.g., corporation, partnership, limited partnership, limited
Builder liability company, or other.
The Basis of Design Documents are critical in establishing the scope of work. These
documents include the Owner’s Project Criterial Design-Builder’s Proposai, and the
Deviation List, if any, contained in the Design-Builder’s Proposal. Prior to the execution of
2 1 2 Basis of Design this Agreement, Design-Builder will have submitted its Proposal based on Owner’s Project
' ` Documents Criteria. To avoid ambiguities or conflicts between Owner’s Project Criteria and Design-
Buiider’s Proposai, Design-Builder’s Proposal shall specifically list any deviations from
Owner’s Project Criteria. Design-Builder’s Deviation List shail, if accepted by Owner,
become a Contract Document and shall have precedence over Owner’s Project Criteria.
Construction After execution of the Agreement, and consistent with the requirements of Section 2.4 of
2.1.5 Documents the General Conditions of Contract, Design-Builder will prepare Construction Documents
subject to Owner’s review and approvai.
The Contract Documents are listed in Section 2.1 in the order of their precedence. This
hierarchy of documents reflects DB|A's belief that the Basis of Design Documents are
critical documents that take precedence over other Contract Documents existing at the
Order Of time the Agreement is executed This section also makes clear that if a Deviation List
3.2 Precedence exists it takes precedence over the Owner’s Project Criteria. Moreover, Section 2.1.3
recognizes that there may be other exhibits attached to this Agreement. if this is the case,
the parties should discuss whether these exhibits should be part of the Basis of Design
Documents if these exhibits are not made part of the Basis of Design Documents these
exhibits will not take priority over the Basis of Design Documents in the event of a conflict
. . Terms, words and phrases used in the Agreement shall have the same meanings used in
3'3 Denn'tlons the General Conditions of Contract.
instruction Sheet for DB|A Document No. 525 Page 3

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Section Title instruction
The Owner is cautioned that if it includes design specifications in its Project Criteria, there
Design is case law holding that the Design-Builder is entitled to rely on such information, and to
3.4 S ecincation the extent such information is not accurate, the Design-Builder will be entitled to an
p adjustment in the Contract Price and/or Contract Time. Accordingiy, the Owner to avoid
such potential liability should consider using performance specifications
This Agreement provides that the Design-Builder shall retain ownership of the Work
4 1 Work product Product it produces but obligates Design-Builder to grant a limited license to Ownerto use
' the Work Product according to the terms and circumstances described in Sections 4.2, 4.3,
4.4 and 4.5.
Design-Builder shall grant Owner, at Owner’s sole risk, a limited license to use the Work
Owner,S Limited Product at the completion of the Work in connection with Owner’s occupation of the
4 2 License Upon Project. This Section also provides the parties with the option of transferring ownership of
' Payment in Fu" some or ali of the Work Product to the Owner upon payment in full for ali Work performed
Generally, where the Owner desires ownership of Work Product, it is sufficient to transfer
ownership of unique architectural and design elements
Owner should not use the Termination for Convenience Ciause to obtain Design-Builder’s
Owner’s Limited valuable design concepts and then seek lower bids from other design-builders Therefore,
License Upon where Owner terminates this Agreement for its convenience, and then decides to complete
Owner’s the Project with its own or third-party forces Design-Builder shall grant Owner the rights
4 3 Termination for set forth in Section 4.2, provided Owner pays Design-Builder ali amounts due Design-
' Convenience or Builder as required by the Contract Documents including paying Design-Builder an
Design-Builder’s additional sum per Section 4.3.2 for the use of the Work Product. in the event Design-
Eiection to Builder elects to terminate this Agreement for cause, for reasons set forth in Section 11.4
Terminate of the General Conditions of Contractl these same conditions apply to Owner’s use of the
Work Product.
To minimize disputes the parties should negotiate prior to execution of the Agreement the
4 3 2 Additional amount Owner shall pay Design-Builder forthe use of Design-Builder’s Work Product in the
' ' Compensation event Owner terminates this Agreement for its convenience or Design-Builder elects to
terminate this Agreement for cause. Enter this amount
O|:';'::r::e"c]r:::d if Design-Builder is properly terminated for defauit, Owner is granted a limited license to
4.4 Design_Bu"der,S use the Work Product, to complete the Project, and Owner shall thereafter have the same
Defau|t rights and obligations as set forth in Section 4.2.
Owner’s , . . .
|ndemnmcation Owners use or alteration of the Work Product shall be at its sole risk, and Owner must
4.5 for Use Of Work agree to defend, indemnify and hold harmless Design-Builder and anyone working by or
Product through Design-Builder, including Design Consu|tants of any tier.
5 1 Date of Design-Builder’s obligation to commence work is triggered by its receipt of a Notice to
' Commencement Proceed unless the parties mutually agree otherwise.
Enter the calendar days duration by which Substantial Completion has to be achieved The
Substantial parties in this Section have the option of modifying the definition of Substantial Completion
5_2_1 Completion Of the set forth in the General Conditions of Contract if they want to use a Temporary Certificate
Entire Work of Occupancy as the benchmark. if this option is selected, Substantial Completion will be

deemed to be achieved no later than the date a Temporary Certincate of Occupancy is
issued if applicable to the Project.

 

 

 

 

instruction Sheet for DB|A Document No. 525

Page 4

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Section

Title

instruction

 

5.2.2

interim
Milestones

it may be that some portions of the Work must be completed in phases or within a
prescribed period of time to accommodate Owner’s needs The parties may, at their option,
identify these portions of the Work to be completed prior to Substantial Completion of the
entire Work. Enter the calendar days starting from the Date of Commencement for
achieving Substantial Completion of these identified portions of the Work. if these portions
of the Work are required to be substantially completed by certain milestone dates enter
those dates As presently drafted no remedy is provided to the Owner if an interim
milestone is not met if the Owner has special requirements as it relates to interim
vmilestones, the Owner may want to consider a remedy for the Design-Builder’s failure to
meet an interim milestone, as weil as a bonus to the Design-Builder for satisfying such
interim milestone.

 

 

5.4

Liquidated
Damages

Owner should make a good faith evaluation of the amount that is reasonably necessary to
compensate it for delay. Owner should not establish liquidated damages to penalize
Design-Builder.

Section 5.4 establishes a grace period between the Scheduled Substantial Completion
Date and the assessment of liquidated damages in order to prevent disputes as to which
party bears responsibility for only a few days of delay. The parties should enter the
calendar days that may pass following the Scheduled Substantial Completion Date before
liquidated damages will be assessed The parties are also provided the option of
establishing liquidated damages if the Design-Builder fails to achieve Final Completion
within a specified number of days after Substantial Completion. if this option is selected,
the parties have to negotiate the number of days as weil as the liquidated damages
amount The parties in negotiating liquidated damages should keep in mind that the
amount of liquidated damages for failing to achieve Final Completion should be a
considerably scaled down amount and should reflect the financial harm to the Owner. in no
case should the total amount of liquidated damages forthe Project exceed an amount that
is reasonably necessary to compensate Owner for Project delay.

The parties also have the option here of eliminating liquidated damages altogether, in
which case the Owner can recover actual damages for Project delay at an amount that is
capped by the parties The Owner is cautioned that even if this option for actual damages
is selected it still cannot recover consequential damages as these are waived under
Section 10.5.1 of the General Conditions of Contract.

 

5.5

Liquidated
Damages Cap

The parties can agree to cap liquidated damages for delay at a negotiated amount

 

5.6

Early Completion
Bonus

if the Project economics justify liquidated damages then it is appropriate to couple these
liquidated damages with an early completion bonus The parties should enter the number
of calendar days prior to the Scheduled Substantial Completion Date that will set the Bonus
Date. A|so, enter the amount of the bonus to be paid per day that will allow Owner to share
with Design-Builder the economic benefits of early completion. The parties also have the
option in Section 5.6 of capping the early completion bonus at a negotiated amount

 

5.7

Compensation for
Force Majeure
Events

The parties are provided the opportunity of providing the Design-Builderthe right to receive
compensation for Force Majeure Events. By selecting this option, the parties agree to
modify Section 8.2.2 of the General Conditions of Contract, in which case the parties have
to negotiate how many cumulative days of Force Majeure delays must occur before the
Design-Builder is entitled to eithera negotiated amount per day for delay or the direct costs
it has incurred as a result of such delay.

 

6.1

 

Contract Price

 

Enter the lump sum price Owner will pay Design-Builder for the Scope of Work. The
Contract Price should compensate Design-Builder for the services it provides and the risk it
assumes in providing single point responsibility to Owner.

 

 

instruction Sheet for DB|A Document No. 525

Page 5

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Section

Title

instruction

 

6.2

Markups for
Changes

Enter the markups agreed upon by Design-Builder and Owner to be used for pricing
Changes to the Work. Prior to negotiating or agreeing to these markups both parties
should familiarize themselves with Article 9 of the General Conditions of Contract, Changes
to the Contract Price and Time. For additive Change Orders the parties have to negotiate
the Fee the Design-Builder will receive. For deductive Change Orders parties have the
option by checking the appropriate box of whether there will be no additional reduction or
whether there will be an additional reduction based on a negotiated percentage.

 

6.3.4

Allowance Vaiue

This section recognizes that the parties may agree that certain items of Work should be
treated as an Allowance item and priced based on Allowance Vaiues. The Allowance Vaiue
for which the Design-Builder will be entitled to receive compensation includes direct cost of
labor, materials equipment, transportation, taxes and insurance associated with the
Allowance ltem. All other costs associated with the Allowance item, such as design fees
general conditions costs and fee, are deemed to be included in the Contract Price.
However, the parties agree that in the event the actual cost of the Allowance item is
greater than or less than the Allowance Vaiue by a negotiated percentage, then Design-
Buiider’s right to Fee and markup shall be determined pursuant to Section 6.2.

 

6.4

Performance
incentives

There may be performance incentives that will influence Project success Such incentives
may include award fees tied to the Design-Builder achieving certain standards relative to
client satisfaction, safety, and personnel retention. The parties are encouraged to discuss
the use of such incentives during negotiation of this Agreement. Any agreement on the use
of incentives should be set forth in an exhibit attached to this Agreement.

 

Progress
Payments

Enter the day of the month when Design-Builder shall submit its Application for Payment.

 

7.2.1

Retainage

Enter the percentage Owner will retain from Progress Payments to Design-Builder until fifty
percent (50%) of the Work is completed Owner should recognize that it creates undue
hardship to hold retainage on Subcontractors that have completed their work early in the
Project. Owner should accordingly consider releasing retainage on Subcontractors that
complete work early in the Project, providing that these Subcontractors have satisfactorily
performed their portion of the Work.

The parties are provided the option of modifying the retainage provision by checking the
box. This option excludes from retainage the Design-Builder’s General Conditions costs
and amounts paid to Design-Builder’s Design Consu|tant. The rationale for selecting this
option is that the Design-Builder is obligated to pay its General Conditions costs in full each
month and that under the design-bid-buiid delivery method, the Owner typically does not
retain sums from its designer.

 

7.4

interest

The parties should enter the rate at which interest will accrue on Design-Builder’s
payments if unpaid five (5) days after due. Late payment creates a hardship for Design-
Buiider, its Design Consu|tants and Subcontractors

 

7.5

 

Record Keeping

 

The Owner is provided access to Design-Builder’s accounting information as it relates to
changes of the Work. However, if the parties have agreed to multipliers or markups for
changes the time to challenge and negotiate those percentages is at the time the parties
execute the Agreement and not during the Project or after it has been completed
Accordingiy, the Owner can at any time audit these percentages only to confirm that such
percentage has been properly charged and not to challenge the composition of such
percentage

 

 

instruction Sheet for DB|A Document No. 525

Page 6

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Section Title instruction
The parties should choose prior to execution of the Agreement the method that will be
T . . used to determine overhead and profit paid to Design-Builder in the event Owner
ermination for . . . . . .
Convenience terminates Design-Builder for its convenience._The parties may choose to set percentage
8.1.3 0 rates for overhead and profit prior to execution of the Agreement, or may choose to
verhead and . . .
Profit determine reasonable sums to be paid for overhead and profit at the time of the
termination, if the parties choose to set overhead and profit rates prior to execution of the
Agreement, the percentages should be entered in Section 8.1.3.
Although it is important for Owner to have a process for terminating this Agreement for
convenience, the process must consider the interests of Design-Builder. if Owner
Termination for terminates this Agreement for its own convenience, compensating Design-Builder for its
Convenience costs will not be adequate because Design-Builder will have committed its resources for a
8.2 Additional ' small amount of revenue. Therefore, in addition to the overhead and profit paid in Section
Payments 8.1, aner shall pay Design-Builder an additional sum, calculated as a percentage of the
remaining balance of the Contract Price. Enter the percentages Owner shall pay Design-
Buiider if Owner terminates this Agreement for its own convenience prior to or after the
start of construction.
Termination for Owner should not use the Termination for Convenience clause to obtain Design-Builder’s
Convenience valuable design concepts and then seek lower bids from another design-builder. if Owner
8.3 0 , ' terminates this Agreement for its own convenience, and chooses to proceed with the
wners Use of . . . . , . .
Work Product Project using Design-Builder s Work Product, Owner should pay an additional sum for the
use of Design-Builder’s Work Product pursuant to Section 4.3.
Enter the name, title, address and telephone number of Owner’s Senior Representative
and Owner’s Representative at Sections 9.1.1 and 9.1.2, respectively.
Enter the name, title, address and telephone number of Design-Builder’s Senior
Article Representatives Represtent|ative and Design-Builder’s Representative at Sections 9.2.1 and 9.2.2l
9 of the Parties respec 'Ve y'
The parties can elect to establish Representatives during the performance of the Project
rather than at the time of execution of this Agreement. if Representatives are identified
after execution of the Agreement, an appropriate amendment should be made to the
Agreement at the time these individuals are designated
Attach an insurance Exhibit setting forth in detail the insurance coverages required for the
10 1 lnsurance Project. Parties are advised to familiarize themselves With the terms of Article 5 of the
' General Conditions of Contract, insurance and Bonds and to consult their insurance
advisor.
Enterthe type and amount of bonds or other performance security required for the Project.
10.2 Bonds Where bonding is not required by statute, Owner may want to evaluate the project risks
versus the bonding costs in deciding what type of performance security to require.
insert any other provisions For example, the parties may elect to have disputes resolved
11.1 Other Provisions through litigation rather than arbitration in which case the optional language in this Section

 

 

should be included

 

 

instruction Sheet for DB|A Document No. 525

Page 7

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TABLE OF CONTENTS

Article Name

Page

Article 1 Scope of Work ................................................................................................. 4
Article 2 Contract Documents ........................................................................................ 4
Article 3 interpretation and intent ................................................................................... 4
Article 4 Ownership of Work Product ............................................................................. 5
Article 5 Contract Time .................................................................................................. 6
Article 6 Contract Price .................................................................................................. 7
Article 7 Procedure for Payment .................................................................................... 9
Article 8 Termination for Convenience ......................................................................... 10
Article 9 Representative of the Parties ........................................................................ 11
Article 10 Bonds and insurance .................................................................................... 11
Article 11 Other Provisions ........................................................................................... 12

Case 1:19-cv-OOO79-WCG Filed 01/14/19 Page 95 of 122 Document 1

 

DB|A

 

 

 

Standard Form of Agreement Between
Owner and Design-Builder - Lump Sum

This document has important legal consequences Consultation with
an attorney is recommended with respect to its completion or modification

 

This AGREEMENT is made as of the 10th day of Februarv in the
year 2018, as amended August 10, 2018, by and between the following parties for services in connection with

the Project identified beiow.

OWNER:

(Name and address)

Mica Deerfield

19115 Mossy Hedge Lane
Katy, Texas 77449
808-339-1958

mica.deeriieid@gmail.com

DES|GN-BU|LDER:

(Name and address)

MODS lnternational, lnc.

5523 West integrity Way

Appleton, Wi 54913

800-869-1277 Main Office

920-574-0215 Cell phone for Douglas Larson
diarson@modsinternational.com

PROJECT:

(lnc/ude Project name and location as it will appear in the Contract Documents)

Four New Container Residences located at 14-3734 Government Beach Road
Pahoa, Hawaii
New Building Lot

 

DB|A Document No. 525 Page 1
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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in consideration of the mutual covenants and obligations contained herein, Owner and Design-Builder agree
as set forth herein.

Weekly updates to the Project Pian in Excel format provided to Owner.
Architectural design including engineering with wet stamped plans

Design based on owner drawing as previously discussed

8 New Shipping containers 20’x8’x9’-6” giving you a clear height of 9’ inside 16’x20’ foot print each unit
Structural steel welded in place as designed by our structural engineer
Concrete foundation using piers with steel plate embedded in top

Excavation for piers and minor site grading

Containers welded to steel plates in piers

Landscape by others

Transportation from factory to your building location

Crane or ali terrain forklift for placement on piers

Tapered foam insulated roof panels

White rubber membrane roof system

New Excel 10 wind turbine with tower installed

48”x48” sliding windows on side walls

15’ curtain wall windows on front of units as previously shown with screens and inserted mini-blinds
Smoothed edges on discarded metal glass protectors

Stealth metal panels with color choice

1/2" reveal between panels

interior walls framed with 2x ” wood studs

Foam insulation

5/8” type X fire rated drywall with knockdown finish

Primed and painted with two coats of paint colors to be determined

interior metal ceiling to be painted per your choice of colors

9’ clear height ceiling level for maximum height

interior doors pre-hung with solid panel core

Door hardware to be selected

50amp electrical service with electrical design per code

interior wall sconce lights and ceiling lights as needed using low voltage LED
Ceiling fans (3) per unit

Exterior lights

CAT5 cables for TV and internet pre-wired

Plumbing design

Septic System

Bathroom with Kohler or equal fixtures

Water Catchment System

Shower module with mixer and hand wand

Mirror, medicine cabinet, all towel bars and paper holders (finish to be determined)
Three units have kitchen cabinets upper and lower with sink

Corian counter tops with over 100 color selections

Appliances by owner

One unit has lower cabinets and space for minifridge (furnished by MODS)
Flooring to be Armstrong lux vinyl wood grain or carpet tiles (to be determined)
Hard tiles in bathroom (Ceramic or equai)

Single Wind Turbine

HVAC using Mitsubishi Mini-spiit system with remote control

Project supervision on site by MODS staff

Project manager and interior designer assigned to project

 

DBIA Document No. 525 Page 2
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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Final cleaning before turn over to owner
Project warranty of one full year from date of turn over

Price Breakdown

Each Unit $45,000 with stealth panels
Transportation 4,390 Each unit
Single Wind Turbine 4,000 Each unit (The Turbine is $16,000/4 Units iowers the overall price)

Totai investment $53,390 Each x 4 units equals $213,560

Payment Schedu|e:

50% Due at contract execution $106,780
25% Due when building components are ready to ship from factory to your building site. $53,390

25% Due at completion and units are ready to move in to. $53,390

 

DB|A Document No. 525 Page 3
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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Article 1
Scope of Work

1.1 Design-Builder shall perform all design and construction services and provide all material, equipment,
tools and laborl necessary to complete the Work described in and reasonably inferable from the Contract
Documents

Article 2

Contract Documents

2.1 The Contract Documents are comprised of the following:

2.1.1 All written modiHcations amendments minor changes and Change Orders to this Agreement
issued in accordance with DB|A Document No. 535, Standard Form of General Conditions of
Contract Between Owner and Design-Builder (2010 Edition) (“General Conditions of Contract”);

2.1.2 The Basis of Design Documents including the Owner’s Project Criteria, Design-Builder’s
Proposal and the Deviation List, if any, contained in the Design-Builder’s Proposai, which shall
specifically identify any and ali deviations from Owner’s Project Criteria;

2.1.3 This Agreement, including all exhibits and attachments executed by Owner and Design-
Buiider (List for example, performance standard requirements, performance incentive requirements,
markup exhibits allowances or unit prices);

2.1.4 The General Conditions of Contract; and

2.1.5 Construction Documents prepared and approved in accordance with Section 2.4 of the
General Conditions of Contract.

Article 3

interpretation and intent

3.1 Design-Builder and Ownerl prior to execution of the Agreement, shall carefully review all the Contract
Documents including the various documents comprising the Basis of Design Documents for any conflicts or
ambiguities Design-Builder and Owner will discuss and resolve any identified conflicts or ambiguities prior to
execution of the Agreement.

3.2 The Contract Documents are intended to permit the parties to complete the Work and all obligations
required by the Contract Documents within the Contract Time(s) for the Contract Price. The Contract
Documents are intended to be complementary and interpreted in harmony so as to avoid conflict with words
and phrases interpreted in a manner consistent with construction and design industry standards in the event
inconsistencies conflicts or ambiguities between or among the Contract Documents are discovered after
execution of the Agreement, Design-Builder and Owner shall attempt to resolve any ambiguity, conflict or
inconsistency informaiiy, recognizing that the Contract Documents shall take precedence in the order in which
they are listed in Section 2.1 hereof. Confiicts existing within Section 2.1.2 shall be resolved by giving
precedence first to the Deviation List, if any, then the Owner’s Project Criteria, and then the Design-Builder’s
Proposal.

3.3 Terms, words and phrases used in the Contract Documents including this Agreement, shall have the
meanings given them in the General Conditions of Contract.

3.4 if Owner’s Project Criteria contain design specifications (a) Design-Builder shall be entitled to
reasonably rely on the accuracy of the information represented in such design specifications and their

 

DBIA Document No. 525 Page 4
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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compatibility with other information set forth in Owner’s Project Criteria, including any performance
specifications and (b) Design-Builder shall be entitled to an adjustment in the Contract Price and/or Contract
Time(s) to the extent Design-Builder’s cost and/ortime of performance have been adversely impacted by such
inaccurate design specificationl

3.5 The Contract Documents form the entire agreement between Owner and Design-Builder and by
incorporation herein are as fully binding on the parties as if repeated herein. No oral representations or other
agreements have been made by the parties except as specifically stated in the Contract Documents

Article 4

Ownership of Work Product

4.1 Work Product. All drawings specifications and other documents and electronic data. including such
documents identified in the General Conditions of Contract, furnished by Design-Builder to Owner under this
Agreement (“Work Product”) are deemed to be instruments of service and Design-Builder shall retain the
ownership and property interests therein, including but not limited to any intellectual property rights copyrights
and/or patents subject to the provisions set forth in Sections 4.2 through 4.5 beiow.

4.2 0wner’s Limited License Upon Project Completion and Payment in Fuli to Design-Builder.
Upon Owner’s payment in full for ali Work performed under the Contract Documents Design-Builder shall
grant Owner a limited license to use the Work Product in connection with Owner’s occupancy of the Project,
conditioned on Owner’s express understanding that its alteration of the Work Product without the involvement
of Design-Builder is at Owner’s sole risk and without liability or legal exposure to Design-Builder or anyone
working by or through Design-Builder, including Design Consu|tants of any tier (collectively the “lndemniHed
Parties")l and on the Owner’s obligation to provide the indemnity set forth in Section 4.5 beiow.

[At the parties' option, one of the following may be used in lieu of Section 4.2]:

I:l Upon Owner’s payment in full for ali Work performed under the Contract Documents Design-Builder:
(a) grants Owner a limited license to use the Work Product in connection with Owner’s occupancy of the
Project; and (b) transfers ali ownership and property interests including but not limited to any intellectual
property rights, copyrights and/or patents in that portion of the Work Product that consists of architectural and
other design elements and speciHcations that are unique to the Project. The parties shall specifically designate
those portions of the Work Product for which ownership in the Work Product shall be transferred Such grant
and transfer are conditioned on Owner’s express understanding that its alteration of the Work Product without
the involvement of Design-Builder is at Owner’s sole risk and without liability or legal exposure to Design-
Builder or anyone working by or through Design-Builder, including Design Consu|tants of any tier (collectively
the “lndemnified Parties”), and on the Owner’s obligation to provide the indemnity set forth in Section 4.5
beiow.

OI'

§ Upon Owner’s payment in full for ali Work performed under the Contract Documents Design-Builder
transfers to Owner ali ownership and property interests including but not limited to any intellectual property
rights copyrights and/or patents in the Work Product. Such transfer is conditioned on Owner’s express
understanding that its alteration of the Work Product without the involvement of Design-Builder is at 0wner’s
sole risk and without liability or legal exposure to Design-Builder or anyone working by or through Design-
Buiider, including Design Consu|tants of any tier (collectively the “lndemnified Parties”), and on the Owner’s
obligations to provide the indemnity set forth in Section 4.5 beiow.

4.3 Owner’s Limited License upon Owner’s Termination for Convenience or Design-Builder’s
Eiection to Terminate. if Owner terminates this Agreement for its convenience as set forth in Article 8 hereof,

 

DB|A Document No. 525 Page 5
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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or if Design-Builder elects to terminate this Agreement in accordance with Section 11 .4 of the General
Conditions of Contract Design-Builder shaii, upon Owner’s payment in full of the amounts due Design-Builder
under the Contract Documents grant Owner a limited license to use the Work Product to complete the Project
and subsequently occupy the Project, and Owner shall thereafter have the same rights as set forth in Section
4.2 above, conditioned on the following:

4.3.1 Use of the Work Product is at Owner’s sole risk without liability or legal exposure to any
indemnified Party and on the Owner’s obligation to provide the indemnity set forth in Section 4.5
beiow; and

4.3.2 Owner agrees to pay Design-Builder the additional sum of thirty-five_thousand

Do|lars ($ 35,000) as compensation for the right to use the Work Product to complete the Project and
subsequently use the work Product in accordance with Section 4.2 if Owner resumes the Project
through its employees agents or third parties

4.4 Owner’s Limited License upon Design-Builder's Defau|t. if this Agreement is terminated due to
Design-Builder’s default pursuant to Section 11.2 of the General Conditions of Contract, then Design-Builder
grants Owner a limited license to use the Work Product to complete the Project and subsequently occupy the
Project, and Owner shall thereafter have the same rights and obligations as set forth in Section 4.2 above.
Notwithstanding the preceding sentence, if it is ultimately determined that Design-Builder was not in default
Owner shall be deemed to have terminated the Agreement for convenience, and Design-Builder shall be
entitled to the rights and remedies set forth in Section 4.3 above.

4.5 0wner’s indemnification for Use of Work Product. if Owner is required to indemnify any
indemnihed Parties based on the use or alteration of the Work Product under any of the circumstances
identified in this Article 4, Owner shall defend, indemnify and hold harmless such indemnified Parties from and
against any and ali claims damages liabilities losses and expenses including attorneys’ fees arising out of
or resulting from the use or alteration of the Work Product.

Article 5

Contract Time

5.1 Date of Commencement. The Work shall commence within five (5) days of Design-Builder’s receipt
of Owner’s signed contract (“Date of Commencement”) unless the parties mutually agree othen/vise in writing.

5.2 Substantial Completion and Final Completion.

5.2.1 Substantial Completion of the entire Work shall be achieved no later than one hundred twenty
( 90 ) calendar days after the Date of Commencement (“Scheduled Substantial
Completion Date”).

[At the parties’ option, the following supplemental language may be inserted at the end of
Section 5.2.1. if the Project is subject to a Temporary Certificate of Occupancy]

le The parties agree that the definition for Substantial Completion set forth in Section 1 .2.18 of
the General Conditions of Contract is hereby modiHed to read as follows:

“Substantia/ Completlon is the date on which the Work, or an agreed upon portion of the Work, is
sufficiently complete in accordance with the Contract Documents so that Owner can occupy and use
the Project or a portion thereof for its intended purposes providedl however, that Substantial
Completion shall be deemed to have been achieved no later than the date of issuance of a Temporary
Certificate of Occupancy issued by the local building officiai."

 

DB|A Document No. 525 Page 6
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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5.2.2 interim milestones and/or Substantial Completion of identified portions of the Work

(“Scheduled interim Milestone Dates”) shall be achieved as follows: (insen any interim milestones forporiions
of the Work With different scheduled dates for Substantial Completion)

5.2.3 Final Completion of the Work or identified portions of the Work shall be achieved as
expeditiously as reasonably practicable Final Completion is the date when all Work is complete
pursuant to the definition of Final Completion set forth in Section 1.2.7 of the General Conditions of
Contract.

5.2.4 All of the dates set forth in this Article 5 (collectively the “Contract Time(s)") shall be subject to
adjustment in accordance with the General Conditions of Contract.

5.3 Time is of the Essence. Owner and Design-Builder mutually agree that time is of the essence with
respect to the dates and times set forth in the Contract Documents

Article 6

Contract Price

6.1 Contract Price. Owner shall pay Design-Builder in accordance with Article 6 of the General
Conditions of Contract the sum of two hundred thirteen thousa_rg, five hundred sixty Do|lars ($
213,560)

(“Contract Price”), subject to adjustments made in accordance with the General Conditions of Contract. Uniess
othenivise provided in the Contract Documents the Contract Price is deemed to include ali sales use,
consumer and other taxes mandated by applicable Legal Requirements.

6.2 Markups for Changes if the Contract Price requires an adjustment due to changes in the Work, and
the cost of such changes is determined under Sections 9.4.1.3 or 9.4.1.4 of the General Conditions of
Contract, the following markups shall be allowed on such changes

6.2.1 For additive Change Orders including additive Change Orders arising from both additive and
deductive items it is agreed that Design-Builder shall receive a Fee of fifteen

percent ( 15 %) of the additional costs incurred for that Change Order,
plus any other markups set forth at Exhibit hereto.

6.2.2 For deductive Change Orders including deductive Change Orders arising from both
additive and deductive items the deductive amounts shall inciude:

 

[Check one box only]
I:I No additional reduction to account for Design-Builder’s Fee or any other markup.
or
DB|A Document No. 525 Page 7

Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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§ An amount equal to the sum of: (a) fifteen

 

percent ( 15 %) applied to the direct costs of the net reduction (which amount will
account for a reduction associated with Design-Builder’s Fee); plus (b) any other markups set

forth at Exhibit hereto applied to the direct costs of the net reduction.

6.3 Allowance items and Allowance Vaiues.

6.3.1 Any and all Allowance items as well as their corresponding Allowance Vaiues are set forth in

an Exhibit hereto.

6.3.2 Design-Builder and Owner have worked together to review the Allowance items and
Allowance Vaiues based on design information then available to determine that the Allowance Vaiues
constitute reasonable estimates for the Allowance items Design-Builder and Owner will continue
working closely together during the preparation of the design to develop Construction Documents
consistent with the Allowance Vaiues. Nothing herein is intended in any way to constitute a guarantee
by Design-Builder that the Allowance item in question can be performed for the Allowance Vaiue.

6.3.3 No work shall be performed on any Allowance item without Design-Builder first obtaining in
writing advanced authorization to proceed from Owner. Owner agrees that if Design-Builder is not
provided written authorization to proceed on an Allowance item by the date set forth in the Project
schedule, due to no fault of Design-Builder, Design-Builder may be entitled to an adjustment of the

Contract Time(s) and Contract Price

6.3.4 The Allowance Vaiue for an Allowance item includes the direct cost of labor, materials
equipment transportation, taxes and insurance associated with the applicable Allowance ltem. All
other costs including design fees Design-Builder’s overall project management and general
conditions costs overhead and fee, are deemed to be included in the original Contract Price, and are

not subject to adjustment, regardless of the actual amount of the Allowance ltem.

[In the alternative, the parties may want to delete Section 6.3.4 and add the following

pro vision.]

[:l in the event the actual direct cost of labor, materials equipment, transportation, taxes and
insurance associated with an Allowance item is fifteen percent (1_5%) greater than or less than the
Allowance Vaiue for such Allowance item, Design-Builder and Owner agree that Design-Builder’s right

to Fee and markup shall be adjusted in accordance with Section 6.2.

6.3.5 Whenever the actual costs for an Allowance item is more than or less than the stated
Allowance Vaiue, the Contract Price shall be adjusted accordingly by Change Order, subject to
Section 6.3.4. The amount of the Change Order shall reflect the difference between actual costs

incurred by Design-Builder for the particular Allowance item and the Allowance Vaiue

6.4 Performance incentives

6.4.1 Owner and Design-Builder have agreed to the performance incentive arrangements set forth

in Exhibit N[A .

[The parties are encouraged to discuss and agree upon performance incentives that will influence project success These
incentives may consist of Award Fees, incentives for safety, personnel retention, client satisfaction and similar items ]

 

DB|A Document No. 525
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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Page 8

Article 7

Procedure for Payment
7.1 Progress Payments

See Payment Schedule above.

7.2 Retainage on Progress Payments

7.2.1 Owner will retain zero percent ( 0 %) of each Application for
Payment provided, however, that when fifty percent (50%) of the Work has been satisfactorily
completed by Design-Builder and Design-Builder is otherwise in compliance with its contractual
obligations Owner will not retain any additional retention amounts from Design-Builder’s subsequent
Applications for Payment. Owner will also reasonably consider reducing retainage for Subcontractors
completing their work early in the Project.

[Design-Builder and Owner may want to consider substituting the following retainage
provision.]

I:l Owner will retain zero percent ( 0 %) from Design-Builder’s
Applications for Payment, exclusive of general conditions costs and any amounts paid to Design-
Buiider’s Design Consu|tant, from each Application for Payment provided, however, that when fifty
percent (50%) of the Work has been satisfactorily completed by Design-Builder and Design-Builder is
othenivise in compliance with its contractual obligations Owner will not retain any additional amounts
from Design-Builder’s subsequent Applications for Payment. Owner will also reasonably consider
reducing retainage for Subcontractors completing their work early in the Project.

7.2.2 Within fifteen (15) days after Substantial Completion of the entire Work or, if applicable, any
portion of the Work, pursuant to Section 6.6 of the General Conditions of Contract, Owner shall
release to Design-Builder ali retained amounts reiating, as applicable, to the entire Work or completed
portion of the Work, less an amount equal to (a) the reasonable value of all remaining or incomplete
items of Work as noted in the Certificate of Substantial Completion and (b) all other amounts Owner is
entitled to withhold pursuant to Section 6.3 of the General Conditions of Contract.

7.3 Final Payment. Design-Builder shall submit its Final Application for Payment to Owner in accordance
with Section 6.7 of the General Conditions of Contract. Owner shall make payment on Design-Builder’s
properly submitted and accurate Final Application for Payment within thirty (30) days after Owner’s receipt of
the Final Application for Payment, provided that Design-Builder has satisfied the requirements for final
payment set forth in Section 6.7.2 of the General Conditions of Contract.

7.4 interest Payments due and unpaid by Owner to Design-Builder, whether progress payments or Hnai
payment, shall bear interest commencing five (5) days after payment is due at the rate of six
percent ( 6 %) per month until paid

7.5 Record Keeping and Finance Contro|s. With respect to changes in the Work performed on a cost
basis by Design-Builder pursuant to the Contract Documents Design-Builder shall keep full and detailed
accounts and exercise such controls as may be necessaryfor properfinancial management using accounting
and control systems in accordance with generally accepted accounting principles and as may be provided in
the Contract Documents During the performance of the Work and for a period of three (3) years after Final
Payment, Owner and Owner’s accountants shall be afforded access to, and the right to audit from time-to-
time, upon reasonable notice, Design-Builder’s records books correspondence receipts subcontracts
purchase orders vouchers memoranda and other data relating to changes in the Work performed on a cost
basis in accordance with the Contract Documents all of which Design-Builder shall preserve for a period of

 

DB|A Document No. 525 Page 9
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

©201°96€€5%11:'19“0€/°@007‘9-WCG Filed 01/14/19 Page 104 of 122 Document 1

three (3) years after Final Payment. Such inspection shall take place at Design-Builder’s oches during normal
business hours unless another location and time is agreed to by the parties Any multipliers or markups agreed
to by the Owner and Design-Builder as part of this Agreement are only subject to audit to confirm that such
multiplier or markup has been charged in accordance with this Agreement, with the composition of such
multiplier or markup not being subject to audit.

Article 8

Termination for Convenience

8.1 Upon ten (10) days’ written notice to Design-Builderl Owner may, for its convenience and without
cause, elect to terminate this Agreement. in such event, Owner shall pay Design-Builder for the following:

8.1.1 All Work executed and for proven loss cost or expense in connection with the Work;

8.1.2 The reasonable costs and expenses attributable to such termination, including demobilization
costs and amounts due in settlement of terminated contracts with Subcontractors and Design
Consu|tants; and

8.1.3 (Choose one of the following:)

|:I The fair and reasonable sums for overhead and profit on the sum of items 8.1,1 and 8.1.2 above.

or
|Xl Overhead and profit in the amount of twenty percent( 20 %)onihe
sum of items 8.1.1 and 8.1.2 above.
8.2 ln addition to the amounts set forth in Section 8.1 above, Design-Builder shall be entitled to receive

one of the following as applicable:

8.2.1 lf Owner terminates this Agreement prior to commencement of construction, Design-Builder
shall be paid twenty five percent ( 25 %) of the remaining
balance of the Contract Price.

8.2.2 lf Owner terminates this Agreement after commencement of construction, Design-Builder
shall be paid percent ( %) of the remaining balance of
the Contract Price.

8.3 lf Owner terminates this Agreement pursuant to Section 8.1 above and proceeds to design and
construct the Project through its employees agents or third parties Owner’s rights to use the Work Product
shall be as set forth in Section 4.3 hereof. Such rights may not be transferred or assigned to others without
Design-Builder’s express written consent and such third parties’ agreement to the terms of Article 4.

[The following Article 9 should be used only if the Owner and Design-Builder agree to establish
their respective representatives at the time the Agreement is executed rather than during the
performance of the Project.]

 

DB|A Document No. 525 Page 10
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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Article 9

Representatives of the Parties

9.1 Owner’s Representatives

9.1.1 Owner designates the individual listed below as its Senior Representative ("Owner’s Senior
Representative"), which individual has the authority and responsibility for avoiding and resolving
disputes under Section 10.2.3 of the General Conditions of Contract: (/dentifyindividua/'s name, tir/e, address
and telephone numbers)

9.1.2 Owner designates the individual listed below as its Owner's Representative, which individual
has the authority and responsibility set forth in Section 3.4 of the General Conditions of Contract;
(ldentify individual’s name, title, address and telephone numbers)

9.2 Design-Builder’s Representatives

9.2.1 Design-Builder designates the individual listed below as its Senior Representative ("Design-
Builder’s Senior Representative"), which individual has the authority and responsibility for avoiding
and resolving disputes under Section 10.2.3 of the General Conditions of Contract; (/dentify individuals
name, title, address and telephone numbers)

Dick Vock, Project Manager above address with mobile number of 314-406-4350

9.2.2 Design-Builder designates the individual listed below as its Design-Builder’s Representative,
which individual has the authority and responsibility set forth in Section 2.1.1 of the General
COnditiOnS Of Contract; (ldentify individual’s name, title, address and telephone numbers)

Same as above

Article 10

Bonds and insurance

10.1 lnsurance. Design-Builder and Owner shall procure the insurance coverages set forth in the
insurance Exhibit attached hereto and in accordance with Article 5 of the General Conditions of Contract.

10.2 Bonds and Other Performance Security. Design-Builder shall provide the following performance
bond and labor and material payment bond or other performance security:

 

DBIA Document No. 525 Page 11
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

©ZoioD@M‘T:'TWLWWUV‘B-WCG Filed 01/14/19 Page 106 of 122 Document 1

[Check one box only. lf no box is checked, then no bond is required.]

I:I Required IX] Not Required

Payment Bond.

[Check one box only. lf no box is checked, then no bond is required.]

\:I Required IE Not Required

Other Performance Security.

[Check one box only. lf no box is checked, then no other performance security is required.
If the “Required” box is checked, identify below the specific performance security that is
being required and all salient commercial terms associated with that security.]

[:] Required le Not Required

Article 11

Other Provisions
11.1 Other prOViSiQt’\S, if any, are as fOIIOWS: (/nsert any additional provisions)

[Section 2.3.1 of the General Conditions of Contract sets forth a traditional negligence
standard as it relates to the Design-Builder’s performance of design professional services |f
the Basis of Design Documents identify specific performance standards that can be
objectively measured, the parties by including the following language, agree that the Design-
Builder is obligated to achieve such standards.]

>X< Notwithstanding Section 2.3.1 of the General Conditions of Contract, if the parties agree upon
specific performance standards in the Basis of Design Documents the design professional services
shall be performed to achieve such standards

[ln lieu of Sections 10.3.1 through 10.3.3 of the General Conditions of Contract, the parties
may want to delete such sections and include the following alternative dispute resolution
clause.]

 

DB|A Document No. 525 Page 12
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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XX Any claims disputes or controversies between the parties arising out of or related to the Agreement,
or the breach thereof, which have not been resolved in accordance with the procedures set forth in Section
10.2 of the General Conditions of Contract shall be resolved in mediation or arbitration in the State of
Wisconsin. Both parties agree to non-court settlementl

 

DB|A Document No. 525 Page 13
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

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ln executing this Agreement, Owner and Design-Builder each individually represents that it has the necessary
financial resources to fulfill its obligations under this Agreement, and each has the necessary corporate
approvals to execute this Agreement, and perform the services described herein.

 

 

 

 

CWNER: DES|GN-BU|LDER:
Mica Deerfield MODS lnternational, lnc.
(Name of Owner) (Name of Design-Builder)
77&'¢¢¢ @ee¢{¢'e% f

(Signature) g§/g%;urel

Mica Deerfield Douglas Larson

(Printed Name) (Printed Name)

Owner President

(Title) (Title)

Date: Date: Februag( 10, 2018

Caution: You should sign an original DBlA document which has this caution printed in blue. An
original assures that changes will not be obscured as may occur when documents are reproduced.

 

DB|A Document No. 525 b Page 14
Standard Form of Agreement Between Owner and Design-Builder - Lump Sum

©zoloD@M‘T:'th-WU€DUV‘§-WCG Filed 01/14/19 Page 109 of 122 Document 1

From: Mica Deerfield <rnica.deerfleld@gmail.com>

Date: Tue, Aug 21, 2018 at 12:14 PM

Subj ect: Contract for Hawaii project

To: Mods Container Homes Doug <dlarson@modsinternational.com>
Cc: Briggs Noble <bnoble@modsinternational.corn>

In accordance With our current contract, I’m hereby stating that I Would like to proceed With the
contract. I prefer a Substantially completion date of December 1, however, the contract calls for
120 days Which Would be January l, 2019. Please begin Work and keep me informed as to our
status Thank you.

Mica Sunday Deerfield

Wild Hawaii
808-339-1958

Case 1:19-cv-00079-WCG Filed 01/14/19 Page 110 of 122 Docu 1.

 

>> From: Mica Deerfield <mica.deerfield@gmail.com>

>> Sent: Monday, August 27, 2018 2:49 PM

>> To: Doug Larson MODS <dlarson@modsinternational.com>

>> Subject: Hawaii Project

>>

>> Hi Doug, Ihaven’t heard back from you about getting my project started again. Please let me
know What is our status I tried calling Briggs but he said he had not heard from you about it
restarting. Thank you very much.

>>

>> Mica Sunday Deerfield

>> Wild Hawaii

>> 808-339-1958

  

EXH|B|T

 
 
  

Case1:19-cv-00079-WCG Filed 01/14/19 Page 111 of 122 Docu ent1

>> On Aug 27, 2018, at 3:07 PM, Doug Larson MODS <dlarson@modsintemational.com>
wrote:

>>

>> Good afternoon Mica,

>>

>> We received your request to re-start the project With a completion of December for the 4
small units in Hawaii.

>>

>> This is all dependent on the Volcano and being allowed to Work on the island. In the
meantime, you filed a complaint with the State of Wisconsin Consumer protection. I assume you
Will withdraw this otherwise our lawyer Will file a counterclaim

>>

>> Thanks,

>>

>>

>>

>>

>>

>> Douglas Larson

>> President

>>

>> www.modsinternational.com

>> 5523 Integrity Way

>> Appleton, WI 54913

>> 800-869-1277 Phone

>> 920-574-0215 Cell

>> 920-560-4850 Fax

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EXH|B|T

   

Case1:19-cv-00079-WCG Filed 01/14/19 Page 112 of 122 Docu ent1

> From: Mica Deerfield <mica.deerfield@gmail.com>

> Sent: Tuesday, August 28, 2018 1121 PM

> To: Doug Larson MODS <dlarson@modsinternational.com>
> Subject: Re: Hawaii Project

>

> I will withdraw my complaint assuming We get this project started and you send me back the
contract with the new completion date, Thank you.

>

> Mica Sunday Deerfield

> Wild Hawaii

> 808-339-1958

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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 113 of 122 Docu _| nf 1

 

> On Aug 28, 2018, at 1:23 PM, Doug Larson MODS <dlarson@modsinternational.com> wrote:
>

> Will do

>

>

>

> Douglas Larson

> President

>

> WWW.modsinternational.com
> 5523 Integrity Way

> Appleton, WI 54913

> 800-869-1277 Phone

> 920-574-0215 Cell

> 920-560-4850 Fax

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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 114 of 122 Docu e

From: Mica Deerfield <mica.deerfield@gmail.com>

Date: Thu, Sep 6, 2018 at 8:01 AM

Subject: Re: Hawaii Project

To: Doug Larson MODS <dlarson@modsinternational.com>

Need contract back. Please sign and return. Thank you!

    

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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 115 of 122 Docu enf 1

 

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From: Mica Deerfield <mica.deerfleld@gmail.com>

Date: Sat, Sep 15, 2018 at 10:16 AM

Subj ect: Contract for Hawaii Project

To: Mods Container Homes Doug <dlarson@modsinternational.com>
Cc: Briggs Noble <bnoble@modsintemational.com>

Please Send the signed contract to me forthwith so that We can move forward and make our
agreed to date of Dec. l, 2018. The volcano has calmed down and should not cause us any
trouble.

Mica Sunday Deerfield
Wild Hawaii
808-339-1958

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CaSe 1219-CV-OOO79-WCG Filed 01/14/19 Page 116 Of 122 DO\| -- * -

From: Mica Deerfield <mdeerfie@juno.com>

Date: Tue, Oct 2, 2018 at 8:47 PM

Subject: Hawaii Project

To: Mods Container Homes Doug <dlarson@modsintemational.com>, Briggs Noble
<bnoble@modsinternational.com>

I have not heard Hom you regarding the contract, the site plan and surveyor, or permit
application for my homes. With a December l completion date, there is not a lot of time to get
everything done. Please advise What is the status. You also told me you Would send me a Excel
format of the project plan so that I would know what was going on, but to date I have not
received that either. Thank you, Mica

Mica Sunday Deerfield
Wild Hawaii
808-339-1958

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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 117 of 122 Do

From: Mica Deerfield <mdeerfie@juno.com>

Date: Fri, Oct12, 2018 at 5:38 PM

Subject: Hawaii project - please respond ASAP

To: Mods Container Homes Doug <dlarson@modsintemational.com>, Briggs Noble
<bnoble@modsintemational.com>

Hi Doug, you said you Were sending back my contract but 1 haven’t received it. Please send it
and make sure it has the new date December one on it for substantial completion. Thank you. So

Mica Sunday Deerfield
Wild Hawaii
808-339-1958

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Case1:19-cv-00079-WCG Filed 01/14/19 Page 118 of 122 Docu ent1

From: Mica Deerfield <mdeerfle@juno.com>

Date: Tue, Oct 23, 2018 at 5:15 PM

Subject: December one is fast upon us

To: Mods Container Homes Doug <dlarson@modsinternational.com>

Doug, you have agreed to a December 1 substantial completion date, yet I am not aware of
anything going on there. What is the status? And you promised me a contract, which I never
received. Please advisel

Mica Sunday Deerfield
Wild Hawaii
808-339-1958

EXH|B|T

   

Case1:19-cv-00079-WCG Filed 01/14/19 Page 119 of 122 Docu ent1 '

Mica S. Deerfield
19918 Hoppers Creek Dr.
Katy, TX 77449

October 27, 2018

Douglas Larson, President
MODS lnternational, lnc.
5523 W. integrity Way
Appleton, W| 54913

Dear Sir:

On February 10, 2018, we entered into a contract to build four units on my property in Pahoa, Hawaii.

The contract specified a substantial completion date of 120 days from then, or June 10, 2018. No
written modifications or amendments to the contract have been executed.

Due to the volcanic activity on the island, | wrote to you asking if we could delay completion until the
volcano stopped erupting. l never received a reply. The project manager, Briggs Noble, said that only
you as President and owner of the company could give me an answer. l later asked if | were to cancel
the contract, what would the monetary cost be. |telephoned, sent texts, sent emails, but yet l got no
response. Finally, Briggs Noble sent an email misstating the terms of the contract. At that point l put in
a complaint with the Wisconsin consumer protection agency and also talked with an Appleton attorney.

l decided that rather than go the legal route, I would prefer a win/win for both of us, and sent an email
stating that l wanted to go ahead with the project. l also sent you a copy of the original contract with a
new completion date of December 1, 2018. You told me that date was fine and you would send me
back the signed contract, but you did not do so. Since then, l have had no evidence that work has
commenced on the project.

lt is now almost November, and it seems apparent that you cannot meet the 12/1 completion date.

l want to know what your plans are to make this right. Please contact me |N WR|T|NG with your
response within the week.

Thank you,

Mica S. Deerfield

  
 

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Case 1:19-cv-00079-WCG Filed 01/14/19 Page 120 of 122 Docu

 

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EPIPHANY LAW

SENT VIA EMAIL -j\\'ilson@ modsintcrnational.com
Atty. _leffrey Wilson

 

December 10. 2018

MODS International SETTLEMENT PURPOSES ONLY
5523 Integrity Wayv PURSUANT T() WIS. STAT § 904.08

Appleton. Wl 54913
RE: Mica Deerfield _ Hawaii Container Homes
Dear Attomey \\'ilson:

As 1 explained to _\»'ou during our telephone call the other day. 1 have been retained by Mica
Deerfield to pursue a full refund from MODS of the down payment she made in February of this
year. l have enclosed a copy of the DBIA Standard Form ongreement she executed with MODS
on or about February 10. 2018. Pursuant to this Agreement. she paid MODS a 50% down payment
of $106.780 ("Down Payment") for the purchase and installation of4 small container homes in
Hawaii. The Agreement further provided that the work would be complete within 120 days of the
Commencement Date. Even allowing for some unforeseen slippage on time, the container homes
Should ha\'e been completed and installed no later than July 1_. 2018. We are now more than 5
months beyond e\'en that date and no work has been done at the site. nor has Ms. Deerfield been
able to get any information from MODS with respect to the status ofthe project. It is indisputable
that the project was not completed within the time required under the parties` Agreement. At this
point. Ms. Deerfield feels it best for her and MODS to simply part ways To this end. Ms. Deerfield
requests a refund to her of the full 3106.780. As it appears MODS has completed no work on the
project. MODS will suffer no prejudice by refunding Ms. Deerfield`s Down Payment. 1 look
forward to your response to this request on or before December 17_. 2018.

Yours trul_\’.

EPIPHANY LAW_ LLC

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Heather _l, Macklin .

Attomey at Law
hmucl\lin tr cpiphun\ law.com

H.lM/tmp

Enclosures
Copy to GAB ln\'estments. LLC

_\" clients Deerfield Mica .'\lOIJS l)ral`ls C()R m .| \\“llson RIZ Seulemcnt,\.loc\'_ .‘2 10 lelS ll:'_’~l l’!\'l l2 l(l,?_(llS l2:2-l PM

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P: (920) 996-0000 l F: [91()) 996-0001 lw\\'\\:cpiphanyla\v.com
2800 E. Entcrprise A\'e., Appleton, \\'l 54913

Case 1:19-cv-00079-WCG Filed 01/14/19 Page 121 of 122 Doc

 

M©DS® 5523 lNTEGRlTY WAY APPLETON W| 54913
920~560-4800 1-800-496~1277
MB}UM

 

***Sent via Emaii - hmacklin@epiphanyiaw.com***
December 17, 2018

Attorney Heather Macklin
Epiphany Law

4211 N. i.ightning Dr.
Appleton, W| 54913

Re: MODS international inc. and Mica Deerfield - Hawaii Container Homes

Dear Attomey Macklin,

| had a chance to review your concern letter with our president in the above-referenced matter. After
my discussion with him, i understand that Ms. Deerfield terminated the project for convenience per
Article 8 of the contract signed by her on February 13, 2018. Accordingiy, MODS is entitled to the costs
and expenses of work completed as of the date of termination, as well as any costs and expenses
attributable to the termination, and a 20% charge for overhead and profit based on the sum of those
previously referenced costs and expenses

it is MODS’ contention that those costs and expenses coupled with the 20% charge, are substantially
equivalent to the amount of funds that lV|s. Deerfield paid MODS for her down payment. Accordingiy,
MODS would not be liable to return any of the amount ofthe down payment. The termination,
however, does allow Ms. Deerfield to walk away from the contract without having to make any
additional payments upon delivery or for final construction of the units in Hawaii.

i hope this helps clarify MODS's position as to why they cannot refund Ms. Deerfield the amount she has
requested Should you need anything else, or if you have any other questions or concerns please let me

know.
leff Wilson

Corporate Counsel for MODS international

Thank you,

Exl-llsl'r

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Case1:19-cv-00079-WCG Filed 01/14/19 Page 122 of 122 Doc e

 

